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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8

 9
     KERRY L. ERICKSON; MARC D.                       Case No. ___________
10   ERICKSON; MICHELLE M. LEAHY;
     RICHARD A. LEAHY; JOYCE E.                       NOTICE OF REMOVAL OF ENTIRE
11   MARQUARDT; and DOES 1-237;                       CASE TO FEDERAL COURT
12
                        Plaintiffs,                   JURY DEMAND
13
     v.
14
     MONSANTO COMPANY; SOLUTIA, INC.;
15   PHARMACIA LLC; UNION HIGH
     SCHOOL DISTRICT NO. 402;
16
     SNOHOMISH HEALTH DISTRICT; and
17   ROES 1-10,

18                      Defendants.
19                                        INTRODUCTION

20          Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Monsanto Company

21   (“Monsanto”), Solutia, Inc. (“Solutia”), and Pharmacia LLC (“Pharmacia”) (collectively,

22   “Defendants”) remove to this Court the state-court action described below. This Court has

23   jurisdiction under 28 U.S.C. §§ 1332(a)(1) and 1441, because there is complete diversity

24   among the parties and the matter in controversy exceeds the sum or value of $75,000,

25   exclusive of interest and costs.

26



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 1                     I.       BACKGROUND AND PROCEDURAL HISTORY
 2          1.      This matter is one of six pending lawsuits filed by counsel for Plaintiffs
 3   arising out of alleged personal injuries to teachers, students and parents at the Sky Valley
 4   Education Center (“SVEC”), a public school within the Monroe School District in Monroe,
 5   Washington, purportedly caused by, among other things, exposure to Polychlorinated
 6   Biphenals (“PCBs”). Plaintiffs allege that PCBs were manufactured by Defendants and,
 7   ending in 1970, incorporated by other manufacturers into building products used for the
 8   construction of certain buildings, including the SVEC.
 9          2.      According to Plaintiffs, exposure to, among other things, PCBs caused a
10   wide-array of personal injuries to SVEC teachers, students, and parents, including, but not
11   limited to, cancer, endocrine, autoimmune and neurological disorders and miscarriages.
12          3.      On May 9, 2018, the then-plaintiffs filed in the Superior Court of the State of
13   Washington for King County a Complaint for Damages (“Complaint”) entitled Ceanna N.
14   Heit, as litigation guardian for minors S.A.H. and E.M.H.; Holly Mills Hiley, as legal and
15   litigation guardian of minors A.S.M.H., D.C.H.M., G.A.H.M. and S.S.H.M.; Brett C. Hiley,
16   individually and as legal guardian of minors A.S.M.H., D.C.H.M., G.A.H.M. and S.S.H.M.;
17   Kerry L. Erickson; Marc D. Erickson; Michelle M. Leahy; Richard A. Leahy; Joyce E.
18   Marquardt; Kelsie R. Silva; and DOES 1-237 v. Monsanto Company; Solutia, Inc.;
19   Pharmacia LLC;State of Washington; Monroe School District No. 103 d/b/a/ Monroe Public
20   Schools; Union High School District No. 402; Snohomish Health District; and Roes 1-10,
21   case number 18-2-11915-4-SEA. A copy of the Complaint is attached hereto as Exhibit A
22   and incorporated herein.
23          4.      On August 30, 2018, the then-plaintiffs filed a Notice of Voluntary Dismissal
24   dismissing with prejudice then-defendant State of Washington. And on October 9, 2018, the
25   Superior Court entered its Order dismissing the State of Washington with prejudice.
26



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 1          5.      On December 3, 2018, Plaintiffs filed their First Amended Complaint for
 2   Damages (“FAC”). The FAC removed/dismissed certain plaintiffs, removed the State of
 3   Washington from the case-caption and voluntarily removed/dismissed all causes of action
 4   against Monroe School District No. 103 d/b/a/ Monroe Public Schools. A copy of the FAC is
 5   attached hereto as Exhibit B and incorporated herein.
 6          6.      The FAC is styled Kerry L. Erickson; Marc D. Erickson; Michelle M. Leahy;
 7   Richard A. Leahy; Joyce E. Marquardt; and DOES 1-237 v. Monsanto Company; Solutia,
 8   Inc.; Pharmacia LLC; Union High School District No. 402; Snohomish Health District; and
 9   Roes 1-10.
10          7.      This notice is being filed within 30 days of the date of receipt, through service
11   or otherwise, of a copy of an amended pleading (namely, the FAC filed in the state-court
12   action) from which it was first ascertained that the case is one which is or has become
13   removable. See 28 U.S.C. 1446(b)(3).
14          8.      This state-court action is filed in Superior Court of the State of Washington
15   for King County. Thus, venue is proper in the United States District Court for the Western
16   District of Washington, pursuant to 28 U.S.C. §§ 128(b), 1441(a), and 1446(a).
17          9.      Intradistrict Assignment: Because the FAC alleges that the purported claim
18   arose in Snohomish County, Washington, the case should be assigned to a District Judge in
19   Seattle, pursuant to Civil Local Rules 3(d) and 101(e).
20          10.     Written notice of the filing of this notice of removal will be provided
21   promptly to all parties who have appeared in, but have not been dismissed from, the state-
22   court action, together with a copy of this notice of removal, and such written notice will be
23   filed with the Superior Court of the State of Washington for King County pursuant to 28
24   U.S.C. § 1446(d).
25                                   II.    BASIS FOR REMOVAL
26          11.     “To establish federal jurisdiction under § 1332(a)(1), the proponent must


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 1   allege (1) the parties are completely diverse, and (2) the amount in controversy exceeds
 2   $75,000.” Naffe v. Frey, 789 F.3d 1030, 1039 (9th Cir. 2015). Complete diversity requires
 3   that “each of the plaintiffs must be a citizen of a different state than each of the defendants.”
 4   Morris v. Princess Cruises, Inc., 236 F.3d 1061, 1067 (9th Cir. 2001).
 5                                    A. The parties are completely diverse
 6              12.     The named Plaintiffs are citizens of the State of Washington. FAC ¶¶ 2.19-
 7   2.21. Furthermore, Plaintiffs allege that they are residents of the State of Washington and are
 8   employees (or spouses of employees) of Monroe School District No. 103 d/b/a/ Monroe
 9   Public Schools (“Monroe”), located in Monroe, Washington. Id.
10              13.     Monsanto is a Delaware corporation with its principle place of business in St.
11   Louis County, Missouri. FAC ¶ 2.2. Thus, it is a citizen of the States of Delaware and
12   Missouri. See 28 U.S.C. § 1332(c).
13              14.     Solutia is a Delaware corporation with its principal place of business in St.
14   Louis County, Missouri. FAC ¶ 2.3. Thus, it is a citizen of the States of Delaware and
15   Missouri. See 28 U.S.C. § 1332(c).
16              15.     Plaintiffs admit that Pharmacia is a citizen of the States of New York and
17   Delaware. FAC ¶ 2.4. The sole member of Pharmacia LLC is Wyeth Holdings LLC. Wyeth
18   Holdings LLC is wholly owned by Anacor Pharmaceuticals, Inc., which is incorporated
19   under the laws of Delaware, with its principal place of business in New York. See Johnson v.
20   Columbia Prop. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006) (“an LLC is a citizen of
21   every state of which its owners/members are citizens.”); see also 28 U.S.C. § 1332(c); Civil
22   Local Rule 101
23        (i)         The citizenship of the Doe Plaintiffs and Roe Defendants must be disregarded
24              16.     The citizenship of Does 1-237 and Roes 1-10 must be disregarded for
25   purposes of determining removability of this civil action. See 28 U.S.C. § 1441(b)(1) (“In
26   determining whether a civil action is removable on the basis of the jurisdiction under section


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 1   1332(a) of this title, the citizenship of defendants sued under fictitious names shall be
 2   disregarded.”); Australia Gold, Inc. v. Hatfield, 436 F.3d 1228, 1235 (10th Cir. 2006) (“We
 3   join these other circuits in holding, consistent with the text of 28 U.S.C. § 1441(a) that the
 4   citizenship of “John Doe” defendants should be disregarded when considering the propriety
 5   of removal under 28 U.S.C. §§ 1441(a) and 1332.”); Bryan v. Ford Motor Co., 886 F.2d
 6   1526, 1528 (9th Cir. 1989) (presence of Doe parties does not defeat diversity, pursuant to
 7   Section 1441).
 8              17.     Plaintiff Does 1-237 are only reflected in the case caption and not mentioned
 9   anywhere in the body of the FAC. There are no causes of action brought by Does 1-237 or
10   allegations made about them. Plaintiffs also do not bring causes of action against Roes 1-10.
11   Instead, Roes 1-10 are evidently merely placeholders, should Plaintiffs decide to add parties
12   at a later date, in response to a defendant in this action alleging the fault of a third-party.
13   FAC ¶ 6.39. This is not a situation where Plaintiffs have asserted a cause of action against a
14   party whose name they simply do not know at the time of filing the lawsuit. Instead,
15   Plaintiffs have merely inserted a placeholder in the case-caption, should they desire to
16   attempt to amend the FAC and add a new defendant at a later date. This does not and cannot
17   defeat removal. If it did, a plaintiff would easily be able to shield all actions from removal
18   by merely alleging the bare and speculative possibility that there could be more parties in the
19   future.
20       (ii)         Snohomish Health District is fraudulently joined and also must be disregarded
21              18.      “[O]ne exception to the requirement of complete diversity is where a non-
22   diverse defendant has been ‘fraudulently joined.’” Morris, 236 F.3d at 1067. “Fraudulent
23   joinder . . . is a term of art. Joinder of a non-diverse defendant is deemed fraudulent, and the
24   defendant's presence in the lawsuit is ignored for purposes of determining diversity, if the
25   plaintiff fails to state a cause of action against a resident defendant, and the failure is obvious
26



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 1   according to the settled rules of the state.” Id. (internal citations omitted). “Further, the
 2   defendant ‘is entitled to present the facts showing the joinder to be fraudulent.’” Id.
 3           19.     Plaintiffs allege that Snohomish Health District (“SHD”) is liable for
 4   negligence for failing to inspect SVEC and enforce environmental safety requirements. See
 5   e.g., FAC ¶¶ 5.125, 5.130, 5.148, 6.32-6.38. Plaintiffs also allege liability against SHD on
 6   the theory that SHD employee’s negligence is imputed to SHD. FAC ¶ 6.33.
 7           20.     Plaintiffs’ claims against SHD are barred by Washington’s public duty
 8   doctrine and, thus, Plaintiffs cannot state a claim against SHD.
 9           21.     RCW 4.96.010 abolishes sovereign immunity and permits a tort action against
10   local governmental entities. However, under the common-law public duty doctrine, a
11   plaintiff must show “that the duty breached was owed to the injured person as an individual
12   and was not merely the breach of an obligation owed to the public in general.” Pierce v.
13   Yakima Cnty., 161 Wn. App. 791, 798, 251 P.3d 270 (2011). This is because “a duty to all is
14   a duty to no one.” Taylor v. Stevens Cnty., 111 Wn. 2d 159, 163, 759 P.2d 447 (1988).
15           22.     The public duty doctrine applies if the government action at issue is
16   “governmental” as opposed to “proprietary.” Sunshine v. Heifers, LLC v. Washington State
17   Dep’t of Agr., 188 Wn. App. 960, 967, 355 P.3d 1204 (2015). Governmental functions are
18   those performed exclusively by governmental entities and “are normally those that involve
19   monitoring for compliance with state law, issuing permits, and performing activities for the
20   public welfare.” Id. Proprietary functions, on the other hand, are “businesslike activities that
21   are normally performed by private enterprise.” Id. (quoting Fabre v. Town of Ruston, 180
22   Wn. App. 150, 159, 321 P.3d 1208 (2014)). “The principal test in distinguishing
23   governmental functions from proprietary functions is whether the act performed is for the
24   common good of all, or whether it is for the special benefit or profit of the corporate entity.”
25   Okeson v. City of Seattle, 150 Wn. 2d 540, 550, 78 P.3d 1279 (2003).
26



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 1           23.     When an entity’s action is within the exclusive purview of the government,
 2   that activity is considered “governmental.” Moore v. Wayman, 85 Wn. App. 710, 716, 934
 3   P.2d 707 (1997) (“Building code inspections are not part of a state business venture; they are
 4   an example of the governmental function of ensuring compliance with state law.”); Taylor,
 5   111 Wn. 2d at 159 (Building code inspection is governmental function); Okeson, 150 Wn. 2d
 6   at 550-51 (Providing streetlights is a governmental function); Stiefel v. City of Kent, 132 Wn.
 7   App. 523, 529-530, 132 P.3d 1111 (2006) (Provision of fire protection services, including
 8   fire hydrants, is governmental function). Conversely, Washington courts have found
 9   governmental entities to be engaged in proprietary, or “discretionary,” functions when they
10   offer a service also offered in the private sector. See Peterson v. State, 100 Wn. 2d 421, 435,
11   671 P.2d 230 (1983) (a state-employed psychiatrist provided proprietary function, because it
12   “is not different in kind from the decision which any therapist in private practice would have
13   had to make in similar circumstances.”); Okeson, 150 Wn. 2d at 550-51 (city’s decision to
14   run electrical utility is proprietary).
15           24.     SHD’s actions relative to SVEC were distinctly governmental. Under RCW
16   70.05.060, local boards of health “shall have supervision over all matters pertaining to the
17   preservation of the life and health of the people within its jurisdiction” and shall enforce “the
18   public health statutes of the state and rules promulgated by the state board of health and the
19   secretary of health.” In other words, local health boards, like SHD, take their cues from
20   statutory authority and the Washington Department of Health. When it created the
21   Department, the legislature made its intent in this regard known:
22
             …For these reasons, the legislature recognizes the need for a strong, clear focus
23
             on health issues in state government and among state health agencies to give
24           expression to the needs of individual citizens and local communities as they seek
             to preserve public health. It is the intent of the legislature to form such focus by
25           creating a single department in state government with the primary responsibilities
             for the preservation of public health, monitoring health care costs, the
26           maintenance of minimal standards for quality in health care delivery, and the


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 1          general oversight and planning for all the state’s activities as they relate to the
            health of its citizenry.
 2

 3   RCW 43.70.005.
 4          25.     As extensions of the Department of Health, local health districts are
 5   concerned with the health of the public as a whole. There is no comparable private entity
 6   that offers similar services. For this reason, a local health district serves a governmental
 7   function, and those functions are covered by the public duty doctrine. Here, Plaintiffs allege
 8   SHD failed to inspect, or negligently inspected, a school building and failed to enforce safety
 9   requirements. Plaintiffs are thus alleging SHD failed to perform a governmental function.
10   Consequently, the pubic duty doctrine applies and bars Plaintiffs’ claims.
11          26.     While there are exceptions to the public duty doctrine, none are applicable
12   here. The legislative intent exception provides for governmental liability if legislation, “by its
13   terms evidences a clear intent to identify and protect a particular and circumscribed class of
14   persons.” Halvorson v. Dahl, 89 Wn. 2d 673, 676, 574 P.2d 1190 (1978).
15          27.     Washington courts have found that when a statute 1 uses generalized language,
16   it is not sufficient to trigger the legislative intent exception. Margitan v. Spokane Reg’l
17   Health Dist., No. 34606-4-III, 2018 WL 3569972, at *5-6 (Wash. Ct. App. July 24, 2018);
18   Jackson v. Seattle, 158 Wn. App. 647, 654-55, 244 P.3d 425 (2010) (city code stating “it is
19   expressly the purpose of this subtitle to provide for and promote the health, safety and
20   welfare of the general public” did not trigger exception). However, identifying a particular
21   class of people covered by the statute may trigger the exception, so long as the statute
22

23   1
       The legislative intent exception only applies to legislative enactments—not regulations.
24   Washburn v. City of Fed. Way, 178 Wn. 2d 732, 754, 310 P.3d 1275 (2013) (“The exception
     allowed a plaintiff to claim that a governmental entity owes him or her a legal duty where a
25   legislative enactment evidences a clear legislative intent to identify and protect a particular
     and circumscribed class of persons.”); Donahoe v. State, 135 Wn. App. 824, 848 142 P.3d
26   654 (2006) (“if a duty of care is to be extended . . . the proper body to make that decision is
     the Legislature.”)

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 1   specifically seeks to protect that particular class. Washburn, 178 Wn. 2d at 755-56
 2   (exception triggered because purpose of statute was to “prevent all further unwanted contact
 3   between the victim and the perpetrator.”).
 4          28.     In Halverson, the Court found that the city’s housing code was designed to
 5   protect members of a particular group (building occupants), and thus a widow of a man who
 6   died in a hotel fire could maintain her cause of action:
 7
            The special nature of the housing code is found in Chapter 27.04, in the
 8          declaration of purpose. While most codes are enacted merely for purposes of
            public safety or for the general welfare, this section identifies ‘conditions and
 9          circumstances . . . dangerous and a menace to the health, safety, morals or welfare
            of the occupants of such buildings and of the public’ and establishes it as a
10          purpose of the code to provide effective means for enforcement of minimum
            standards . . .The Seattle Housing Code is an ordinance enacted for the benefit of
11
            a specifically identified group of persons, as well as, and in addition to, the
12          general public.

13   89 Wn. 2d at 677.
14          29.     The distinction between protecting a particular group, as opposed to the public

15   in general, was addressed in Taylor, 111 Wn. 2d at 164-166. There, the court recognized that

16   the City of Seattle’s building code, as analyzed in Halverson, was intended to remedy a

17   particular problem. Id. By contrast, the court in Taylor considered whether the county

18   building inspector was negligent by failing to discover a building was not in code

19   compliance. Id. The Seattle Housing Code addressed in Halverson stated that there “exist[s],

20   within the city of Seattle, dwellings and other buildings . . . which are unfit for human

21   habitation . . . and inimical to the health, safety, and welfare of the occupants thereof and of

22   the public.” Halverson, 89 Wn. 2d at 677, fn 1. After identifying the dangers of housing

23   unfit for habitation and several of the causes, the Seattle housing code stated that “[s]uch

24   conditions and circumstances are dangerous and a menace to the health, safety, morals or

25   welfare of the occupants of such buildings and of the public, and accordingly it is the

26   purpose of this code to establish minimum standards and effective means for enforcement



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 1   thereof for the preservation, protection, and promotion of the public health, safety, morals
 2   and general welfare.” Id.
 3           30.    By contract, the state building code in Taylor stated “the purpose of this
 4   chapter is to provide building codes throughout the state. This chapter is designed to
 5   effectuate the following purposes, objectives and standards: to promote the health, safety,
 6   and welfare of the occupants or users of buildings and structures and the general public.”
 7   Taylor, 111 Wn. 2d at 164. While the statute in Taylor had nearly identical language
 8   regarding building occupants, the Washington Supreme Court found that, because the
 9   purpose was not to remedy a specific problem facing a particular group, it did not meet the
10   legislative intent exception:
11
             The purpose section of the Seattle Housing Code focuses on substandard housing
12           that is unfit for human habitation. The primary purpose . . . is necessarily more
             focused on the public health and safety of occupants of substandard buildings. On
13           the other hand, the purpose of the State Building Code Act is much broader.
             While the Act promotes the welfare of occupants, its primary purpose is to require
14           that minimum performance standards and requirements for building and
             construction materials be applied consistently throughout the state.
15
     Id. at 165.
16
             31.    The legislative intent exception was also found to apply in Bailey v. Town of
17
     Forks, 108 Wn. 2d 262, 737 P.2d 1257 (1987). There, a woman was injured when a truck
18
     driven by a drunk driver struck the motorcycle on which she was a passenger. Id. at 263-64.
19
     That plaintiff alleged that a Town of Forks police officer knew the truck driver was
20
     intoxicated but still permitted him to drive. Id. The Supreme Court held that, as a motorist on
21
     a public road injured by a drunk driver, the plaintiff was a member of a specific class that the
22
     legislature intended to protect: “Undoubtedly the Legislature enacted RCW 46.61.515 in its
23
     entirety, and RCW 70.96A.120(2) in part, to protect the users of public highways from
24
     accidents caused by intoxicated drivers. When Ms. Bailey sustained her injuries, she was
25
     undoubtedly a member of the class to be protected.” Id. at 269. In sum, in Halverson and
26
     Bailey, the legislative intent exception was found to apply, because the plaintiff in each case

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 1   was able to show that the statute in question was designed to prevent a specific activity and
 2   applied to a particular class.
 3          32.      Plaintiffs allege in the FAC that SHD failed to enforce RCW
 4   43.20.050(2)(d) 2, FAC ¶ 6.34, which states:
 5
            (2) In order to protect the public health, the state board of health shall:
 6
            ...
 7          (d) Adopt rules controlling public health related to environmental conditions
            including but not limited to heating, lighting, ventilation, sanitary facilities and
 8          cleanliness in public facilities, including but not limited to food service
            establishments, schools, recreational facilities and transient accommodations . . .
 9
     (emphasis added)
10

11          33.      While the plaintiffs in Halverson and Bailey were protected by statutes
12   specifically designed to protect building occupants and motorists who may be harmed by
13   drunk drivers, respectively, Plaintiffs in this matter cannot point to a similar statute for the
14   proposition that a local health board is required to take a particular action to protect school
15   building occupants who may be exposed to PCBs. In the FAC, Plaintiffs conclusively, and
16   without support, state that the requirements of RCW 43.20.050(2)(d) “are designed for the
17   benefit and protection of the children and adults who use public school buildings.” FAC ¶
18   6.34. The text of the statute, however, contains no such language.
19          34.      The “failure to enforce” exception to the public duty doctrine is equally
20   inapplicable. It applies “where governmental agents responsible for enforcing statutory
21   requirements possess actual knowledge of a statutory violation, fail to take corrective action
22   despite a statutory duty to do so, and the plaintiff is within the class the statute intended to
23   protect.” Bailey, 108 Wash. 2d at 268. The duty to act must be “a mandatory duty to take
24   specific action to correct a known statutory violation.” Donahoe, 135 Wn. App. at 849.
25

26          2
                If anything, this statute imposes obligations on the State Board of Health—not
     SHD.

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 1   “Such a duty does not exist if the government agent has broad discretion about whether and
 2   how to act.” Id. (quoting Halleran v. Nu West Inc., 123 Wn. App. 701, 714, 98 P.3d 52
 3   (2004).
 4          35.     In Pierce, the trial court found the exception inapplicable, because there was
 5   no “mandatory duty to take specific action.” 161 Wn. App. at 796-97. There, the
 6   Plaintiff alleged that a Yakima County building inspector failed to enforce applicable
 7   building codes to a gas line installed at a residence, resulting in an explosion. The trial court,
 8   which was affirmed by the Court of Appeals, reasoned that the failure to enforce exception
 9   did not apply because “the critical issue is not whether there were code violations which
10   were ignored or passed over, but whether the code mandated corrective action by the
11   Building Official.” Id. at 796. Similarly, in Donohoe, the plaintiff alleged the
12   Washington State Department of Social and Health Services failed to enforce statutory
13   violations committed by a nursing home and argued DSHS's inaction triggered the failure
14   to enforce exception of the public duty doctrine. 135 Wn. App. 824. Both the trial court
15   and court of appeals disagreed, finding that there was no mandatory duty to take a specific
16   action, but rather DSHS had “broad discretionary authority to take a wide variety of
17   enforcement actions.” Id. at 849.
18          36.     The cases relied upon by Plaintiffs in their complaint related to the failure to
19   enforce exception (FAC ¶ 6.38) are inapplicable. See Campbell v. City of Bellevue, 85 Wn.
20   2d 1, 13, 530 P.2d 234 (1975) (Exception applied because electrical inspector failed to
21   comply with city ordinance requiring him to disconnect lighting system); Halvorson, 89
22   Wn. 2d 673 (Granting of motion to dismiss reversed on legislative intent grounds, silent
23   on whether city had mandatory duty to enforce); Bailey, 108 Wn. 2d 262 (Specific
24   statute obligated officer to detain driver known to be intoxicated).
25          37.     Here, there is no statutory provision mandating that a local health district
26   take any particular enforcement action relative to a school. RCW 43.20.050(5) provides that


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 1   “[a]ll local board of health, health authorities and officials . . . and all other officers and
 2   employees of the state, or any county, city or township thereof, shall enforce all rules
 3   adopted by the state board of health.” The statute, however, does not specify how,
 4   specifically, the rules are to be enforced and creates no duty to take a specific action.
 5           38.      Because Plaintiffs’ claims against SHD are barred by the public duty
 6   doctrine, SHD is fraudulently joined and must be disregarded for removal purposes.
 7
              (iii)   Union High School District No. 402 does not exist, is a fictitious, sham
 8                         defendant, is fraudulently joined and must be disregarded

 9           39.      Union High School District No. 402 (“Union”) is not a real party in interest or

10   to this controversy, is a fictitous, sham defendant and is fraudulently joined in this action in

11   attempt to defeat removal. Indeed, Union does not even exist. Well prior to the filing of the

12   state court action, it, along with other historic school districts, became and was subsumed by

13   Monroe. See Declaration (“Declr.”) of John Mannix attached hereto as Exhibit C and

14   incorporated herein.

15           40.      Consistent with that fact, Union has not been served or filed a responsive

16   pleading in any of the six SVEC lawsuits in which it is named.

17           41.      All of allegations in the FAC against Union are premised upon Union being

18   the landowner of the SVEC property, which is not true. Again, Union does not exist, and

19   Monroe owns the SVEC property. See Exhibit C, Declr. ⁋3; see also Property Account

20   Summaries for SVEC Property, attached hereto as Exhibit D and incorporated herein.

21   Plaintiffs do not allege that Union was Plaintiffs’ employer. Indeed, Plaintiffs Kerry L.

22   Erickson, Michelle Leahy and Joyce E. Marquardt are employees of Monroe—not Union.

23   FAC ¶ 2.20.

24           42.      Regardless of how one characterizes Union, its “citizenship” should be

25   disregarded. Because it is a non-existent, legal fiction, 28 U.S.C. § 1441(b)(1) mandates that

26   its citizenship be disregarded. If not fictitious, it is a sham defendant that is not a real party in

     interest to the controversy. Kuntz v. Lamar Corp., 385 F.3d 1177, 1183 (9th Cir. 2004) (“A

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 1   federal court must disregard nominal or formal parties and rest jurisdiction only upon the
 2   citizenship of real parties to the controversy.”). And, if not a sham, because Plaintiffs cannot
 3   possibly assert a cause of action against a party that does not exist, Union is fraudulently
 4   joined and must be disregarded for purposes of determining the existence of diversity
 5   jurisdiction.
                                   (iv)   This removal is timely and
 6
                            Defendants have the appropriate consents to removal.
 7           43.     This Notice of Removal is timely, because, until the filing of the FAC,
 8   complete diversity did not exist among the parties. Until the FAC was filed, Monroe, a
 9   public-school district in Monroe, Washington, was a real party in interest to the state-court
10   action and destroyed diversity.
11           44.     Pursuant to 28 USC § 1446(b)(2), all defendants whose citizenship is not to be
12   disregarded have consented to the instant removal. Indeed, they are jointly filing this Notice
13   of Removal. As noted above, because the remaining defendants have not “been properly
14   joined and served” (and may even not exist at all), their consent to removal is not required
15   under 28 U.S.C. § 1446(b)(2). See Destfino v. Reiswig, 630 F.3d 952, 957 (9th Cir. 2011);
16   United Computer Syst., Inc. v. AT & T Corp., 298 F.3d 756, 762 (9th Cir. 2002) (“the ‘rule of
17   unanimity’ does not apply to ‘nominal, unknown or fraudulently joined parties’”).
18                      B. The Amount in Controversy Requirement is Satisfied
19           45.     Plaintiffs repeatedly allege that PCBs are “extremely toxic” and poison
20 children and adults. See e.g., FAC ¶ ¶ 1.1-1.3, 5.7. According to Plaintiffs, PCB exposure

21 causes and/or is related to, among other things, cancer, cardiovascular damage, type 2

22 diabetes, deficient immune function, neurodegenerative diseases, neurobehavioral effects and

23 anxiety, chloracne, eye irritation, vomiting, elevated liver enzymes, abdominal pain, anorexia,

24 weight loss, headaches, dizziness, reproductive and developmental effects, thyroid hormone

25 toxicity, and loss of memory. See e.g. FAC ¶ ¶ 5.22-5.44.

26



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 1           46.    Plaintiffs allege that many adults who spent time in SVEC developed or
 2 suffered adverse medical symptoms, including, but not limited to, cancer, endocrine disorders,

 3 autoimmune disorders and neurological disorders, as well as suffered from a variety of skin

 4 and dermatological issues. FAC ¶¶ 1.2, 5.221-5.222, 5.233. Specifically, the FAC alleges that

 5 Plaintiffs Kerry L. Erickson, Michelle Leahy and Joyce E. Marguardt, all who bring claims

 6 for product liability and negligence against Defendants, were “chronically poisoned” by PCBs

 7 at SVEC and allegedly suffer from “adverse medical effects, including neurological damage,

 8 autoimmune and endocrine diseases and cancers.” FAC ¶ ¶ 1.1-1.3, 2.20, 2.22, 5.127.

 9 Plaintiffs Marc Erickson and Richard Leahy are spouses of Kerry L. Erickson and Michelle

10 Leahy, respectively, and bring claims for alleged societal and consortium injuries. FAC ¶ ¶

11 1.1-1.3, 2.20-2.22.

12           47.    Each Plaintiff seeks “monetary damages,” including all “past, present, and
13 future” general and special damages, punitive damages and “[a]ll other damages allowed by

14 law, rule, or equity.” FAC ¶ 7.8. The damages sought also include damages for “reasonable

15 fears” and “future adverse medical consequences.” FAC ¶ 5.521. And, additionally, Plaintiffs

16 seek their attorneys’ fees. FAC ¶ 7.8.

17           48.    “It is well established that punitive damages are part of the amount in
18 controversy in a civil action.” Gibson v. Chrysler Corp., 261 F.3d 927, 945 (9th Cir. 2001).

19 With respect to punitive damages, Plaintiffs allege that Defendants “intentionally

20 misrepresented facts” or “intentionally concealed information about PCBs,” FAC ¶ 5.249.

21 Plaintiffs seek punitive damages for Defendants’ purported “reckless decisions and

22 reprehensible conduct.” FAC ¶ 6.28

23           49.    The FAC does not set forth a dollar amount for which Plaintiffs pray.
24 However, based on the allegations in the FAC and Defendants’ general knowledge of and

25 discovery related to monetary damages for personal injuries sought by plaintiffs (including

26 medical expenses) in other PCB litigation, Defendants have a good faith belief and a



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 1 reasonable person would conclude that Plaintiff is seeking damages in excess of $75,000,

 2 exclusive of interest and costs, in this case for each Plaintiff. See W. Dist. Wash CR

 3 101(a). Therefore, based on the allegations of the FAC and Defendants’ above-mentioned

 4 knowledge, it has been determined that this case is one which is removable based on diversity

 5 jurisdiction.

 6                                         III.   CONCLUSION
 7            Defendants respectfully remove this case to the United States District Court for the
 8   Western District of Washington from the Superior Court of the State of Washington for King
 9   County
10            Dated this 13th day of December, 2018.
11                                                 SCHWABE, WILLIAMSON & WYATT, P.C.
12

13
                                                   By:     /s/ Jennifer L. Campbell
14                                                 By:     /s/ Allison K. Krashan
                                                           Jennifer L. Campbell, WSBA #31703
15                                                         Email: jcampbell@schwabe.com
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18
                                                           Attorneys for Defendants Monsanto
19                                                         Company, Solutia, Inc., and Pharmacia
                                                           LLC
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                    EXHIBIT A




                    EXHIBIT A


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 1                                                                             KING COUNTY
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 3                                                                      CASE NUMBER: 18-2-11915-4 SEA

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 7                  SUPERIOR COURT OF THE STATE OF WASHINGTON
                              IN AND FOR KING COUNTY
 8
 9
     CEANNA N. HEIT, as litigation guardian for minors        No.
10   S.A.H. and E.M.H.; HOLLY MILLS HILEY, as legal
     and litigation guardian of minors A.S.M.H., D.C.H.M.,
11   G.A.H.M. and S.S.H.M.; BRETT C. HILEY, individually      COMPLAINT FOR DAMAGES
     and as legal guardian of minors A.S.M.H., D.C.H.M.,
12
     G.A.H.M. and S.S.H.M.; KERRY L. ERICKSON;
13   MARC D. ERICKSON; MICHELLE M. LEAHY;
     RICHARD A. LEAHY; JOYCE E. MARQUARDT;
14   KELSIE R. SILVA; and DOES 1-237;
15
                                Plaintiffs,
16            v.
17   MONSANTO COMPANY, a Delaware corporation;
18   SOLUTIA, INC., a Delaware corporation; PHARMACIA
     LLC, a Delaware limited liability corporation, f/k/a
19   Pharmacia Corporation; STATE OF WASHINGTON;
     MONROE SCHOOL DISTRICT NO. 103 d/b/a
20   MONROE PUBLIC SCHOOLS; UNION HIGH
21   SCHOOL DISTRICT NO. 402; SNOHOMISH HEALTH
     DISTRICT; and ROES 1-10;
22
                                Defendants.
23
24
25   NB: This is the second complaint filed in the Sky Valley litigation. The first complaint is
26   King County Superior Court Case No. 18-2-00001-7 SEA, assigned to Judge Theresa
27   Doyle.
28


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19
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 1   I.        INTRODUCTION TO THE SKY VALLEY EDUCATION CENTER CASE
 2             Monsanto intentionally produced and promoted in the U.S. more than 1.25 billion
 3   pounds of synthetic chemicals called Polychlorinated Biphenyls (PCBs). According to
 4   U.S. government agencies, PCBs are “extremely toxic” and damage essentially every
 5   system of the human body. Since the 1930s, Monsanto has known that PCBs are toxic,
 6   yet promoted them without adequate warnings for electrical, construction, and other
 7   applications—until they were banned. Internal memoranda, however, show that while
 8   Monsanto knew PCBs are toxic, Monsanto made decisions based on PCB profits. As a
 9   consequence, PCBs were produced and incorporated into public buildings, including
10   school buildings. Today up to 14 million school children in roughly 20,000 U.S. school
11   buildings may be exposed to PCBs, as estimated by a Harvard School of Public Health
12   study. Monsanto still fails to adequately warn about the extreme toxicity of its PCBs.
13             In this case, the contaminated school buildings are called Sky Valley Education
14   Center. They contained PCBs and other toxic chemicals, exposing the children and adults
15   who used the buildings. As a result, these individuals have been coping with adverse
16   medical effects, including neurological damage, autoimmune and endocrine diseases, and
17   cancers. The State, the School District, and the Health District negligently allowed the
18   toxic chemicals to exist in the buildings, due in part to Monsanto’s ongoing failure to
19   warn about PCBs’ extreme toxicity. Regardless, the public entities had joint duties of
20   reasonable care to provide, maintain, inspect, operate, and supervise public education for
21   the children and adults at Sky Valley. The public entities violated their duties by allowing
22   the toxic chemicals to remain in the school buildings and poison these children and
23   adults.
24             This case is about school safety and the toxic chemicals in school buildings that
25   poisoned children and adults, and whether under state law the manufacturer will be held
26   accountable for its toxic products, and whether the public entities that are obligated to
27   provide safe school buildings will be held accountable for the toxic school buildings.
28             The following EPA slide demonstrates the mechanism of the toxic poisoning:


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                            PCBs - A Complex Problem in Buildings
          Example Scenario                                      Over 100 PCB chemicals
                                                                Multiple
                                                                      p p primary
                                                                                y sources p
                                                                                          possible
                                                                Transport from sources to air, surfaces,
                                                                    dust, soil
                                                                Secondary sources created
                        Primary Sources
                             Caulk                              Exposures through multiple pathways
                             Light Ballast
                                                                Ventilation and temperature effects
                        Secondary Sources/Sinks
                            Surrounding Materials
                            Paint
                            Dust
HVAC
 Unit




 Office of Research and Development
 National Exposure Research Laboratory
                                                                          Primary PCB   Secondary PCB
COMPLAINT - 2                                               Ventilation                                         Dust/Soil
                                                                          Source        Sources and Sinks
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 1   II.        IDENTITY OF THE PARTIES
 2         A.        Identities of the Defendants.
 3              1.   In 2015 and 2016, the Cities of Spokane and Seattle and the State of
 4   Washington each separately sued the Monsanto Defendants for their role in
 5   contaminating Washington public resources with Monsanto’s PCBs. Many of the
 6   following allegations have been made or admitted to by the State and Monsanto
 7   Company, Solutia, Inc., and Pharmacia LCC, through the State’s Complaint for
 8   Damages, and Monsanto, et al.’s Answer to the Complaint, or are sourced from other
 9   public documents. See State’s Complaint for Damages, State v. Monsanto, et al., King
10   County Case No. 16-2-29591-6-SEA (December 16, 2016), and Defendant Monsanto
11   Company et al.’s Answer to Complaint, State v. Monsanto Company, et al., No. 2:17-cv-
12   00053 (W.D. Wash. Jan. 12, 2017); see also City of Seattle v. Monsanto Co., 237 F.
13   Supp. 3d 1096, 1100, fn 2 (W.D. Wash. 2017) (“The original Monsanto Company
14   operated within three main industries: agricultural products, chemical products, and
15   pharmaceuticals. In the late 1990s, Monsanto Company spun off into three separate
16   corporations, each responsible for a different industry: Monsanto Company retained the
17   agricultural products business; Solutia, Inc. assumed the chemical products business; and
18   Pharmacia Corporation assumed the pharmaceutical business. Each assumed certain
19   assets and liabilities from the original Monsanto Company, and all are defendants in this
20   case”); City of Spokane v. Monsanto Co., Case No. 2:15-cv-00201-SMJ (E.D. Wash. July
21   31, 2015); see also Solutia, Inc. v. McWane, Inc., 726 F.Supp.2d 1316, 1318-19 (N.D.
22   Ala. 2010) (“Monsanto Company and its predecessors produced polychlorinated
23   biphenyls (‘PCBs’)… In 1997, Monsanto created Solutia in a spin-off transaction… In
24   2000, Pharmacia was formed by the merger of Monsanto and Pharmacia & Upjohn”).
25              2.   Defendant Monsanto Company is a Delaware corporation with its principal
26   place of business in St. Louis County, Missouri.
27              3.   Defendant Solutia, Inc. is a Delaware corporation with its principal place of
28   business in St. Louis County, Missouri.


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 1          4.     Defendant Pharmacia LLC is formerly known as Pharmacia Corporation
 2   and is successor to the original Monsanto Company. Pharmacia is a Delaware limited
 3   liability corporation and is a citizen of the states of New York and Delaware. Pharmacia
 4   is now a wholly-owned subsidiary of Pfizer, Inc.
 5          5.     The original Monsanto Company (“Old Monsanto”) operated agricultural,
 6   chemical, and pharmaceutical businesses.
 7          6.     Old Monsanto began manufacturing PCBs around the 1930s and continued
 8   to manufacture commercial PCBs, including PCBs used in electrical equipment
 9   applications such as light ballasts, through the 1940s, 1950s, 1960s, and 1970s, until
10   approximately 1977.
11          7.     Around 1997, Old Monsanto spun-off its chemical business to Solutia.
12   Since 2000, the present or current Monsanto Company has operated the agricultural
13   business, while Pharmacia retained the pharmaceutical business.
14          8.     Old Monsanto is now known as Pharmacia LLC.
15          9.     Old Monsanto organized Solutia to own and operate its chemical
16   manufacturing business. Solutia assumed the operations, assets, and liabilities of Old
17   Monsanto’s chemical business.
18          10.    Although Solutia assumed and agreed to indemnify Pharmacia (then known
19   as Monsanto Company) for certain liabilities related to the chemicals business,
20   Monsanto, Solutia, and Pharmacia have also entered into agreements to share or
21   apportion liabilities, and/or to indemnify one or more entities, for claims arising from Old
22   Monsanto's chemical business, including the manufacture and sale of PCBs.
23          11.    According to Monsanto, Solutia, and Pharmacia, the three entities have
24   entered into complex corporate transactions and agreements that determine their
25   respective legal or financial obligations for claims arising from Old Monsanto’s
26   manufacture and sale of PCBs.
27          12.    In 2003, Solutia filed a voluntary petition for reorganization under Chapter
28   11 of the U.S. Bankruptcy Code. Solutia's reorganization was completed in 2008. In


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 1   connection with Solutia's Plan of Reorganization, Solutia, Pharmacia, and new Monsanto
 2   entered into several agreements under which Monsanto continues to manage and assume
 3   financial responsibility for certain tort litigation and environmental remediation related to
 4   the chemicals business.
 5          13.    Monsanto represented in a recent Form 10-K (for the fiscal year ending
 6   August 31, 2016): “Monsanto is involved in environmental remediation and legal
 7   proceedings to which Monsanto is party in its own name and proceedings to which its
 8   former parent, Pharmacia LLC (‘Pharmacia’) or its former subsidiary, Solutia, Inc.
 9   (‘Solutia’) is a party but that Monsanto manages and for which Monsanto is responsible
10   pursuant to certain indemnification agreements. In addition, Monsanto has liabilities
11   established for various product claims. With respect to certain of these proceedings,
12   Monsanto has established a reserve for the estimated liabilities.” The document specifies
13   that the company holds $545,000,000.00 in that reserve.
14          14.    For the Monsanto Defendants’ wrongdoing that lead to PCB contamination
15   and toxic poisonings at the school buildings in this case, Monsanto, Solutia, and
16   Pharmacia are liable to the Plaintiffs under state tort law. These Defendants may be
17   obligated to one another in contract for PCB tort liabilities as set out in their complex
18   corporate agreements, but that is not the subject of this lawsuit. For purposes of this
19   Complaint, these Defendants are referred to as “Monsanto.”
20          15.    Monsanto’s conduct is a legal cause of damages to the Plaintiffs because
21   the Sky Valley Education Center school buildings never would have become
22   contaminated with “extremely toxic” PCBs if Monsanto had not intentionally produced
23   and promoted PCBs in building construction applications.
24          16.    The State of Washington is a sovereign that has constitutional and statutory
25   duties to citizens of the State of Washington, including the Plaintiffs, through State
26   departments, agencies, and employees at the Department of Health, the Office of the
27   Superintendent of Public Instruction, and other offices. See, e.g., Wash. State Depart. of
28   Health, Office of Environmental Health and Safety. June 2005, p. 8, available at


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 1   https://www.doh.wa.gov/CommunityandEnvironment/Schools/EnvironmentalHealth (last
 2   visited November 15, 2017).
 3          17.    The Department of Health is the state agency that supervises and partners
 4   with health districts, such as the Snohomish Health District, and school districts, such as
 5   Monroe School District and Union High, regarding public health safety requirements in
 6   school buildings, including the school buildings in this case. Id.
 7          18.    The Office of the Superintendent of Public Instruction is the state agency
 8   that supervises the public education system, which includes administrative and support
 9   responsibilities, for school districts such as Monroe School District and Union High. Id.
10          19.    The Office of Superintendent of Public Instruction also partners with the
11   Department of Health and other agencies to support student health and safety in relation
12   to indoor air quality, including the air quality in the school buildings in this case. Id.
13          20.    Monroe School District No. 103, d/b/a Monroe Public Schools, is a
14   Washington school district.
15          21.    Monroe School District provides educational services to families who live
16   in King and Snohomish Counties.
17          22.    Union High School District No. 402 is a Washington school district.
18          23.    According to tax accessor records, Union High appears to be the owner of
19   the land and school buildings formerly known as Monroe High School (1950-1977),
20   Monroe Junior High (1977-1987), Monroe Middle School (1987-2011), and now known
21   as the Sky Valley Education Center (2011-present), located at 351 Short Columbia Street
22   at Hill and Kelsey Streets, in Monroe. In this Complaint, this location may be referred to
23   as Sky Valley Education Center, Sky Valley, or the school buildings.
24          24.    The Snohomish Health District (“Health District”) is a Washington
25   independent special purpose district.
26          25.    The Health District is the municipal corporation responsible for public
27   health in Snohomish County, in part by inspecting and enforcing minimal environmental
28   safety requirements in educational facilities, including the school buildings in this case.


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 1          B. Identities of the Plaintiffs.
 2               1.   The Plaintiffs are residents of King and Snohomish Counties.
 3               2.   The Plaintiffs identified in the caption by their initials are minor children
 4   who were or are students served by the Monroe School District. These Plaintiffs spent
 5   time in the school buildings. Due to the Defendants’ wrongful conduct, the Plaintiffs
 6   were exposed to toxic chemicals and have suffered adverse medical consequences.
 7               3.   The Plaintiffs identified in the caption by their full names are adults who
 8   spent time in the school buildings. Due to the Defendants wrongful conduct, these
 9   Plaintiffs were exposed to toxic chemicals and have suffered adverse medical
10   consequences. Plaintiffs Erickson, Leahy, and Marquardt do not sue the School District.
11               4.   The Plaintiffs identified in the caption as Does 1-237 are individuals who
12   spent time in the school buildings. These Plaintiffs may have been exposed to toxic
13   chemicals and suffered adverse medical consequences, as discovery may reveal. In 2016,
14   environmental testing publicly revealed the toxic contamination in the school buildings.
15               5.   In all, the Plaintiffs are children, parents, spouses, and Monroe School
16   District staff members, including teachers, who were harmed due to the corporate and
17   governmental wrongdoing of the Defendants. The Plaintiffs bring claims against the
18   Defendants for products liability and negligence. The Plaintiffs bring claims for personal
19   injuries as well as societal and consortium injuries to their family members.
20               6.   The Plaintiffs will move to appoint the required guardians ad litem to
21   represent and review the litigation and settlement interests of the minor children.
22   III.        VENUE AND JURISDICTION
23          A.        Venue is proper in King County.
24               1.   King County venue is proper because one or more of the Monsanto
25   Defendants transacts business in King County, including Monsanto, Solutia, and/or
26   Pharmacia. RCW 4.12.025(1).
27               2.   King County venue is proper because suit is against the State, and the
28   Plaintiffs are residents of King and Snohomish Counties. RCW 4.92.010 (“Any person or


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 1   corporation having any claim against the state of Washington shall have a right of action
 2   against the state in the superior court. The venue for such action shall be as follows: (1)
 3   The county of the residence or principal place of business of one or more of the
 4   plaintiffs”).
 5              3.    King County venue is also proper because the Monroe School District
 6   transacts business in King County. RCW 4.12.025(1). A school district is a “municipal
 7   corporation.” RCW 39.69.010. Venue is proper “in any county in which the defendant
 8   resides… the residence of a corporation defendant shall be deemed to be in any county
 9   where the corporation: (a) Transacts business [or] (c) transacted business at the time the
10   cause of action arose.” RCW 4.12.025(1). Although the School District has offices and
11   buildings in Snohomish County, it transacts business in King County as well as
12   Snohomish County by providing educational services to children and families within
13   King County, including the Plaintiffs, who are King County residents. The School
14   District provides educational and outreach services in King County, while also receiving
15   compensation from King County residents for providing these services.
16              4.    King County venue is also proper to the extent any Defendant alleges legal
17   fault to a third-party corporate resident of King County. Such corporation may be cross-
18   claimed against or added in an amended complaint by Plaintiffs.
19              5.    King County venue is also proper to the extent any Defendant alleges legal
20   fault to third-party Snohomish County and if the County becomes a party.
21         B.         King County Superior Court has jurisdiction.
22              1.    This Court has jurisdiction over this case. Wash. Const. Art. 4, §6; RCW
23   2.08.010; RCW 4.12.020(3).
24   IV.        COMPLIANCE WITH STATUTORY NOTICE REQUIREMENTS
25         A.         Plaintiffs complied with the statutory claim notice requirements and
26                    waiting periods for the following public entity Defendants:
27              1.    The State of Washington;
28              2.    Monroe School District No. 103, a/k/a Monroe Public Schools;


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 1             3.    Union High School No. 402; and
 2             4.    Snohomish Health District.
 3        B.         Plaintiffs are not required to give any statutory claim notice to the
 4                   following non-public entity Defendants:
 5             1.    Monsanto Company;
 6             2.    Solutia, Inc.; or
 7             3.    Pharmacia LLC, f/k/a Pharmacia Corporation.
 8   V.        FACTS REGARDING CONTAMINATION, EXPOSURE, AND POISONING
 9        A.         Monsanto produced and promoted PCBs from the 1930s to the 1970s.
10             1.    Polychlorinated biphenyls, or “PCBs,” are mixtures of synthetic organic
11   chemicals comprised of chlorine atoms attached to a double carbon-hydrogen ring (a
12   “biphenyl” ring). U.S. EPA. PCBS: CANCER DOSE-RESPONSE ASSESSMENT AND
13   APPLICATION TO ENVIRONMENTAL MIXTURES (1996) at 1. U.S. Environmental
14   Protection Agency, Office of Research and Development, National Center for
15   Environmental Assessment, Washington Office, Washington, DC, EPA/600/P-96/001F,
16   1996, available at https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=12486 (last
17   accessed November 6, 2017). “Different mixtures can take on forms ranging from oily
18   liquids to waxy solids.” Id.
19             2.    PCBs are comprised of many similar semi-volatile chemicals called
20   congeners. A “PCB congener” is any single, unique chemical compound in the PCB
21   category. Two hundred nine congeners have been identified.
22             3.    From approximately the 1930s to 1977, Monsanto was the only
23   manufacturer in the United States that intentionally produced and promoted PCBs for
24   commercial use. Environmental Defense Fund v. Environmental Protection Agency, 636
25   F.2d 1267, 1281 fn 37 (1980) (“From the sparse legislative history of § 6(e), it also
26   appears that Congress focused its attention on the deliberate use, manufacture, and
27   distribution of PCBs. Throughout the congressional debate, members of Congress
28   referred to Monsanto Company as the sole producer of PCBs. See 122 Cong.Rec. 8294


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 1   (1976), reprinted in Legislative History, supra note 7, at 240 (Senator Tunney, speaking
 2   in support of the section, referred to Monsanto as the “sole domestic manufacturer of
 3   PCB’s”); id. at 27187, reprinted in Legislative History, supra note 7, at 588
 4   (Congressman Leggett, speaking in support of the corresponding section in the House
 5   bill, referred to Monsanto as “the only American manufacturer of PCB’s”).”). See also
 6   116 Cong. Record 11,695, 91st Congress, (April 14, 1970) (“Insofar as the Monsanto
 7   Co., the sole manufacturer of PCB's is concerned....”) and 121 Cong. Record 33879, 94th
 8   Congress, (October 23, 1975) (“The sole U.S. producer, Monsanto Co.....”); and see Sky
 9   Valley Complaint, Exhibit A (from City of Spokane v. Monsanto Co., Case 2:15-cv-
10   00201-SMJ, ECF No. 1-1 (E.D. Wash. July 31, 2015), Bates Nos. MONS 058730-
11   058752, entitled “PCB Presentation to Corporate Development Committee”) at MONS
12   058733 (identifying other producers as “all ex-USA”).
13            4.   The most common trade name for PCBs in the United States is “Aroclor.”
14   21 CFR § 500.45(a) (“Polychlorinated biphenyls (PCBs) represent a class of toxic
15   industrial chemicals manufactured and sold under a variety of trade names, including
16   Aroclor (United States)”).
17            5.   Aroclor is a name that was trademarked by Monsanto.
18            6.   “Between 1929 and 1977, more than 1.25 billion pounds of PCBs were
19   produced in the United States.” Agency for Toxic Substances and Disease Registry
20   (ATSDR). 2014. Case Studies in Environmental Medicine: Polychlorinated Biphenyls
21   (PCBs) Toxicity. Atlanta, GA: U.S. Department of Health and Human Services, at 21,
22   available at https://www.atsdr.cdc.gov/csem/csem.asp?csem=30&po=10, last visited on
23   November 7, 2017.
24      B.         Monsanto’s PCBs are “extremely toxic” synthetic chemicals.
25            1.   “PCBs are extremely toxic to humans and wildlife.” Environmental
26   Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1270 (D.C. Cir.
27   1980).
28            2.   PCBs are a “keystone pollutant” and “a prime motivator for the enactment


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 1   of TSCA,” the Toxic Substances Control Act. “By most accounts, PCBs are the
 2   archetypical chemical villains against which the contemporary pollution laws are
 3   directed.” William H. Rodgers, Jr. and Elizabeth Burleson, Polychlorinated biphenyls
 4   (PCBs), 3 Envtl. L. (West) §6:9 (July 2017) (internal citations omitted).
 5          3.     By the late 1970s, the United States banned the “manufacture, processing,
 6   distribution in commerce, and use of polychlorinated biphenyls (PCBs).” 44 Fed. Reg.
 7   31514 (May 31, 1979). The ban remains in effect. “The TSCA prohibits the manufacture,
 8   processing, distribution, and use (other than in a ‘totally enclosed manner’) of
 9   polychlorinated biphenyls (PCBs) unless the EPA determines that the activity will not
10   result in an ‘unreasonable risk of injury to health or the environment.’” General Electric
11   Co. v. EPA, 290 F.3d 377 (D.C. Cir. 2002) (holding that an EPA-issued guidance
12   document was a legislative rule requiring prior notice and opportunity for public
13   comment), citing 15 U.S.C. § 2605(e) (2) & (3).
14          4.     PCBs are “among the most stable chemicals known and decompose very
15   slowly once they are in the environment... In the environment, PCBs are toxic at low
16   concentrations to a wide variety of species, marine mammals included. Once PCBs
17   reach the environment, they tend to stay there, or move slowly in damaging cycles…”
18   William H. Rodgers, Jr. and Elizabeth Burleson, Polychlorinated biphenyls (PCBs), 3
19   Envtl. L. (West) §6:9 (July 2017) (emphasis added), citing in part Response to Exemption
20   Petitions, 50 Fed. Reg. 35,184 (August 29, 1985) (“PCBs are also toxic to mammals at
21   very low exposure levels. The survival rate and reproductive success of fish can be
22   adversely affected in the presence of PCBs. Various sublethal physiological effects
23   attributed to PCBs have been recorded in the literature”) (emphasis added); see also 21
24   CFR § 500.45(a) (“Since PCBs are toxic chemicals, the PCB contamination of food as a
25   result of these and other incidents represent a hazard to public health.”).
26          5.      “For humans, exposures cause acute effects such as skin rashes, vomiting,
27   abdominal pain, and temporary blindness and are suspected of causing birth defects,
28   miscarriages, and cancer.” William H. Rodgers, Jr. and Elizabeth Burleson,


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 1   Polychlorinated biphenyls (PCBs), 3 Envtl. L. (West) §6:9 (July 2017) (internal citations
 2   omitted). See also Solutia, Inc. v. McWane, Inc., 726 F. Supp. 2d 1316, 1319 (N.D. Ala.
 3   2010) (“PCBs have been found to cause cancer, decreased fertility, still births, and birth
 4   defects in test animals.”) (Monsanto cleanup contribution case), citing Dickerson, Inc. v.
 5   United States, 875 F.2d 1577, 1579, 1583 (11th Cir.1989) (“PCBs are highly toxic
 6   chemicals frequently used in electrical transformers… Scientists have found PCB
 7   concentrations far below those involved in this case to cause cancer, decreased fertility,
 8   still births, and birth defects in test animals.”) (affirming judgment against the United
 9   States for PCB liability). Both Solutia, Inc. and Dickerson cited Environmental Defense
10   Fund v. Environmental Protection Agency, 636 F.2d 1267 (D.C. Cir. 1980), infra.
11         6.     The Environmental Defense Fund decision summarized research available
12   to the scientific community by the late 1970s:
13         Polychlorinated biphenyls (PCBs) have been manufactured and used
           commercially for fifty years for their chemical stability, fire resistance, and
14
           electrical resistance properties. They are frequently used in electrical
15         transformers and capacitors. However, PCBs are extremely toxic to humans
           and wildlife. The extent of their toxicity is made clear in the EPA Support
16         Document accompanying the final regulations, in which the EPA Office of
17         Toxic Substances identified several adverse effects resulting from human
           and wildlife exposure to PCBs.
18
19         Epidemiological data and experiments on laboratory animals indicate that
           exposure to PCBs pose carcinogenic and other risks to humans.
20         Experimental animals developed tumors after eating diets that included
21         concentrations of PCBs as low as 100 parts per million (ppm). Experiments
           on monkeys indicate that diets with PCB concentrations of less than ten
22         ppm reduce fertility and cause still births and birth defects. Other data show
23         that PCBs may adversely affect enzyme production, thereby interfering
           with the treatment of diseases in humans. Support Document, supra note 4,
24         at 9-18.
25
           EPA has found that PCBs will adversely affect wildlife as well as humans.
26         Concentrations below one ppb (part per billion) are believed to impair
27         reproductivity of aquatic invertebrates and fish. Some birds suffered
           “severe reproductive failure” when fed diets containing concentrations of
28         only ten ppm of PCBs. Id. at 19. Because PCBs collect in waterways and
           bioaccumulate in fish, fish-eating mammals run a special risk of adverse
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 1         effects. Such mammals may have “significantly higher concentrations of
           PCBs in their tissues than the aquatic forms they feed on.” Id. at 36.
 2
 3         EPA estimates that by 1975 up to 400 million pounds of PCBs had entered
           the environment. Approximately twenty-five to thirty percent of this
 4         amount is considered “free,” meaning that it is a direct source of
 5         contamination for wildlife and humans. The rest, “mostly in the form of
           industrial waste and discarded end use products, is believed to be in landfill
 6         sites and thus constitutes a potential source of new free PCBs.” Id. at 33-34.
 7         Other significant sources of PCBs include atmospheric fallout and spills
           associated with the use or transportation of PCBs. Id. at 29.
 8
 9         EPA concluded in the Support Document that “the additional release of
           PCBs” into the environment would result in widespread distribution of the
10         PCBs and “will eventually expose large populations of wildlife and man to
11         PCBs.” Id. at 36-37. EPA concluded further that:

12                As a practical matter, it is not possible to determine a “safe”
                  level of exposure to these chemicals. Because PCBs are
13
                  already widely distributed throughout the *1271 biosphere,
14                they currently pose a significant risk to the health of man as
                  well as that of numerous other living things. As a
15
                  consequence, any further increase in levels of PCBs in the
16                biosphere is deemed undesirable by EPA.
17         Id. at 38. Because “PCBs released anywhere into the environment will
18         eventually enter the biosphere ... EPA has determined that any such release
           of PCBs must be considered ‘significant.’” Id.
19
20         In 1972, Monsanto, the major American manufacturer of PCBs, limited its
           sales of PCBs to manufacturers of transformers and capacitors. It ceased all
21         manufacture of PCBs in 1977 and shipped the last of its inventory before
22         the end of that year. Today, PCBs are produced in this country only as
           incidental byproducts of industrial chemical processes. There are no known
23         natural sources of PCBs. Id. at 2.
24   Environmental Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1270-
25   71 (D.C. Cir. 1980) (holding, in part, that there was no substantial evidence to support
26   EPA’s decision to establish a regulatory cutoff below 50 ppm).
27         7.     The decision made other findings: “Most importantly, EPA expressly found
28   that any exposure of PCBs to the environment or humans could cause adverse effects.”


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 1   Environmental Defense Fund, 636 F.2d at 1283-84.
 2         8.     Closed PCB systems develop leaks. Another issue in the decision related
 3   to the regulation of non-enclosed uses of PCBs, such as “carbonless paper, paints,
 4   coatings, soaps, and copying ink toners,” versus so-called “totally enclosed uses” of
 5   PCBs such as “transformers, capacitors, and electromagnets.” Environmental Defense
 6   Fund, 636 F.2d at 1285. The court ruled against the EPA on this artificial distinction
 7   because of something that is also true in this case: “put simply, closed systems develop
 8   leaks.” Id. at 1285; see also 1286 (witness “recognized that environmental losses can
 9   occur through accidental rupture or leakage.”).
10         9.     In the years following the ban, the EPA confirmed that PCBs are toxic, may
11   cause reproductive and developmental effects, and may cause tumors (“oncogenic
12   potential”) in people exposed:
13         Health effects. EPA has determined that PCBs are toxic and persistent.
           PCBs can enter the body through the lungs, gastrointestinal tract, and skin,
14
           circulate throughout the body, and be stored in the fatty tissue.
15
           Available animal studies indicate an oncogenic potential, the degree            to
16         which would depend on exposure… Further epidemiological research                is
17         needed to correlate human and animal data, but EPA finds no evidence            to
           suggest that the animal data would not predict an oncogenic potential           in
18         humans.
19
           In addition, EPA finds that PCBs may cause reproductive effects,
20         developmental toxicity, and oncogenicity in humans exposed to PCBs.
21         Available data show that some PCBs have the ability to alter reproductive
           processes in mammalian species, sometimes even at doses that do not cause
22         other signs of toxicity. Animal data and limited available human data
23         indicate that prenatal exposure to PCBs can result in various degrees of
           developmental toxic effects. Postnatal effects have been demonstrated in
24         immature animals following exposure to PCBs prenatally and via breast
25         milk.

26         In some cases chloracne may occur in humans exposed to PCBs. Severe
27         cases of chloracne are painful and disfiguring, and symptoms may persist
           for an extended time…
28


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 1   50 Fed. Reg. 35182, 35183-84 (August 29, 1985).
 2          10.    The EPA also determined that Monsanto’s PCBs are probable human
 3   carcinogens. In 1996, the EPA reassessed PCB carcinogenicity based on data related to
 4   Aroclors 1016, 1242, 1254, and 1260. The EPA’s cancer reassessment was peer reviewed
 5   by experts on PCBs, including scientists from government, academia, and industry. U.S.
 6   EPA. PCBs: Cancer Does-Response Assessment and Application to Environmental
 7   Mixtures (1996). U.S. EPA, Office of Research and Development, National Center for
 8   Environmental Assessment, Washington Office, Washington, DC, EPA/600/P-96/001F,
 9   1996, available at https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=12486 (last
10   accessed November 6, 2017).
11          11.    This EPA report found that “[j]oint consideration of cancer studies and
12   environmental processes leads to a conclusion that environmental PCB mixtures are
13   highly likely to pose a risk of cancer to humans.” Id. at 57. In addition, “PCBs persist in
14   the body, providing a continuing source of internal exposure after external exposure
15   stops. There may be greater-than-proportional effects from less-than-lifetime exposure,
16   especially for persistent mixtures and for early-life exposure.” Id. at 58-59.
17          12.    The 1996 EPA report also noted that “PCBs also have significant
18   ecological and human health effects other than cancer, including neurotoxicity,
19   reproductive and developmental toxicity, immune system suppression, liver damage, skin
20   irritation, and endocrine disruption. Toxic effects have been observed from acute and
21   chronic exposures to PCB mixtures with varying chlorine content.” Id. at vi.
22          13.    In 2000, the Agency for Toxic Substances and Disease Registry (ATSDR),
23   issued a public health statement regarding PCB exposure. It noted that “[s]kin conditions,
24   such as acne and rashes, may occur in people exposed to high levels of PCBs… Some
25   studies in workers suggest that exposure to PCBs may also cause irritation of the nose
26   and lungs, gastrointestinal discomfort, changes in the blood and liver, and depression and
27   fatigue.” Agency for Toxic Substances and Disease Registry (ATSDR). 2000.
28   Toxicological profile for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S.


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 1   Department of Health and Human Services, Public Health Service, at 4. The public health
 2   statement summarized experimental animal studies finding liver damage, anemia, acne-
 3   like skin conditions, stomach injuries, thyroid injuries, kidney damage, impaired immune
 4   system function, behavioral alterations, endocrine disruption, and impaired reproduction.
 5   Id. at 5.
 6           14.      Children are more vulnerable to PCB exposure. The 2000 ATSDR
 7   statement also summarized studies tending to show effects in PCB-exposed children: low
 8   birthweight; problems with motor skills; decreases in short-term memory; and effects on
 9   the immune system. Id. at 6. The report noted that children are more vulnerable to PCB
10   exposure than adults, although the routes of exposure are the same:
11           Children are exposed to PCBs in the same way as are adults: by eating
             contaminated food, breathing indoor air in buildings that have electrical
12
             devices containing PCBs, and drinking contaminated water. Because of
13           their smaller weight, children’s intake of PCBs per kilogram of body
             weight may be greater than that of adults.
14           …
15           It is possible that children could be exposed to PCBs following transport of
             the chemical on clothing from the parent’s workplace to the home. House
16           dust in homes of workers exposed to PCBs contained higher than average
17           levels of PCBs. PCBs have also been found on the clothing of firefighters
             following transformer fires. The most likely way infants will be exposed is
18           from breast milk that contains PCBs. Fetuses in the womb are also exposed
19           from the exposed mother.
             .…
20           Because the brain, nervous system, immune system, thyroid, and
21           reproductive organs are still developing in the fetus and child, the effects of
             PCBs on these target systems may be more profound after exposure during
22           the prenatal and neonatal periods, making fetuses and children more
23           susceptible to PCBs than adults.

24   Id. at 5-6. In addition, “Younger children may be particularly vulnerable to PCBs
25   because, compared to adults, they are growing more rapidly and generally have lower and
26   distinct profiles of biotransformation enzymes, as well as much smaller fat deposits for
27   sequestering the lipophilic PCBs.” Id. at 381.
28           15.      Children are not small adults. The ATSDR toxicological profile for PCBs


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 1   reiterated these developmental concerns while cautioning against the fallacy that children
 2   possess the same level of resilience to toxic exposure as adults: “Children are not small
 3   adults… Children also have a longer remaining lifetime in which to express damage from
 4   chemicals; this potential is particularly relevant to cancer.” Id. at 380-81.
 5          16.    Workplace PCB exposure can contaminate homes. The ATSDR
 6   statement reiterated that workplace exposure to PCBs can result in the worker’s home
 7   becoming contaminated with PCBs: “If you are exposed to PCBs in the workplace, it
 8   may be possible to carry them home from work… If this is the case, you should shower
 9   and changing clothing before leaving work, and your work clothes should be kept
10   separate from other clothes and laundered separately.” Id. at 7.
11          17.    PCB exposure and cardiovascular damage. A 2011 ATSDR addendum
12   to the toxicological profile for PCBs reported on more recent research, including animal
13   studies showing cardiovascular damage following PCB exposure. Agency for Toxic
14   Substances and Disease Registry (ATSDR). 2011. Addendum to the toxicological profile
15   for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S. ATSDR, Division of
16   Toxicology and Environmental Medicine, at 1.
17          18.    PCB exposure and type 2 diabetes. The 2011 addendum reported research
18   that “PCB exposure was strongly related to prevalence of type 2 diabetes mellitus.” Id. at
19   2-3.
20          19.    PCB exposure and deficient immune function. The 2011 addendum
21   reported research “suggesting possible impaired immunologic development” in children,
22   and the results of another study that “implied that exposure to PCBs is a possible cause of
23   deficient immune function in children.” Id. at 4.
24          20.    PCB exposure and neurodegenerative diseases. The 2011 addendum
25   reported other research “that exposure to PCBs likely has an effect on neurodegenerative
26   diseases for women but not men,” including amyotrophic lateral sclerosis (ALS, also
27   known as motor neuron disease), Parkinson’s disease, and dementia. Id. at 4.
28          21.    PCB exposure and neurobehavioral effects, anxiety. The 2011


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 1   addendum reported animal studies research “that exposure to PCBs may exert anxiogenic
 2   behavior.” Id. at 5. An anxiogenic or panicogenic substance is one that causes anxiety.
 3          22.    PCB exposure and central nervous system effects. The 2011 addendum
 4   reported animal studies research showing inhibited and depressed central nervous system
 5   effects following PCB exposure. Id. at 5-6.
 6          23.    PCB exposure and children’s permanent teeth. The 2011 addendum
 7   reported human studies showing “a dose-response relationship between PCB exposure
 8   and development enamel defects of permanent teeth in children.” Id. at 7.
 9          24.    PCB exposure and sexual development. The 2011 addendum reported
10   human studies research showing impaired sexual development, including a positive
11   association between high total PCB concentrations and cryptorchidism (undescended
12   testicles) in boys. Another study “suggested that even low levels of PCBs had a robust
13   negative impact on gonadal hormones in newborns.” Id. at 7-8. Another study of girls
14   exposed to PCBs “suggested that even at low levels of estrogenic PCBs, the time to
15   menarche attainment was decreased,” and the “median age at menarche for this cohort
16   (138 girls) was 12.2 years.” Id. at 9. Another study found “that exposure to certain PCB
17   congeners may interfere with human reproductive development” in both boys and girls.
18   Id. at 9. Animal studies also found “dose-related prolongation of the estrous cycle in
19   female offspring,” and “changes in body weight, body length, tail length, and weights of
20   kidneys, testes, ovaries, and uterus.” Id. at 9.
21          25.    Broad spectrum of effects. A 2014 ATSDR publication stated that
22   occupational exposure to PCBs can result in a “broad spectrum of effects that includes
23   increased levels of some liver enzymes, with possible hepatic damage, chloracne and
24   related dermal lesions, and respiratory problems.” Agency for Toxic Substances and
25   Disease Registry (ATSDR). 2014. Case Studies in Environmental Medicine:
26   Polychlorinated Biphenyls (PCBs) Toxicity. Atlanta, GA: U.S. Depart. of Health and
27   Human Services, at 39, available at https://www.atsdr.cdc.gov/csem/csem.asp?csem=30&po=10,
28   last visited on November 7, 2017. The following information references this 2014


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 1   ATSDR publication.
 2          26.      Acute exposure to PCBs. Signs and symptoms of acute exposure to PCBs
 3   can include chloracne, eye irritation, nausea, vomiting, and elevated liver enzymes and
 4   altered liver function. Id.at 55-56.
 5          27.      Chronic exposure to PCBs. Signs and symptoms of chronic exposure to
 6   PCBs can include abdominal pain, anorexia, jaundice, nausea, vomiting, weight loss,
 7   uroporphyria, headache, dizziness, and edema. Id. at 56-57.
 8          28.      Toxic responses to PCBs. Animal studies have shown that “commercial
 9   PCBs elicit a broad range of toxic responses including:
10                      Acute lethality,
11                      Body weight loss,
                        Carcinogenesis,
12                      Dermal toxicity,
13                      Fatty liver,
                        Genotoxicity,
14                      Hepatomegaly,
15                      Immunosuppressive effects,
                        Neurotoxicity,
16
                        Porphyria,
17                      Reproductive and developmental toxicity,
18                      Thymic atrophy, and
                        Thyroid hormone-level alterations.”
19
20   Id. at 39-40.

21          29.      Dermatological effects. “Conclusive evidence that exposure to PCBs

22   induces adverse dermal effects in humans exists”:

23          Chloracne and related dermal lesions have been reported in workers
            occupationally exposed to PCBs.
24          …
            The chin, periorbital, and malar areas are most often involved, although
25
            lesions might also appear in areas not usually affected by acne vulgaris
26          (e.g., the chest, arms, thighs, genitalia, and buttocks). The most distinctive
            lesions are cystic and measure 1-10 mm, although comedonal lesions can
27
            also be present.
28          …
            Chloracne generally indicates systemic toxicity and can be caused by not

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 1          only dermal contact but also ingestion of PCBs… Chloracne typically
            develops weeks or months after exposure. The lesions are often refractory
 2
            to treatment and can last for years or decades.
 3
            In addition to chloracne, other dermal effects noted some PCB-exposed
 4          workers include pigmentation disturbances of skin and nails, erythema and
 5          thickening of the skin, and burning sensations.
 6   Id. at 41-42 (internal citations omitted).
 7          30.       Reproductive and developmental effects. “Reproductive function may be
 8   disrupted by exposure to PCBs,” and “neurobehavioral and development deficits have
 9   been reported in newborns exposed to PCBs in utero.” Id. at 45. Children born to women
10   exposed to PCBs exhibited statistically significant decreases in gestational age, birth
11   weight, and head circumference. Id. at 43. Higher levels of PCB exposure correlated with
12   weaker reflexes, greater motor immaturity, and more pronounced startle responses. Id. at
13   43-44. Follow-up studies of the children of that cohort “demonstrated that the effects of
14   perinatal exposure to PCBs are persistent.” Id. at 44. At four years of age, the children
15   still had deficits in weight gain, depressed responsiveness, and reduced performance on
16   the visual recognition memory test. Id. at 44. “At 11 years of age, the children of highly
17   exposed mothers were three times more likely than controls to have low full-scale IQ
18   scores; twice as likely to lag behind at least 2 years in reading comprehension; and more
19   likely to have difficulty paying attention.” Id. at 44 (internal citation omitted).
20          31.       Endocrine effects. “The epidemiological studies suggest a link between
21   exposure to PCBs and thyroid hormone toxicity in humans.” Id. at 46. “Thyroid
22   hormones are essential for normal behavioral, intellectual, and neurologic development.
23   Thus, the deficits in learning, memory, and attention processes among the offspring of
24   women exposed to PCBs are partially or predominantly mediated by alterations in
25   hormonal binding to the thyroid hormone receptor.” Id. “Recent studies in populations
26   exposed to PCBs and chlorinated pesticides found a dose-dependent elevated risk of
27   diabetes.” Id.
28          32.       Hepatic effects. “Although liver damage is common in animals exposed to


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 1   PCBs, overt hepatotoxicity is uncommon in humans. Exposure to PCBs can increase
 2   serum levels of hepatic enzymes and can induce microsomal enzyme function.” Id. at 46-
 3   48.
 4          33.    Neurological effects. Adults exposed to PCBs have been shown to have
 5   significantly greater motor retardation; poorer results on certain memory and attention
 6   tests; and higher scores on standardized confusion scale than did control adults. Id. at 51.
 7          34.    Additional adverse effects. “Occupational and epidemiologic studies have
 8   suggested or demonstrated other adverse health effects from exposure to PCBs,”
 9   including cardiovascular, gastrointestinal, genetic, immune, musculoskeletal, and
10   neurological systems. Id. at 51-52.
11          35.    Additional signs and symptoms. The ATSDR “advises patients to consult
12   their physicians if they develop signs or symptoms of PCB exposure such as: appetite
13   loss; joint pain; nausea; skin disorders, changes, or discoloration; breast changes or
14   lumps; and/or stomach distress and pain.” Id. at 68.
15          36.    Highly toxic PCDDs and PCDFs. “Occupational exposure to PCBs may
16   be accompanied by exposure to chlorinated dibenzodioxin and dibenzofuran
17   contaminants, which are much more toxic than PCBs in comparative animal studies.
18   These substances can cause chronic fatigue and elevated liver enzymes.” Id. at 57.
19          37.    PCBs are a “probable human carcinogen.” The Department of Health
20   and Human Services and the Environmental Protection Agency “consider PCBs a
21   probable human carcinogen.” Id. at 51. In addition, and “on the basis of sufficient
22   evidence of carcinogenicity in humans and experimental animals, the IARC
23   [International Agency for Research on Cancer] classified PCBs as carcinogenic to
24   humans.” Id. PCB exposure has been linked to cancers of the liver, gallbladder, biliary
25   tract, brain, stomach, intestinal, thyroid, myeloma (cancer of plasma cells, which can
26   damage the bones, immune system, kidneys, and red blood cell count), non-Hodgkin
27   lymphoma (a cancer that starts in the lymphatic system), and the skin, such as malignant
28   melanomas. Id. at 48-50. In addition, “data from animal studies have shown that PCBs


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 1   cause gastrointestinal tract tumors, hepatocarcinomas, leukemia, lymphomas, and
 2   pituitary tumors.” Id. at 50.
 3           38.   IARC: “PCBs are carcinogenic to humans.” In 2016, the International
 4   Agency for Research on Cancer published an assessment on the carcinogenicity of PCBs.
 5   International Agency for Research on Cancer. IARC monographs on the evaluation of
 6   carcinogenic risks to humans, volume 107. Polychlorinated and Polybrominated
 7   Biphenyls (2016), available at http://monographs.iarc.fr/ENG/Monographs/vol107/index.php (last
 8   accessed November 6, 2017. The IARC report concluded, “There is sufficient evidence in
 9   humans for the carcinogenicity of polychlorinated biphenyls (PCBs). PCBs cause
10   malignant melanoma. Positive associations have been observed for non-Hodgkin
11   lymphoma and cancer of the breast... PCBs are carcinogenic to humans.” Id. at 439
12   (emphasis in original).
13           39.   Wide range of cancers and lesions. Animal and human studies show
14   associations between PCB exposure and other cancers and lesions not specifically
15   enumerated above. These can include prostate cancer, testicular cancer, pancreatic
16   cancer, lung cancer, mouth cancer, uterine cancer, and non-neoplastic lesions of the liver,
17   thyroid gland, ovary, oviduct, uterus, lung, adrenal cortex, pancreas, kidney, heart,
18   thymus, spleen, clitoral gland, mesenteric artery, oral mucosa, bone marrow, and bladder.
19   See, e.g., Agency for Toxic Substances and Disease Registry (ATSDR). 2011. Addendum
20   to the toxicological profile for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S.
21   ATSDR, Division of Toxicology and Environmental Medicine, at 10-14.
22      C.         Monsanto knew PBCs were toxic, but promoted them without warnings.
23           1.    “Monsanto was well aware of scientific literature published in the 1930s
24   that established that inhalation of PCBs in industrial settings resulted in toxic systemic
25   effects in humans.” State of Washington’s Complaint for Damages against Monsanto, p.
26   12, ¶ 49, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
27           2.    A 1937 Monsanto memorandum advised that “Experimental work in
28   animals shows that prolonged exposure to Aroclor vapors evolved at high temperatures or


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 1   by repeated oral ingestion will lead to systemic toxic effects. Repeated bodily contact
 2   with the liquid Aroclors may lead to an acne-form skin eruption.” Id. at ¶ 50; see Sky
 3   Valley Complaint, Exhibit B (from City of Spokane v. Monsanto Co., Case 2:15-cv-
 4   00201-SMJ, ECF No. 1-2 (E.D. Wash. July 31, 2015), MONS 061332).
 5          3.     A 1955 memorandum entitled “AROCLOR TOXICITY” by Monsanto
 6   Medical Director Emmet Kelly summarized Monsanto’s position on PCB toxicity: “We
 7   know Aroclors are toxic but the actual limit has not been precisely defined. It does not
 8   make too much difference, it seems to me, because our main worry is what will happen if
 9   an individual develops any type of liver disease and gives a history of Aroclor exposure. I
10   am sure the juries would not pay a great deal of attention to MACs [maximum allowable
11   concentrates].” State of Washington’s Complaint for Damages against Monsanto, p. 12, ¶
12   51, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky Valley
13   Complaint, Exhibit C (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
14   ECF No. 1-3 (E.D. Wash. July 31, 2015), MONS 095196-97) at 2.
15          4.     A 1955 “CONFIDENTIAL” memorandum by Monsanto’s Medical
16   Department stated that workers should not be allowed to eat lunch in the Aroclor
17   department. Three reasons were provided, including the fact that “Aroclor vapors and
18   other process vapors could contaminate the lunches unless they were properly protected.”
19   See Sky Valley Complaint, Exhibit D (from City of Spokane v. Monsanto Co., Case 2:15-
20   cv-00201-SMJ, ECF No. 1-4 (E.D. Wash. July 31, 2015) at 2.
21          5.     In addition, after noting that “the chance of contaminating hands and
22   subsequently contaminating the food is a definite possibility,” the Medical Department
23   stated that
24          It has long been the opinion of the Medical Department that eating in
            process departments is a potentially hazardous procedure that could lead to
25
            serious difficulties. While the Aroclors are not particularly hazardous from
26          our own experience, this is a difficult problem to define because early
            literature work claimed that chlorinated biphenyls were quite toxic
27
            materials by ingestion or inhalation. In any case where a workman
28          claimed physical harm from any contaminated food, it would be extremely
            difficult on the basis of past literature reports to counter such claims.

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 1   Id. (emphasis added); see also State of Washington’s Complaint for Damages against
 2   Monsanto, pp. 12-13, ¶ 52, Case No. 16-2-29591-6, King County Superior Court (Dec. 8,
 3   2016).
 4            6.   A 1957 internal memorandum by Monsanto Medical Director Emmet Kelly
 5   reported that, after it conducted its own tests, the U.S. Navy decided against using
 6   Monsanto’s Aroclors: “No matter how we discussed the situation, it was impossible to
 7   change their thinking that [Aroclor-containing] Pydraul 150 is just too toxic for use in a
 8   submarine.” State of Washington’s Complaint for Damages against Monsanto, p. 13, ¶
 9   53, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky Valley
10   Complaint, Exhibit E (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
11   ECF No. 1-5 [E.D. Wash. July 31, 2015]) at 2.
12            7.   Therefore, by the 1950s, Monsanto knew that its PCBs a/k/a “Aroclors are
13   toxic but the actual limit has not been precisely defined.” Supra at ¶ V.C.3. Perhaps
14   reflecting on this, Monsanto’s Medical Director Kelly made the reasonable observation
15   that “juries would not pay a great deal of attention” to exposure limits set by the industry.
16   Id. This is reasonable because so-called exposure limits have not been based on human
17   subject testing, which would be unethical. Instead, the industry extrapolated so-called
18   human exposure limits from laboratory tests of small mammals like rats, guinea pigs,
19   rabbits, and dogs, who have a limited ability to report or demonstrate complaints
20   following PCB exposure before dying—or being killed—and then dissected for the
21   pathological examination of lesions. See, e.g., Exhibits L and R. Regardless, Monsanto
22   also knew that “early literature work claimed that chlorinated biphenyls were quite toxic
23   materials by ingestion or inhalation.” Supra at ¶ V.C.5.
24            8.   In 1966 or 1967, Monsanto Medical Director Emmet Kelly reviewed a
25   scientific presentation by University of Stockholm researcher Soren Jensen, who stated
26   that PCBs “appear to be the most injurious chlorinated compounds of all tested.” See Sky
27   Valley Complaint, Exhibit F (from City of Spokane v. Monsanto Co., Case 2:15-cv-
28   00201-SMJ, ECF No. 1-6 [E.D. Wash. July 31, 2015]), at JDGFOX00000038 (at


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 1   bottom). Researcher Jensen referred to a 1939 study associating PCBs with the deaths of
 2   three young workers and concluding that “pregnant women and persons who have at any
 3   time had any liver disease are particularly susceptible.” Id. at JDGFOX00000039.
 4   Monsanto Medical Director Kelly did not dispute the researcher’s remarks, noting in the
 5   1967 letter to the Research Division of National Cash Register, that “As far as the section
 6   on toxicology is concerned, it is true that chloracne and liver trouble can result from large
 7   doses.” Id. at JDGFOX00000037; see also State of Washington’s Complaint for
 8   Damages against Monsanto, p. 13, ¶ 54, Case No. 16-2-29591-6, King County Superior
 9   Court (Dec. 8, 2016). Medical Director Kelly did not define the term “large doses.”
10          9.     By the latter half of the 1960s, Monsanto became aware that PCBs were
11   causing widespread contamination of the environment. See Sky Valley Complaint,
12   Exhibits G, H, and L (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
13   ECF No. 1-7, 1-8, 1-13 [E.D. Wash. July 31, 2015]); see also State of Washington’s
14   Complaint for Damages against Monsanto, p. 14, Case No. 16-2-29591-6, King County
15   Superior Court (Dec. 8, 2016).
16          10.    Despite the growing evidence of harm caused to living things by PCB
17   contamination, Monsanto remained steadfast in its production of PCBs. See State of
18   Washington’s Complaint for Damages against Monsanto, p. 19, ¶ 60, Case No. 16-2-
19   29591-6, King County Superior Court (Dec. 8, 2016).
20          11.    In March of 1969, Monsanto employee W.M. Richard wrote a
21   memorandum entitled “AROCLOR WILDLIFE ACCUSATIONS” to Monsanto
22   employee Elmer Wheeler. See Sky Valley Complaint, Exhibit I (from City of Spokane v.
23   Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-9 [E.D. Wash. July 31, 2015]),
24   Bates No. MONS 096509-11. In the memorandum, Richard responded to a 1968 article
25   in Nature criticizing PCBs as being (in Richard’s paraphrasing) “a pollutant… a toxic
26   substance—with no permissible allowable levels… [and] a toxic substance endangering
27   man himself, implying that the [extinction] of the peregrine falcon is a leading indicator
28   of things to come.” Id. at MONS 096509. Richard also responded to a 1969 article in


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 1   Science regarding the Environmental Defense Fund’s legal strategy, which Richard
 2   summarized in part by writing that
 3         These people at EDF are saying we must not put stress on any living thing
           through a change in air or water environment. Eagles, plant life, anything
 4
           which lives or breathes. This group is pushing hard on the extension of the
 5         word harmful. They claim ‘enzyme inducer’ activity is the real threat of
           DDT and PCB’s and are using these arguments to prove that very small
 6         amounts of chlorinated hydrocarbons are ‘harmful.’
 7
 8   Id. (emphasis in original). Richards also explained that Monsanto could take steps to
 9   reduce PCB releases from its own factories, but he cautioned that “It will be still more
10   difficult to control other end uses such as cutting oils, adhesives, plastics, and NCR
11   paper. In these applications, exposure to consumers is greater and the disposal problem
12   becomes complex.” Id. at MONS 096510; see also State of Washington’s Complaint for
13   Damages against Monsanto, pp. 14-15, Case No. 16-2-29591-6, King County Superior
14   Court (Dec. 8, 2016).
15         12.    During this time period, “the coordination of the Division effort has been
16   principally the responsibility W.R. Richard and E.P. Wheeler with support from R.E.
17   Keller and Cumming Paton.” See Sky Valley Complaint, Exhibit M (from City of
18   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-13 [E.D. Wash. July 31,
19   2015]), Bates No. DSW 014623.
20         13.    In September of 1969, Monsanto employee W.R. Richard wrote an
21   interoffice memorandum entitled “DEFENSE OF AROCLOR.” See Sky Valley
22   Complaint, Exhibit J (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
23   ECF No. 1-10 [E.D. Wash. July 31, 2015]), Bates No. DSW 014256-63. The
24   memorandum set out Monsanto’s general policy on defending litigation against the
25   public: “Make the Govt., States and Universities prove their case.” The memorandum
26   acknowledged, however, that Monsanto
27         can’t defend vs. everything. Some animals or fish or insects will be
28         harmed. Aroclor degradation rate will be slow. Tough to defend against.
           Higher chlorination compounds will be worse [than] lower chlorine

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 1         compounds. Therefore we will have to restrict uses and clean-up as much
           as we can, starting immediately.
 2
 3   Id. at DSW 014256 (emphasis added). Based on this, Monsanto knew by the late 1960s
 4   that “some animals or fish or insects will be harmed” in the general environment, where
 5   PCB contamination is low and diffuse—as opposed to PCB contamination in a more
 6   enclosed space such as a classroom, as shown below. The 1969 memorandum also
 7   outlined Monsanto’s plans for challenging scientific studies of the toxicity of PCBs:
 8
 9
10
11
12
13
14
15
16
17   Id. at DSW 014256. The memorandum also outlined Monsanto’s own plans for chronic
18   toxicity studies using animals. Id. at DSW 014262-63; see also State of Washington’s
19   Complaint for Damages against Monsanto, p. 15, ¶ 60, Case No. 16-2-29591-6, King
20   County Superior Court (Dec. 8, 2016).
21         14.    In January of 1970, Elmer Wheeler of Monsanto’s Medical Department
22   circulated laboratory results of its animal studies. The memorandum was entitled “Status
23   of Aroclor Toxicological Studies.” See Sky Valley Complaint, Exhibit K (from City of
24   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-11 [E.D. Wash. July 31,
25   2015]), Bates No. MONS 098480. Wheeler stated, “Our interpretation is that the PCBs
26   are exhibiting a greater degree of toxicity in this chronic study than we had
27   anticipated. Secondly, although there are variations depending on species of animals, the
28   PCBs are about the same as DDT in mammals.” Id. (emphasis added).


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 1         15.    Monsanto expressed a desire to keep profiting from PCBs despite the
 2   research showing PCB toxicity. See Sky Valley Complaint, Exhibit A. In the “PCB
 3   Presentation to Corporate Development Committee,” Monsanto stated that “Do[ing]
 4   nothing was considered unacceptable from a legal, moral, customer, public relations &
 5   company policy viewpoint.” Id. at MONS 058737. But the alternative of stopping PCB
 6   production and promotion, and instead going out of the Aroclor business, “was
 7   considered unacceptable from a Divisional viewpoint… there is too much
 8   customer/market need and selfishly too much Monsanto profit to go out.” Id.
 9         16.    Monsanto formed an internal Aroclor Ad Hoc Committee whose objectives,
10   “agreed to by the Committee,” were to “submit recommendations for action which will:
11   1. Permit continued sales and profits of Aroclors and Terphenyls. 2. Permit continued
12   development of uses and sales. 3. Protect image of Organic Division and of the
13   Corporation.” State of Washington’s Complaint for Damages against Monsanto, pp. 15-
14   16, ¶ 62, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky
15   Valley Complaint, Exhibit L (from City of Spokane v. Monsanto Co., Case 2:15-cv-
16   00201-SMJ, ECF No. 1-12 [E.D. Wash. July 31, 2015]), Bates No. MONS 030483-86
17   (“CONFIDENTIAL MINUTES OF AROCLOR ‘AD HOC’ COMMITTEE”). Monsanto
18   set these business objectives despite knowing that PCBs had been found in the
19   environment, wildlife, and the food chain, as PCBs “may be a global contaminant.” Id. In
20   these confidential minutes, Monsanto recognized the problem of PCB “environmental
21   contamination by customers.” Id. at MONS 030485 (“Our in-plant problems are very
22   small vs. problems of dealing with environmental contamination by customers.”).
23         17.    In October of 1969, Monsanto’s Aroclor “Ad Hoc” Committee issued its
24   confidential report. See Sky Valley Complaint, Exhibit M (from City of Spokane v.
25   Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-13 [E.D. Wash. July 31, 2015]),
26   Bates No. DSW 014612-24. The committee reported environmental PCB contamination
27   causing the killing of marine species and the possible extinction of several species of
28   birds. Id. at DSW 014615. In addition, “the committee believes that there is no possible


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 1   practical course of action that can so effectively police the uses of these products as to
 2   prevent completely some environmental contamination.” Id.                (underscore           and
 3   strikethrough in original). The report outlined a plan to protect Monsanto’s corporate
 4   interests: “There are, however a number of possible actions which must be undertaken in
 5   order to prolong the manufacture, sale, and use of these particular Aroclors as well as to
 6   protect the continued use of other members of the Aroclor series.” Id. (strikethrough and
 7   underscore in original).
 8          18.    The committee offered recommendations, including notifying PCB
 9   “customers of environmental contamination problems.” Id. at DSW 014616. The basis for
10   the recommendation, in part, concerned reports of PCB environmental contamination and
11   Monsanto’s knowledge of the mechanisms of PCB releases:
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27   Id. at DSW 014618.
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 1          19.      Despite the environmental damage caused by its PCB products, Monsanto
 2   was clearly concerned about losing the production of PCBs and the associated “sales of
 3   this very profitable series of compounds”:
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13   Id. at DSW 014624.
14          20.      Therefore, by 1970, the escape of PCBs into surrounding environments and
15   the resulting contamination was not only reasonably foreseeable, but the problem was
16   known to Monsanto. In addition, the escape of Monsanto’s PCBs by PCB customers and
17   users into surrounding environments was not only reasonably foreseeable, but was known
18   to Monsanto. See also State of Washington’s Complaint for Damages against Monsanto,
19   pp. 23-24, ¶ 99, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
20          21.      By 1970, Monsanto also knew that its PCBs exhibited a greater degree of
21   toxicity than Monsanto previously anticipated. Supra at ¶ V.C.14.
22          22.      Despite this knowledge, Monsanto chose not to warn its customers and the
23   public regarding the human health dangers of Monsanto’s PCBs. Any statements made
24   by Monsanto in that regard have been insufficient to convey the actual dangers posed by
25   PCBs. Instead, Monsanto’s efforts were and continue to be focused on protecting its own
26   profits.
27          23.      An interoffice memorandum circulated in February of 1970 that provided
28   talking points for discussions by Monsanto representatives with PCB customers.


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 1   Monsanto informed its PCB representatives that Monsanto “can’t afford to lose one
 2   dollar of business.” To that end, Monsanto stated, “We want to avoid any situation where
 3   a customer wants to return fluid… We would prefer that the customer use up his current
 4   inventory and purchase [new products] when available. He will then top off with the new
 5   fluid and eventually all Aroclor 1254 and Aroclor 1260 will be out of his system. We
 6   don’t want to take fluid back.” See Sky Valley Complaint, Exhibit N (from City of
 7   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-14 [E.D. Wash. July 31,
 8   2015]), at 2 (emphasis in original); see also State of Washington’s Complaint for
 9   Damages against Monsanto, p. 17, ¶ 67, Case No. 16-2-29591-6, King County Superior
10   Court (Dec. 8, 2016).
11         24.    In roughly this same time period, Monsanto advised public officials that
12   Monsanto’s PCBs “are not particularly toxic by oral ingestion or skin absorption” and
13   “infrequent exposure to PCB vapor should not cause ill effects.” See Sky Valley
14   Complaint, Exhibits O and P (from City of Spokane v. Monsanto Co., Case 2:15-cv-
15   00201-SMJ, ECF No. 1-15, 1-16 [E.D. Wash. July 31, 2015]); see also State of
16   Washington’s Complaint for Damages against Monsanto, p. 20, ¶ 76, Case No. 16-2-
17   29591-6, King County Superior Court (Dec. 8, 2016) (“While the scientific community
18   and Monsanto knew that PCBs were toxic and becoming a global contaminant, Monsanto
19   repeatedly mispresented these facts, telling governmental entities the exact opposite—
20   that the compounds were not toxic and that the company would not expect to find PCBs
21   in the environment in a widespread manner.”).
22         25.    Monsanto also offered the message to a member of Congress that Monsanto
23   “cannot conceive how the PCBs can be getting into the environment in a widespread
24   fashion.” See Sky Valley Complaint, Exhibits Q (from City of Spokane v. Monsanto Co.,
25   Case 2:15-cv-00201-SMJ, ECF No. 1-17 [E.D. Wash. July 31, 2015]); see also State of
26   Washington’s Complaint for Damages against Monsanto, p. 21, ¶ 79, Case No. 16-2-
27   29591-6, King County Superior Court (Dec. 8, 2016).
28         26.    Monsanto also represented to another governmental official that “Based on


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 1   available data, manufacturing and use experience, we do not believe the polychlorinated
 2   biphenyls to be seriously toxic.” See Sky Valley Complaint, Exhibit R (from City of
 3   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-18 [E.D. Wash. July 31,
 4   2015]) at 3; see also State of Washington’s Complaint for Damages against Monsanto, p.
 5   21, ¶ 80, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
 6          27.    Clearly, Monsanto’s knowledge of PCB toxicity deepened between the
 7   1930s and the 1970s. Despite its knowledge of PCB toxicity, Monsanto intentionally
 8   produced and promoted PCBs “for use in a wide range of industrial and household goods,
 9   including electrical equipment, paint, sealants, food cookers, furnaces, floor wax,
10   insecticides, lubricants, moisture-proof coatings, papers, asphalt, leather adhesive, and
11   stucco.” City of Seattle v. Monsanto Co., 237 F. Supp. 3d 1096, 1100 (W.D. Wash. 2017).
12          28.    “Though Monsanto was aware of PCBs’ toxicity and propensity to leach, it
13   denied or misrepresented those facts to government investigators. Monsanto continued to
14   manufacture, promote, and profit from its PCBs.” Id. (internal citations omitted) (holding
15   that Seattle’s claims against Monsanto for public nuisance and equitable indemnity are
16   not preempted by Washington’s Product Liability Act (WPLA); Seattle’s common law
17   product liability claims are not preempted by WPLA to the extent they arose on or before
18   1981; Seattle’s claims are not time-barred; Seattle stated a claim for public nuisance,
19   the court rejecting Monsanto’s argument that any intervening acts of third parties
20   cut off proximate causation, because such acts were foreseeable; Seattle lacked
21   standing to bring product liability claims; Seattle stated a claim for negligence; and
22   Seattle failed to allege facts supporting its claim for equitable indemnity).
23          29.    Monsanto intentionally failed to warn customers and the public regarding
24   the toxicity and hazards of its PCB products. See, e.g., Nevada Power Co. v. Monsanto
25   Co., 955 F.2d 1304, 1306-07 (9th Cir. 1992) (“Nevada Power discovered internal
26   documents of the Manufacturers which Nevada Power contends show that the
27   Manufacturer’s understanding of the dangers of PCBs in the 1960s and early 1970s was
28   much more advanced than the general state of knowledge in the scientific community”)


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 1   (holding, in part, that it was a fact question as to whether Nevada Power’s fraud and
 2   failure to warn claims were barred by the Nevada statute of limitations).
 3            30.   Monsanto’s PCBs were not reasonably safe in construction because they
 4   were unsafe—"extremely toxic”—to an extent beyond that which would be contemplated
 5   by an ordinary consumer. The extreme toxicity of Monsanto’s PCBs was a proximate
 6   cause of Plaintiffs’ damages.
 7            31.   Monsanto’s PCBs were not reasonably safe as designed under a balancing
 8   test or under a consumer expectations test, which was a proximate cause of Plaintiffs’
 9   damages.
10            32.   Monsanto’s PCBs were an unavoidably unsafe product, which was a
11   proximate cause of Plaintiffs’ damages.
12            33.   Monsanto’s PCBs were not reasonably safe due to inadequate warnings
13   when manufactured or after manufacture.
14            34.   Any Monsanto warnings to the non-Monsanto parties in this case at the
15   time of manufacture regarding the extreme toxicity of PCBs, were inadequate and a
16   proximate cause of Plaintiffs’ damages.
17            35.   Any Monsanto warnings to the non-Monsanto parties in this case after
18   manufacture—and up to the present day—regarding the extreme toxicity of Monsanto’s
19   PCBs, have been inadequate, which was a proximate cause of Plaintiffs’ damages.
20            36.   Due to their extreme toxicity, Monsanto’s PCBs never had a “useful safe
21   life.”
22            37.   Monsanto had actual knowledge of the defect and the danger of its PCBs,
23   but showed complete indifference or conscious disregard for the safety of others by
24   producing and promoting PCBs anyway.
25       D.         PCB-caulking and PCB-light ballasts cause PCB-contamination.
26            1.    Monsanto manufactured PCBs that were incorporated by Monsanto’s
27   customers as plasticizers in caulking, paints, and sealants. In these forms, Monsanto’s
28   PCBs were used in interior and exterior windows, doors, and masonry joints.


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 1          2.     Even today, caulking with high PCB levels are usually still flexible and
 2   often largely intact.
 3          3.     PCB-caulking emits PCBs, which migrate into the air and nearby materials,
 4   including adjoining wood, cement, and brick; air and dust inside schools; soil near school
 5   buildings, and other materials and furnishing.
 6          4.     The following information comes from a publication of the United States
 7   Environmental Protection Agency (2014, pp. 7-9). Thomas, K. (2014). PCBs in school
 8   buildings: sensible steps to healthier school environments. Washington, DC: U.S. EPA
 9   Office of Research and Development.
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                          PCB Sources – Caulk and Other Sealants

                                          U.S. Production of Aroclors as a plasticizer ingredient
                                               1958 - 4 million lbs.
                                               1969 - 19 million lbs.
                                               1971 – 0 lbs.


                                          PCBs were sometimes added to caulk during construction


                                          Used
                                           U d ffor
                                               Exterior and interior windows and doors
                                               Exterior and interior joints
                                               Window glazing
                                               Other locations/seams (plumbing, casework, etc.)


                                          Caulk with PCBs > 50 parts per million (ppm) is not an
                                           allowed use


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                          PCB Sources – Caulk and Other Sealants

                                          In several northeastern schools:

                                              18% of 427 interior caulk/sealant samples >50 ppm PCBs
                                              6% of interior samples >100,000 ppm (10% by weight)

                                              63% of 73 exterior caulk/sealant samples >50 ppm PCBs
                                              34% of exterior samples >100,000 ppm

                                              Highest level was 440,000 ppm PCBs (44% by weight)


                                          We e have
                                                 a e found
                                                      ou d that  caulk with high
                                                              a cau           g PCB
                                                                                 C levels
                                                                                    e e s iss usually
                                                                                              usua y sstill
                                           flexible and often largely intact


                                          Visual identification of caulk with PCBs is not reliable




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                          PCB Sources – Caulk and Other Sealants

                                          PCBs in caulk/sealants move over time into:
                                               Adjoining wood, cement, brick
                                               Air and dust inside schools
                                               Soil near school buildings
                                                                         g
                                               Other materials/furnishings

                                          Emissions of PCBs into the air can be quite substantial
                                               Emissions can create indoor air levels above
                                                recommended concentrations
                                               As the temperature increases, emissions increase
                                                                    p
                                               Ventilation is an important factor

                                          Although installed 40 – 60 years ago, high PCB levels
                                           remain and emissions will continue far into the future

                                          Other PCB sources, like coatings and paints, will act much
                                           like caulk in releasing PCBs into the environment

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 1          5.     As stated by the EPA (supra, p. 9), PCB-caulking and other sealants in
 2   school buildings can create indoor air levels above recommended concentrations. In
 3   addition, “high PCB levels remain and emissions will continue far into the future.” Id.
 4          6.     Monsanto’s PCBs were also produced and promoted as components of
 5   electrical equipment such as transformers, motor start capacitors, and lighting ballasts.
 6          7.     “Commercial PCB mixtures vary from colorless to dark brown oils, and
 7   from viscous liquids to sticky resinous semisolids. Although PCBs evaporate slowly at
 8   room temperature, the volatility of PCBs increases dramatically with even a small rise in
 9   temperature. Equipment that contains PCBs can overheat and vaporize significant
10   quantities of these compounds, creating an inhalation hazard that can be magnified by
11   poor ventilation” (ATSDR, 2014, p. 25).
12          8.     As stated by the State of Washington, “PCBs easily migrate or volatilize
13   out of their original source material or enclosure and contaminate environmental media
14   such as air, soil, stormwater, and sediment. For example, PCB compounds volatilize out
15   of building materials (such as caulk) and into the surrounding environment. PCBs
16   can also escape from totally enclosed materials (such as light ballasts) and similarly
17   contaminate and damage the environment.” State of Washington’s Complaint for
18   Damages against Monsanto, p. 9, ¶ 37, Case No. 16-2-29591-6, King County Superior
19   Court (Dec. 8, 2016) (emphasis added).
20          9.     As stated by the State of Washington, “PCBs present serious risks to the
21   health of humans… Humans may be exposed to PCBs through ingestion, inhalation, and
22   dermal contact. Individuals may inhale PCBs that are emitted into the air. They may also
23   ingest PCBs that are emitted into air and settle onto surfaces that come into contact with
24   food or drinks. And they may absorb PCBs from physical contact with PCBs or PCB-
25   containing materials.” State of Washington’s Complaint for Damages against Monsanto,
26   p. 9, ¶ 38-39, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
27          10.    PCB light ballasts release PCBs. The preceding information comes from
28   the same EPA publication regarding PCBs in school buildings (EPA, 2014, pp. 10-11).


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                         PCB Sources – Fluorescent Light Ballasts


                                          Fluorescent and high intensity light ballast capacitors
                                               Prior to 1977 - Many (most?) contained PCBs
                                               1977 – 1978 - Some new ballasts contained PCBs
                                               After
                                                Aft 1978       - No
                                                                 N new b
                                                                       ballasts
                                                                         ll t manufactured
                                                                                  f t d w PCB
                                                                                           PCBs


                                          Some PCB-containing ballasts remain in place
                                               In several northeastern schools, 24% - 95% of the light
                                                ballasts likely contained PCBs


                                          Most PCB-containing ballasts have exceeded their expected
                                           lifetimes


                                          Failure and release of PCBs will continue and may increase



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                         PCB Sources – Fluorescent Light Ballasts

                                          PCBs are continuously released into the air from intact,
                                           functioning
                                                     g light
                                                         g ballasts
                                               When lights are off, emissions are low
                                               When lights are on, the ballast heats up, and emissions
                                                increase several-fold
                                                         several fold


                                          PCB ballasts can fail, releasing PCB vapors into the air and
                                           liquid PCBs onto surfaces
                                               Air levels of PCBs can become quite large
                                               Surfaces can be contaminated
                                               Significant impact/costs to remediate


                                          Residues from previously failed ballasts can remain in light
                                           fixtures even if the ballast is replaced
                                               The impact on PCBs in the school environment has not
                                                been determined

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 1   As stated (p. 10), PCB-containing light ballasts were manufactured until the late 1970s.
 2   (“Light ballasts” are components of light fixtures in buildings.) The “failure and release
 3   of PCBs will continue and may increase” in school buildings containing PCB-light
 4   ballasts. Id. This is because “PCBs are continuously released into the air from intact,
 5   functioning light ballasts. When lights are off, emissions are low. When lights are on, the
 6   ballast heats up, and emissions increase several-fold.” Id. at 11.
 7          11.    Failed PCB ballasts cause high levels of PCB contamination. In
 8   addition, “PCB ballasts can fail, releasing PCB vapors into the air and liquid PCBs onto
 9   surfaces.” Id. When that occurs, “Air levels of PCBs can become quite large. Surfaces
10   can be contaminated.” Id.
11          12.    Toxic PCDDs and PCDFs. Also of concern are the extremely toxic
12   chemical byproducts of failing PCB-light ballasts, including dioxins and furans. Failing
13   PCB-ballasts that pyrolyze their PCB contents generate and emit additional toxic
14   chemicals called polychlorinated dibenzodioxins (PCDDs) and polychlorinated
15   dibenzofurans (PCDFs). 50 Fed. Reg. 29,171 (July 17, 1985); Ahrens v. Pacific Gas &
16   Electric Co., 197 Cal.App.3d 1134, 1139, fn 2, 243 Cal.Rptr. 420 (1988).
17          13.    Over time, school building materials become secondary sources of PCB
18   contamination after absorbing PCBs emitting from the primary contamination sources, as
19   illustrated in this diagram and in the following EPA slides (2014, pp. 12, 2):
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                         PCB Sources – Secondary Sources/Sinks


                                          PCBs released from primary sources are absorbed into
                                           other materials in the school environment over time


                                          Following g removal of primary
                                                                        y sources, PCBs in secondary
                                                                                                   y
                                           sources may be released into the school environment and
                                           result in continuing exposures


                                          In some cases, secondary sources may need to be
                                           considered for additional remedial actions following
                                           removal/remediation of primary sources




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                            PCBs - A Complex Problem in Buildings
          Example Scenario                                      Over 100 PCB chemicals
                                                                Multiple
                                                                      p p primary
                                                                                y sources p
                                                                                          possible
                                                                Transport from sources to air, surfaces,
                                                                    dust, soil
                                                                Secondary sources created
                        Primary Sources
                             Caulk                              Exposures through multiple pathways
                             Light Ballast
                                                                Ventilation and temperature effects
                        Secondary Sources/Sinks
                            Surrounding Materials
                            Paint
                            Dust
HVAC
 Unit




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                                                                          Primary PCB   Secondary PCB
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                                                                          Source        Sources and Sinks
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 1         14.    For these and other reasons, school buildings should not contain
 2   Monsanto’s PCBs.
 3         15.    When a reasonably careful manufacturer learns that its product is toxic and
 4   poses public health hazards, the manufacturer stops manufacturing it, recalls its product,
 5   and warns the public about the product.
 6         16.    But Monsanto never recalled PCBs, despite knowing their toxicity and
 7   danger to public health. Instead, Monsanto continued to promote PCBs, particularly in
 8   electrical applications, until PCBs were banned.
 9         17.    Monsanto did not warn users of PCBs, such as the State, the School
10   District, Union High, the Health District, or the Plaintiffs, that Monsanto’s PCBs are
11   extremely toxic and pose a public health hazard.
12         18.    Monsanto provided the public with no warnings, notices, bulletins, or
13   information that PCBs are extremely toxic and pose a public health hazard. Any
14   information provided by Monsanto during or after manufacture has been inadequate.
15         19.    Monsanto’s PCBs have contaminated school buildings in Washington,
16   including the school buildings in this case, causing harm to occupants of the buildings,
17   including the Plaintiffs. As shown above, this was not only reasonably foreseeable, it was
18   actually known to Monsanto that such harm would come to third parties such as the
19   Plaintiffs. Accordingly, the Plaintiffs seek damages against Monsanto.
20         20.    It was also reasonably foreseeable, based on Monsanto’s history of
21   experience with PCB customers and users, that some inspectors, owners, operators,
22   providers, or maintainers of buildings would engage in negligent conduct that causes
23   harm to third parties by exposing them to Monsanto’s PCBs.
24         21.    Unfortunately, Monsanto’s PCBs continue to contaminate school buildings
25   built before 1980, including the school buildings in this case. As shown above, this is
26   because Monsanto intentionally produced and promoted PCBs in a variety of
27   construction applications. As a result of Monsanto’s conduct, it was reasonably
28   foreseeable that Monsanto’s PCBs would be incorporated in buildings, including the


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 1   school buildings in this case, and would contaminate classrooms used by people,
 2   including the Plaintiffs, causing them damages. Monsanto’s PCB contamination of Sky
 3   Valley Education Center was a legal cause of injury to the Plaintiffs.
 4          22.    As shown in the following EPA slide (2014, p. 16), “Occupants in schools
 5   with interior PCB sources will be exposed to PCBs in the indoor air, dust, and on surfaces
 6   through their normal activities.” For the Plaintiffs and others in such school buildings,
 7   “Exposures will occur through inhalation, ingestion, and dermal contact.”
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28   The full EPA slide appears on the following page:


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                            Exposures to PCBs in the School Environment

                                                   Occupants in schools with interior PCB sources will be
                                                    exposed to PCBs in the indoor air, dust, and on surfaces
                                                    th
                                                    through
                                                          h th
                                                            their
                                                               i normall activities
                                                                           ti iti


                                                   In school buildings with exterior PCB sources, exposures
                                                    may occur through contact with contaminated soil


                                                   Exposures will occur through inhalation, ingestion, and
                                                    dermal contact




Figure from 2009 NIEHS L. Birnbaum presentation

        Office of Research and Development                                                                              16
        National Exposure Research Laboratory
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 1            23.   As shown in the history below, the Sky Valley Education Center buildings
 2   were contaminated with Monsanto’s PCBs. This fact was publicly revealed in 2016
 3   following environmental testing done in response to severely sickened and diseased
 4   teachers and over one hundred Sky Valley individuals reporting to the Snohomish Health
 5   District illnesses related to the school buildings. The Defendants’ wrongdoing led to the
 6   PCB contamination and caused PCB exposure in the Plaintiffs, causing them damages.
 7            24.   “Monsanto’s PCB contamination constitutes injury to the State’s public
 8   natural resources and to other property and waters of the State [of Washington], for
 9   which the State seeks damages, including on behalf of itself and on behalf of its residents
10   in its parens patriae capacity.” State of Washington’s Complaint for Damages against
11   Monsanto, p. 5, ¶ 16, Case No. 16-2-29591-6, King County Superior Court (Dec. 8,
12   2016).
13      E.          The school buildings became toxic, injuring children and adults.
14            1.    History of the school buildings. Starting in the 1950s, the school campus
15   located in Monroe at 351 Short Columbia Street, near Hill, Kelsey, and Sams Streets, was
16   known as Monroe Union High School or Monroe High School.
17            2.    Today, the tax accessor records identify the property as belonging to Union
18   High School District 402:
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27            3.    The following page is a true and correct copy of a page of this government
28   record, which is also attached as Exhibit S:


                                                                        FRIEDMAN | RUBIN PLLP
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 1         4.     Other pages in the tax accessor’s file for this property reference Union High
 2   School District 402 as well as “School District 103,” including this excerpt dated April
 3   13, 1990:
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26   A “SITE SKETCH” of the campus shows school buildings built in 1950, 1963, 1965, and
27   1968. The site sketch is shown on the following page. The configuration of the school
28   buildings at the campus appears the same today:


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 1         5.        This school campus is located in Monroe, Washington, within the
 2   inspection jurisdiction of the Snohomish Health District.
 3         6.        According to its own statements, “[t]he Snohomish Health District inspects
 4   all schools (public and private) in order to verify compliance with minimal environmental
 5   standards for education facilities, as per WAC 246-366-040.” Health District “inspectors
 6   may check lighting, ventilation, and safety equipment.” The enforcement requirements
 7   are stated in Health District letters and Washington law. RCW 43.20.050(5).
 8         7.        The facts of the following inspections—and the lack of annual inspections
 9   in recent decades—is based on Snohomish Health District’s responses to Public Records
10   Act requests.
11         8.        From the late 1950s through 1990, the Snohomish Health District
12   conducted inspections of these school buildings on a roughly annual basis. During this
13   time, inspectors regularly cited Monroe School District for violating requirements for
14   minimum lighting intensities for these school buildings. Despite these citations,
15   apparently no penalties or enforcement actions were taken.
16         9.        For example, a Snohomish Health District school inspection report, dated
17   1973, recorded code violations for ventilation, lighting, and safety for these school
18   buildings. The inspector wrote, “Lighting is substandard in a number of places in this
19   building as has been reported every year since the school was built.” Oct. 15, 1973
20   School Inspection report by Snohomish Health District, to Monroe #103, Monroe High
21   School (Bates stamped 000054) (emphasis in original).
22         10.       Lighting continued to be substandard in subsequent decades. This is
23   significant because, years later, the same substandard lighting fixtures in these school
24   buildings exposed the Plaintiffs to PCBs and other toxic chemicals.
25         11.       Around 1977, the usage of the school buildings changed from the High
26   School program to the Monroe Junior High.
27         12.       Although Monroe Public Schools corrected some safety standard violations
28   over the years, other safety standard violations in the school buildings persisted. For


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 1   example, a letter dated 1980 from the Health District to Monroe School District reported
 2   complaints related to ventilation, sanitation and environmental conditions, and noted that,
 3   “with little exception, these problems have been noted on our inspection reports for the
 4   past several years. Because of the possible health and safety impact upon your students
 5   and staff, we feel it is important that substantial changes be made.” June 13, 1980
 6   Snohomish Health District letter to Monroe School District (Bates stamped 000080-81).
 7          13.    The 1981 Health District inspection report for these school buildings cited
 8   deficiencies in areas related to ventilation and lighting, stating “lighting is poor in
 9   classrooms and restrooms in the pods [classrooms].” 1981 Health District inspection
10   report to Monroe School District (Bates stamped 000105-08).
11          14.    The 1982, 1984, and 1985 inspection reports noted similar deficiencies. For
12   example, the 1984 report stated, “As we have pointed out for several years now, pod
13   classroom lighting is poor.” 1984 Health District inspection report to Monroe School
14   District (Bates stamped 000118-24).
15          15.    Around 1987, the usage of the school buildings changed from being the
16   Monroe Junior High to the Monroe Middle School.
17          16.    In the 1990s, the Health District only conducted safety inspections in 1990
18   and 1996. (In 1999, there was a complaint investigation report—not an inspection
19   report—regarding poor kitchen ventilation.) There were no Health District inspections of
20   the school buildings in 1991, 1992, 1993, 1994, or 1995. In the 1996 inspection report,
21   the Health District again cited Monroe School District for ventilation and lighting code
22   violations in these school buildings.
23          17.    The Health District did not conduct a regular inspection of these school
24   buildings in 1997, 1998, 1999, 2000, 2001, 2002, 2003, or 2004.
25          18.    By the year 2000, Monroe Public Schools had actual knowledge that its
26   school buildings built before 1980 may contain PCB-light ballasts. The Monroe School
27   District—through a policy apparently promulgated by a State agency—established a
28   “LIGHTING AND BALLAST DISPOSAL PROCEDURES” policy. It required


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 1   inspection of all light ballasts during the summer of 2000. See ¶ 3. PCB-light ballasts
 2   must then be marked for identification. Id. Then “All ballasts that are assumed to
 3   contain PCBs must be disposed of as hazardous waste.” Id. at ¶ 4 (emphasis added).
 4         19.    The State, the Health District, Monroe School District, and Union High all
 5   should have ensured the removal and remediation of PCBs and other toxic chemicals
 6   from the school buildings. The public entity Defendants were negligent in not doing so,
 7   which was a proximate cause of Plaintiffs’ damages.
 8         20.    The Health District should have enforced the minimum environmental
 9   safety standards relating to lighting intensities. If the Health District had done so since
10   1980, the new light fixtures would have been PCB-free. The Health District’s lack of
11   action, particularly in light of its actual knowledge of decades of safety code violations,
12   was negligent and a proximate cause of Plaintiffs’ damages.
13          21.    The 2003 “Health and Safety Guide” by the State Department of Health and
14   Superintendent of Public Instruction specifically recognized the existence of PCBs in
15   school buildings:
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24   Office of Superintendent of Public Instruction and Department of Health. OSPI-DOH
25   School Health and Safety Guide, January 2003, p. 26.
26          22.    The State’s failure to require the removal of PCBs from the school
27   buildings was negligent and a proximate cause of Plaintiffs’ damages.
28          23.    The negligence of the public entity Defendants allowed PCBs to remain in


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 1   the school buildings, which was a proximate cause of PCBs remaining in the old Monroe
 2   Middle School, later known as Sky Valley Education Center, which contaminated the
 3   indoor air and subsequently poisoned children and adults, including the Plaintiffs.
 4          24.    It may be that the State, its departments, its employees, or other public
 5   entity Defendants, were not fully aware of the dangers of PCBs due to a lack of warnings
 6   from Monsanto. Monsanto’s statements regarding PCBs have historically and
 7   consistently minimized the risk of PCBs to human health. Such statements may have
 8   deceived, misled, or lulled the State or other public entity Defendants into inaction
 9   regarding the removal of PCBs from school buildings.
10          25.    The 2003 State policy also required minimum light intensities in school
11   buildings. Here is excerpt from that policy requiring minimum lighting:
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25          26.    As stated above, if these minimum lighting requirements had been enforced
26   by the Health District, Union High, Monroe Public Schools, or the State at any time since
27   1980, Monroe School District would have uninstalled the PCB-light ballasts at the school
28   buildings and installed code compliant, non-PCB light ballasts. This would have


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 1   prevented or minimized much of the PCB contamination and subsequent PCB poisoning
 2   of the Plaintiffs. Because the public entity Defendants did not do this, however, the
 3   Plaintiffs were exposed to PCB contamination. The public entity Defendants’ negligence
 4   was a proximate cause of Plaintiffs’ damages.
 5         27.    The State and other public entity Defendants knew or should have known
 6   that the existence of PCBs in school buildings poses a danger to children and adults. The
 7   potential ignorance of the State, though negligent, is reflected in the absence of PCB
 8   discussion in the State’s School Indoor Air Quality Best Management Practices Manual
 9   (Nov. 2003), available at   https://www.doh.wa.gov/CommunityandEnvironment/Schools/EnvironmentalHealth     (last
10   visited November 15, 2017). Presumably, adequate warnings or instructions by Monsanto
11   should have rectified or ameliorated the negligence of the public entity Defendants and
12   prevented some or all of Plaintiffs’ damages.
13         28.    In the 2000s, the Health District only conducted safety inspections of these
14   school buildings in 2005, 2007, and 2009.
15         29.    In the 2005 inspection letter and report, the Health District stated, as usual,
16   that its “inspectors may check lighting, ventilation, and safety equipment” to “verify
17   compliance with minimal environmental standards for educational facilities, as per WAC
18   246-366-040.” The Health District cited Monroe School District for ventilation and
19   lighting standard violations, but again failed to enforce compliance. 2005 Health District
20   letter and inspection report to Monroe School District (Bates stamped 000146-51).
21         30.    For CO2 concentration limits, ASHRAE Standard 62-2001 recommends no
22   more than 700 ppm above the outdoor concentration as the upper limit for occupied
23   classrooms, which is usually around 1,000 ppm. Carbon dioxide is an asphyxiate that,
24   when measured, serves as a proxy for the quality of ventilation in occupied classrooms.
25         31.    The 2005 inspection report was the first Health District report to measure
26   and record carbon dioxide air quality violations at the school buildings. The report
27   recorded 25 readings in 25 separate classrooms at these school buildings that exceeded
28   1,000 ppm of carbon dioxide. Six readings were above 1,500 ppm. Four readings were


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 1   above 2,000 ppm. Two readings were above 3,000 ppm. Id. at 149.
 2          32.    As in past years, however, the Health District did not enforce compliance
 3   with the minimal environmental standards for the school buildings.
 4          33.    In 2005, the State published its familiarity with poor indoor air quality and
 5   how it affects children. The State compared sensitive or vulnerable individuals like
 6   children to “canaries in the coal mine.” The introduction is reprinted here:
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28   Wash. State Department of Health, Office of Environmental Health & Safety.


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 1   Responding to Indoor Air Quality Concerns in our Schools. June 2005, p. 5, available at
 2   https://www.doh.wa.gov/CommunityandEnvironment/Schools/EnvironmentalHealth (last
 3   visited November 15, 2017).
 4         34.    Despite this knowledge, the State did not supervise the removal of toxic
 5   and hazardous substances such as PCBs from the school buildings. This was negligent
 6   and a proximate cause of Plaintiffs’ damages.
 7         35.    In 2006, the Health District did not conduct an inspection of these school
 8   buildings.
 9         36.    In 2007, the Health District inspected the school buildings and noted “there
10   were several items noted during this safety inspection that appear not to have been
11   addressed since the last inspection conducted in 2005.” 2007 Health District letter and
12   inspection report to Monroe Public Schools (Bates stamped 000153-59) (emphasis
13   added). This included ventilation violations as well as more than a dozen CO2
14   measurements in different classrooms that exceeded 1,000 ppm, with five measurements
15   that exceeded 1,500 ppm. Id. at 154, 156-57. The Health District also cited Monroe
16   School District for violating minimum light intensity standards in the Music rooms, the
17   Library, and a half-dozen classrooms. Id. at 153, 155.
18         37.    In 2007, the Health District did not enforce compliance with the minimal
19   environmental standards for the school buildings.
20         38.    In 2007, the School District received its State Study and Survey by an
21   architecture firm, Hutteball & Oremus, regarding the District’s public educational
22   facilities. The study reported to the School District that the school buildings, then known
23   as the Monroe Middle School, have safety issues. The Monroe Middle School “is
24   deteriorating at a rate which exceeds that of normal maintenance efforts and funding.”
25   2007 Hutteball & Oremus State Study and Survey for Monroe School District, p. 219.
26   “The level of deterioration at this facility is the most severe of any school within the
27   District.” Id. at Executive Summary. The study recommended demolishing the existing
28   classrooms and library. Id. at 19. “None of the existing HVAC equipment is in


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 1   compliance with current codes.” Id. at 69. The study reported that the lighting was
 2   deficient, and recommended that the lighting system be upgraded and replaced
 3   throughout the facility. Id. at 70, 18. Hazardous material existed in the school buildings:
 4   “The campus is reported to contain friable asbestos containing material such as pipe
 5   insulation and non-friable vinyl asbestos floor tile. The Classroom/Library building
 6   contains insulated asbestos panels at the window areas.” Id. at 11. The study did not
 7   mention PCBs, but recommended a hazardous material survey by an independent
 8   consultant in conjunction with planning of future modernization, additions, or
 9   replacements. Id. The study stated that “the Monroe Middle School is in need of
10   immediate renovation and upgrades… Existing life safety issues, energy inefficiencies,
11   and code issues will continue to exist until significant action is taken to correct these
12   deficiencies.” Id. at Summary, 25 (emphasis added).
13            39.     The Monroe School District did not follow these recommendations in 2007,
14   but instead continued to use the school buildings in their condition for several more
15   years.
16            40.     In 2008, the Health District did not conduct an inspection of these school
17   buildings.
18            41.     In 2009, the Health District inspected the school buildings and noted “there
19   were several items noted during this safety inspection that appear not to have been
20   addressed since the last inspection conducted in 2007.” 2009 Health District letter and
21   inspection report to Monroe School District (Bates stamped 000254-62) (emphasis
22   added). The repeated violations included safety standards relating to ventilation, lighting,
23   and air quality, including roughly a dozen rooms where CO2 levels exceeded 1,000 ppm.
24   Id. at 254-61.
25            42.     Again, the Health District did not enforce compliance with the minimal
26   environmental safety requirements for these school buildings.
27            43.     In 2010, the Health District did not conduct an inspection of these school
28   buildings. The Health District also did not enforce compliance.


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 1          44.    In May of 2011, the Health District inspected the school buildings and
 2   noted “there were several items noted during this safety inspection that appear not to
 3   have been addressed since the last inspection conducted in 2009.” 2011 Health District
 4   letter and inspection report to Monroe School District (Bates stamped 000270) (emphasis
 5   added). Repeated violations included safety standards relating to ventilation and lighting.
 6   Id. at 266-70. This report did not measure and record CO2 levels.
 7          45.    But the Health District did not enforce compliance with the minimal
 8   environmental safety requirements for these school buildings.
 9          46.    If the Health District or the State had enforced compliance with minimum
10   lighting safety requirements in 2011, then Monroe School District (or Union High) would
11   have uninstalled the toxic PCB-light ballasts at the school buildings and installed code
12   compliant, non-PCB light ballasts. This would have reduced the PCB contamination and
13   subsequent PCB poisoning of the Plaintiffs. But the Health District and the State did not
14   enforce compliance. That was negligent and a proximate cause of Plaintiffs’ damages.
15          47.    Following the spring of 2011, the Monroe School District removed the
16   middle school program from the school buildings.
17          48.    The School District chose to move an education program called Sky Valley
18   Education Center into the school buildings.
19          49.    Sky Valley Education Center was and is an alternative kindergarten through
20   twelfth grade education program. Often, parents spent time with their children in the
21   classrooms. Many mothers were also pregnant or had infants with them at school.
22          50.    The program was formerly situated in a warehouse space in Monroe. The
23   use of the warehouse space cost the Monroe School District several hundred thousand
24   dollars per year in rent. To avoid paying that money, the School District chose to break
25   its lease with the warehouse landlord, sue the landlord, and move the Sky Valley program
26   into the old Monroe Middle School. The litigation led to a 2013 settlement in which the
27   School District paid $900,000 to parties related to the interests of the warehouse landlord.
28          51.    In the summer of 2011, the Monroe School District did not conduct a


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 1   hazardous material survey of the old Monroe Middle School. The School District also
 2   failed to conduct any hazardous material abatement or renovation work of the school
 3   buildings.
 4          52.    Instead, the Monroe School District, or the administrators for the Sky
 5   Valley Education Program, invited Sky Valley program teachers, parents, and children to
 6   volunteer to clean the old Monroe Middle School. As a result, Sky Valley program
 7   teachers, parents, and children worked during the summer to remove some old carpets,
 8   paint some walls, and clean classrooms. This was the first exposure that these individuals,
 9   including some of the Plaintiffs, had to the toxic contamination at these school buildings.
10          53.    The Monroe School District administered the Sky Valley Education
11   program at this location, starting in September of 2011.
12          54.    In the 2010s, the Health District only conducted safety inspections of these
13   school buildings in 2011, 2013, and 2016.
14          55.    In December of 2011, the Health District inspected Sky Valley Education
15   Center, now occupying the site of the old Monroe Middle School buildings. As in past
16   years, the Health District cited the Monroe School District for violations of primary and
17   secondary school safety requirements, WAC 246-366. Jan. 2011 Health District letter and
18   report to the Monroe School District (Bates stamped 000273-79). The Health District
19   cited the School District for violations of ventilation and lighting intensity requirements.
20          56.    In 2011, the Health District did not enforce compliance with minimal
21   environmental safety requirements for these school buildings.
22          57.    In 2012, the Health District did not conduct an inspection of these school
23   buildings. The Health District also did not enforce compliance.
24          58.    In 2013, the Health District inspected Sky Valley Education Center. As in
25   past years, the Health District cited the School District for violations of primary and
26   secondary school safety requirements, WAC 246-366, including lighting intensity and
27   ventilation requirements. 2013 Health District letter and report to the School District
28   (Bates stamped 000283-87). The carbon dioxide levels in four classrooms was measured


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 1   and exceeded 1,000 ppm. Id. at 283.
 2         59.    In 2013, the Health District did not enforce compliance with minimal
 3   environmental requirements for these school buildings.
 4         60.    In 2014, the Health District did not conduct an inspection of these school
 5   buildings. The Health District also did not enforce compliance.
 6         61.    From 2011 through 2016, the school buildings continued to have PCB-
 7   caulking and PCB-light ballasts, some of which failed over time and leaked PCBs and
 8   pyrolyzed PCB byproducts such as dioxins and furans into the indoor air of the school
 9   buildings.
10         62.    It is unknown exactly how many PCB-light ballasts failed, fumed, leaked,
11   or smoked PCBs or PCB byproducts into the Sky Valley classrooms between 2011 and
12   2016. According to a 2014 School District memorandum, however, by that time it
13   appears that more than 100 light ballasts had failed, resulting in “Fixtures requiring
14   maintenance cleaning.” See MSDG_014266.
15         63.    From 2011 through 2016, the Monroe School District does not appear to
16   have conducted any environmental testing regarding the various levels of PCBs, dioxins,
17   or furans in the school buildings during PCB-light ballast failure events or in their
18   immediate aftermath.
19         64.    Students and teachers witnessed different PCB-light ballast failures in
20   different classrooms. The failing PCB-light ballasts burned, fumed, or smoked vapors
21   into the classrooms. Some failing PCB-light ballasts also dripped PCB fluids onto the
22   desks and carpets. The Monroe School District’s solution for one such PCB leak was to
23   put a bucket under the leaking ballast, which collected a puddle of PCB fluid. This open
24   collection of PCB fluids was done while children used the classroom. The bucket was left
25   in place for several days. The PCB-stained carpet was left in place even longer.
26         65.    One Sky Valley teacher recorded some PCB-light ballast failures and
27   probable failures during this time period. For example, in April 2014 a “ballast in Nona’s
28   room caught fire and we could smell the smoke in rooms A, C and D and the hallways.”


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 1   Another ballast failed and created “a bad smell” the following week. Some teachers
 2   began researching the issue, inspecting overhead lights in the rooms, and reporting their
 3   concerns to the Monroe School District. Here is one photo (taken by a teacher during that
 4   time) of stained light fixture housing, along with the teacher’s notes:
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22          66.    In response to other light ballast failures, the Monroe School District
23   maintenance department staff often put the stained light fixture housing materials (along
24   with cleaning rags) in hallways or leaning against classroom walls. Some such housing
25   materials were left in common areas for weeks.
26          67.    In 2014, at least three Sky Valley teachers submitted indoor air quality
27   reports for classrooms, reporting symptoms of acute headaches, sinus issues, burning
28   eyes, “pressure” in the head,” sneezing, and neck pain. Nov. 14, 2014 SVEC Preliminary


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 1   Indoor Air Quality Assessment, East Pod, by EHSI, p. 2.
 2          68.    The Monroe School District knew that the Sky Valley Education Center
 3   classrooms and common areas contained PCB-light ballasts. The Monroe School District
 4   also knew that the PCB-ballasts would fail and make “a very nasty smell filling a
 5   classroom.” The Sky Valley principal acknowledged this to the Sky Valley staff,
 6   although the principal assured staff that the building is “safe.” Here is part of the Sky
 7   Valley principal’s message to the staff in April of 2014:
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23          69.    The Sky Valley principal also told parents that they should not complain
24   about the condition of the school buildings or else they could lose their program. Instead,
25   the principal said that parents should be grateful to have the campus.
26          70.    In response to complaints in 2014 by some teachers, however, the Monroe
27   School District maintenance department conducted some inspections and drew some
28   maps of the school building ceilings and light fixtures. Some maps are attached to this


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 1   complaint as Exhibit T. Different areas of the school buildings are depicted as showing
 2   PCB-light ballast leaks. Here is a portion of one of the maps (a later draft version of
 3   MSDG_014453), looking up at the ceiling of the south pod:
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27         71.    In October of 2014, the Monroe School District director of facilities and
28   operations recorded carbon dioxide levels of 1,700 ppm in one classroom. EHSI 2014


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 1   Report. In November of 2014, roughly ten measurements of classroom areas showed
 2   CO2 above 1,000 ppm. Id. at 7. An independent contractor, EHS-International, Inc.,
 3   concluded that “there is not a mold problem in the classrooms assessed,” and stated that
 4   “the reported symptoms which include headaches, sinus issues and sneezing are more
 5   likely related to under-ventilation of the spaces as indicated by indoor carbon dioxide
 6   concentrations that exceed 1,000 parts per million (ppm) during classroom sessions.” Id.
 7   at 1. Although “carbon dioxide is considered a surrogate for other airborne
 8   contaminants,” neither the School District nor EHSI appear to have measured the
 9   concentrations of PCBs or other toxins in the classrooms at this time. Id. at 12.
10          72.    By 2014, if not earlier, the State (through its Department of Health) had
11   actual knowledge of PCB-light ballast failures and PCB contamination at the Sky Valley
12   school buildings. The State also knew that even apparently intact and non-leaking PCB-
13   light ballasts can release PCBs into the air. (See below.) Despite this knowledge, the
14   State took no action to prevent toxic exposure and protect the children and adults who
15   used those school buildings.
16          73.    In response to one student’s complaints of headaches, the Health District
17   conducted a field investigation and found that classroom “airflow was low (CO2 high).”
18   Jan. 2015 Health District Field Investigation Report (Bates No. 000289).
19          74.    Apart from that field investigation, the Health District conducted no
20   regular, comprehensive inspection of the school buildings in 2015.
21          75.    Despite the Health District’s lack of inspections in the fall of 2015, the
22   Health District had actual knowledge that Sky Valley teachers reported being sickened by
23   the school buildings.
24          76.    In the fall of 2015, one Sky Valley teacher was taken away from the school
25   buildings by ambulance due to neurological symptoms. She later resigned due to illnesses
26   she attributed to the school buildings. The substitute teacher who took her place began
27   having neurological symptoms in the weeks that followed, including a seizure, until he
28   also resigned within three months of assuming the post. Many other teachers developed


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 1   diseases like thyroid disorders, Hashimoto’s Disease, and cancers. Roughly a dozen, if
 2   not more, teachers resigned from working in these school buildings. Later, roughly a
 3   dozen teachers also filed a union grievance against the Monroe School District for the
 4   toxic contamination in the school buildings. Children and parents in these classrooms
 5   also developed concerning symptoms and diseases, as outlined below.
 6           77.   Because the cafeteria “gathering area” was too small to accommodate
 7   everyone for mealtimes, children and adults regularly ate lunches and snacks in their
 8   classrooms.
 9           78.   By the end of 2015, if not earlier, the Health District had actual knowledge
10   that the school buildings contained PCB spills and PCB-containing materials.
11           79.   Despite this knowledge, and upon request by the School District, in 2015
12   the Health District canceled the regular inspection of the school buildings. The Health
13   District canceled the inspection scheduled for September of 2015, and instead
14   rescheduled it to December of 2015. Upon request by the School District, however, the
15   Health District also canceled the inspection scheduled for December of 2015. The Health
16   District delayed the inspection until January of 2016.
17           80.   As in 2014 and previous years, the Health District did not enforce
18   compliance with the minimum environmental safety requirements for these buildings in
19   2015.
20           81.   During 2015 and 2016, the Health District received and compiled
21   complaints about illnesses associated with the buildings.
22           82.   But Health District staff told complaining Sky Valley families and teachers
23   that the Health District would not take any enforcement action against the School District
24   unless eventually many people became sick.
25           83.   Between March of 2013 and January of 2016, the Health District conducted
26   no regular inspection and issued no regular inspection report to the Monroe School
27   District regarding these school buildings.
28           84.   In December of 2015 and January of 2016, the Monroe School District


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 1   contracted with environmental engineers to conduct indoor air quality samples, which
 2   were then analyzed in a laboratory for PCB content. Some air samples were taken while
 3   classes were in session. Apparently unbeknownst to the environmental engineers, this air
 4   quality sampling of indoor classroom air was done with exterior windows and doors wide
 5   open, rendering the results invalid. During the testing, teachers and students wore their
 6   winter coats in the classrooms. Other air samples were apparently taken over the holiday
 7   break when classroom air temperatures were low. One State (Department of Health)
 8   official emailed other officials, questioning the validity of these results:
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13   See Snohomish Health District Response to Public Record Requests, Bates No. 000379.
14          85.    By December of 2015, the Health District and the State Department of
15   Health received reports that “multiple teachers have adverse health issues including
16   dizziness, nausea and headaches,” and that the school buildings contained both live and
17   failed PCB light ballasts, according to a timeline created by Health District investigator
18   Amanda Zych:
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28   See Snohomish Health District Response to Public Record Requests, Bates No. 000468.


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 1          86.    By this time, if not earlier, the Health District was aware of reports of
 2   sickened children (“endocrine or hormonal issues”) in addition to the “multiple teachers
 3   with adverse health issues,” according to inspector Zych’s chronology:
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 8   See Snohomish Health District Response to Public Record Requests, Bates No. 000467.
 9          87.    Meanwhile, the Health District received report of multiple teachers who
10   were “out on medical leave”:
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14   Id.
15          88.    Despite this knowledge, no public entity Defendant conducted a health
16   impact assessment on the Sky Valley population. Instead, the public entity Defendants
17   kept the school buildings open and in use.
18          89.    In January of 2016, the Health District conducted an inspection and issued
19   a report to the Monroe School District. As in previous years, the Health District cited the
20   School District for numerous violations of WAC 246-366, including roughly twenty
21   violations of minimum lighting intensity safety requirements as well as violations of
22   ventilation standards.
23          90.    The Health District report to the School District did not mention PCBs,
24   PCB spills, or the sicknesses of Sky Valley teachers, parents, and children.
25          91.    Meanwhile, the public entity Defendants learned that, in addition to the
26   PCB contamination, the school buildings were contaminated with metals (including lead)
27   in the school drinking water, radon in the indoor air, disturbed asbestos fibers, and molds,
28   including black mold.


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 1          92.    By March, Health District inspector Zych noted a report that people had
 2   been ill from the school buildings for years, back when the campus was the Monroe
 3   Middle School. Separately, the Everett Herald newspaper published the fact that the
 4   School District “received eight complaints about illnesses potentially linked to air quality
 5   from 2001 to 2015.” See Snohomish Health District Response to Public Record Requests
 6   at Bates No. 000465. The March complainant to the Health District reported that “70
 7   people are known to be ill from Sky Valley. More don’t want to be added to the list for
 8   fear of repercussions… People are very scared to report symptoms and join group.” Id. at
 9   Bates No. 000475. This number grew in the coming months.
10          93.    A Monroe School District administrator, John Mannix, dismissed these
11   parental and teacher concerns at a community meeting, stating that “If only 10% of the
12   population ever reacted to the environment, that would be normal.” See Snohomish
13   Health District Response to Public Record Requests, Bates No. 000474. Mannix also
14   reportedly stated that the reported illnesses could not be caused by the disturbed asbestos
15   fibers in the school buildings, because lung diseases caused by asbestos fiber exposure do
16   not appear until decades after exposure.
17          94.    Meanwhile, Health District inspector Zych reported to her colleagues
18   regarding a dozen known cases of Sky Valley children experiencing “precocious
19   puberty,” which is a pathological early-onset of puberty caused by hormonal or endocrine
20   disruptions. Id. at Bates No. 000585.
21          95.    By April, Health District inspector Zych updated her chronology to reflect
22   additional information, including notes on an environmental report on the buildings:
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27   Id. at 000592.
28          96.    Health District inspector Zych created a spreadsheet of some symptoms and


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 1   diseases of 63 Sky Valley complainants who had come forward to report adverse medical
 2   affects. The Health District spreadsheet is attached as Exhibit U (Bates No. 000593-96).
 3          97.    Despite this knowledge, the public entity Defendants still kept the school
 4   buildings open and in use.
 5          98.    The Monroe School District’s environmental contractors created a map
 6   entitled “PCB Light Fixture Cleaning,” in which red dots showed the light fixtures
 7   throughout the school buildings. It is attached as Exhibit V along with a map showing
 8   School District remediation activities in the spring of 2016.
 9          99.    The school building maps show the room names and the rooms’ PCB light
10   fixtures—the red dots—that needed cleaning. Here was the Music Room and its red dots:
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15          100.   Here was the Gathering Area, where children and adults ate and socialized:

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 1          101.   Here was Building 2, Annex, which housed classrooms A, B, C, D, and F,
 2   marked with the red dots in the classrooms, along with Building 1, the Office:
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13          102.   Here were the numerous PCB light fixtures that needed cleaning in
14   Building 5, where the Library and the pod classrooms 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12,
15   13, 14, 15, 16, 17, 18, 19, and 20 were located. Note the frequency of red dots:
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 1          103.   By the end of April of 2016, 81 individuals had come forward to report to
 2   Health District inspector Zych regarding their diseases and symptoms they associated
 3   with Sky Valley Education Center:
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19   See Snohomish Health District Response to Public Record Requests, Bates No. 000633.
20          104.   The Health District sent at least two letters in June to the School District
21   regarding elevated PCB levels, the closure of some classrooms, and required summertime
22   remediation of the buildings. See Exhibits W1 and W2. The Health District letters cited
23   WAC 246-366-140, stating “the existence of unsafe conditions which present a potential
24   hazard to occupants of the school are in violation of these regulations.” Id. By the end of
25   June, the Health District was aware of “over 100 parents, teachers and children [who]
26   have reported illness that they associate with the building.” Id. at W2.
27          105.   Apart from a closed classroom or two, Sky Valley Education Center
28   remained open through June of 2016.


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 1         106.   Another name for PCB-light ballasts is “T-12 lights.” The Monroe School
 2   District made a map of affected classrooms at the Sky Valley campus:
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21   See Monroe School District’s Response to Public Records Requests, Bates No.
22   MSDG_014499.
23         107.   Before the 2016 school year was over, the Monroe School District had
24   disposed of at least 1,648 pounds of PCB-light ballasts:
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28   See MSDG_014240-41 (hazardous waste disposal manifest).


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 1             108.   Around this same time, the Monroe School District appeared to have
 2   possessed a PowerPoint regarding the dangers of PCB-light ballasts. Here are two of the
 3   slides:
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22   See MSDG_014128, 014135. As shown earlier in this Complaint, the list of these adverse
23   health effects due to PCB exposure is not complete.
24             109.   The Monroe School District’s environmental consultants conducted a litany
25   of air, wipe, and caulking sample tests for PCBs between January and June of 2016.
26   Results varied at different locations and different times within the school buildings, with
27   some results as “none detected,” other results characterized as being “low” or “safe” by
28   the public entity Defendants, and with other results recognized as being “high.” Many


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 1   wipe samples appear to have been taken after deep cleaning. Despite the cleaning efforts,
 2   PCB test results in May of 2016 were among the more elevated levels of PCBs detected.
 3          110.   By the spring of 2016, some families had unenrolled from Sky Valley due
 4   to the adverse medical effects that they associated with the school buildings. Other
 5   families stayed enrolled until June of 2016, having been either unaware of the reports and
 6   tests of environmental contamination, or having been assured by the Monroe School
 7   District that the school buildings were safe.
 8          111.   After some remediation in the summer of 2016, the Monroe School District
 9   resumed Sky Valley classes in September.
10          112.   Some families attempted to return to Sky Valley in the fall, but unenrolled
11   after re-experiencing adverse medical symptoms that they previously experienced in the
12   school buildings. With the knowledge that the school buildings had been contaminated
13   with toxic chemicals, these families unenrolled. Their spots were then filled by other
14   families on the waitlist for the school program (Sky Valley is a popular program), while
15   the Monroe School District assured the public that the school buildings were safe.
16          113.   The Health District and School District had some knowledge that this was
17   happening, as shown in this fall 2016 email by inspector Zych to school administrators:
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 1   See Snohomish Health District Response to Public Record Requests, Bates No. 001398;
 2   see also Bates No. 001820 (Sky Valley parent emailing Zych that “Hope to hear
 3   something will change for our kids and families. We do love this program. As so many
 4   that cry that they still feel sick when they come near the building so cannot come [sic].”).
 5          114.   Decades of PCB off-gassing, leaks, spills, and fume events, however,
 6   caused these school buildings to become secondarily contaminated as large toxic “sinks.”
 7   That is, porous materials like library books, papers, bricks, and carpets absorbed the
 8   PCBs over the years and now release PCBs back into the indoor air. Plaintiffs who have
 9   been sensitized to PCB contamination after suffering PCB poisoning still cannot enter or
10   use these school buildings without suffering uncomfortable, painful, or debilitating
11   reactions, despite the School District purportedly uninstalling the primary sources of
12   PCBs (the PCB-caulking and the PCB-light ballasts) by the summer of 2016.
13          115.   Environmental tests during the 2016-2017 school year continued to detect
14   levels of PCBs in the air and classrooms of these school buildings to varying degrees,
15   although many results showed “none detected” at the reporting limits. (There is a limit to
16   the sensitivity of the air sampling and laboratory testing.)
17          116.   As before, at least some environmental tests were conducted with the
18   classroom windows “wide open,” as reported to Health District inspector Zych:
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26   See Snohomish Health District Response to Public Record Requests, Bates No. 001517.
27          117.   According to the Health District, “Seven of the rooms that were tested
28   during the PCB air sampling indicated levels in excess of established exposure limits.”


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 1   Id. at 001524.
 2          118.   The Monroe School District went to the press to claim that such year-2017
 3   PCB results were “false positives.” Superintendent Smith made this claim to reporters.
 4   She also claimed that any past symptoms reported by members of the Sky Valley
 5   Education community were minor and like “colds.” This was not true. She knew this
 6   statement was not true because parents and teachers had previously reported to her
 7   serious illnesses and diseases, including sexual developmental disorders in young
 8   children after they began attending classes in the school buildings.
 9          119.   The services of the environmental consultant were terminated.
10          120.   Subsequent PCB testing results appeared to be lower (or “none detected”)
11   than the pre-remediation testing results.
12          121.   Until last year, when the PCB and other toxic contamination became
13   public, the School District kept the Sky Valley staff, parents, and children in the dark
14   about the actual toxic contamination in the school buildings.
15          122.   Two out of three STEM teachers at the program have reportedly had cancer
16   since 2011. Three young parents of STEM students have died of cancer. Two children
17   have reportedly died of cancer. Other children and adults who spent time in the school
18   buildings have also suffered cancers, endocrine disorders, autoimmune disorders,
19   neurological disorders, and miscarriages.
20          123.   Since the Monroe School District moved the Sky Valley Education
21   program into the old Monroe Middle School in 2011, many but perhaps not all children
22   and adults who spent time in the school buildings developed symptoms. The symptoms
23   varied in their type and intensity. They included eye irritation, vision difficulties, frequent
24   colds and infections, throat irritation, nose bleeds, allergies, asthma, persistent coughs,
25   difficulty breathing, heart palpitations, headaches, tremors, numbness, tingling,
26   confusion, memory loss, concentration difficulties, depression, anxiety, learning
27   problems, dizziness, nausea, vomiting, abdominal pain, gastrointestinal issues, joint pain,
28   thyroid issues, puberty abnormalities, weight issues, weakness, fatigue, chills, night


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 1   sweats, skin rashes or hives or blisters, skin cysts, peeling skin, and other complaints.
 2          124.   The frequency and severity of the symptoms appeared to be positively
 3   correlated with the vulnerability of the individual and the amount of time spent in the
 4   school buildings. The symptoms and diseases worsened over time for these individuals.
 5          125.   Symptom severity generally improved during holiday breaks, when the
 6   children and adults spent time away from the school buildings.
 7          126.   At different times during the past few years, some Sky Valley parents and
 8   teachers raised serious health concerns associated with the school buildings to the
 9   Monroe School District and the Health District. Until mid-2016, the School District and
10   the Health District did not appear to take the concerns seriously.
11          127.   For example, in 2014 the Monroe School District head of maintenance,
12   Ralph Yingling, told two teachers that they should not be concerned about the PCB-light
13   ballasts. He added that he was in Vietnam and exposed to Agent Orange, and PCB-light
14   ballasts are nothing to worry about in comparison.
15          128.   Administrators for the School District promised some teachers that all
16   PCB-light ballasts would be removed and replaced with safe light fixtures during the
17   summer of 2014. This clearly was not done.
18          129.   Another School District administrator ridiculed parents of “sick children”
19   as not being interested in going to school.
20          130.   The Monroe School District, or its Sky Valley principal, actively
21   discouraged Sky Valley teachers from sharing environmental safety concerns with Sky
22   Valley families.
23          131.   The Monroe School District, or its Sky Valley principal, also actively
24   discouraged parents from filing indoor air quality complaints with the School District.
25          132.   The Sky Valley principal also admonished one teacher for cancelling
26   classes due to her concerns about safety in her classroom.
27          133.   That same teacher developed Hashimoto’s Disease (a thyroid disorder) after
28   teaching in that classroom.


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 1          134.   Some people who spent time in these school buildings cope with skin
 2   issues. Unlike headaches, gastro-intestinal pain, or other internal maladies, skin disorders
 3   can be photographed. Here are photographs of children, parents, and teachers showing
 4   skin sloughing, blisters, rashes, pigmentation changes, a neurological disorder, and a cyst:
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28   These photos (above) show blisters and sloughing skin in Sky Valley adults and children.


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28   Here are skin pigmentation changes in a Sky Valley adult and a child (above and below):


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 1   Here is chloracne on the back of a Sky Valley parent:
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14   Sky Valley children and adults also cope with hives, rashes, and acne. Here are photos of

15   full body hives (above) and acne and rashes (below) in Sky Valley children:
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28   This is the first cyst (of a cluster) removed from a Sky Valley girl’s scalp this past year.


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 1   The photographs above are of about a dozen different Sky Valley individuals who
 2   developed skin, neurological, and other disorders as part of the constellation of symptoms
 3   they attribute to time spent in the school buildings before the School District remediated
 4   the buildings. Other photographs of children and adults in the hospital, whether due to
 5   encephalitis, cardiac problems, breathing problems, and neurological disorders—all of
 6   which have happened to Sky Valley children and adults—are not included. Plaintiffs will
 7   request entry of a protective order regarding Plaintiffs’ medical records, identifiable
 8   photographs, and related personal information.
 9          135.   According to the Monroe School District’s attorney, one defense asserted
10   by the School District is that the levels of toxic contamination were never high enough to
11   cause anyone harm.
12          136.   The Health District’s history of citing Monroe Public Schools for code and
13   safety deficiencies at these school buildings establishes two basic facts: (1) Monroe
14   School District and Union High have had a history since the 1950s of poor maintenance
15   and safety compliance for these school buildings up to present-day; and (2) Snohomish
16   Health District knew that these school buildings suffered from poor maintenance and
17   non-compliance with safety requirements, particularly in areas of ventilation and lighting.
18          137.   Despite this knowledge, the Monroe School District and Union High did
19   not enforce compliance with the minimum safety requirements at these school buildings.
20   That was negligent and a proximate cause of Plaintiffs’ damages.
21          138.   Despite this knowledge, the Snohomish Health District did not enforce
22   “compliance with minimal environmental standards for education facilities, as per WAC
23   246-366-040,” which was the purpose of the Health District’s inspections, until late last
24   year. That was negligent and a proximate cause of Plaintiffs’ damages.
25          139.   The State has constitutional and statutory duties to provide for and
26   supervise the administration of educational services in Washington.
27          140.   The State also knew that many of its school building in general—and these
28   school buildings specifically—contained toxic chemicals such as PCBs.


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 1          141.   The State Departments of Ecology and Health both recognized that PCBs
 2   “can cause adverse health effects in humans and wildlife including cancer and harm to
 3   immune, nervous, and reproductive systems. PCBs disrupt thyroid hormone levels in
 4   animals and humans, hindering growth and development.” State of Wash. Department of
 5   Ecology and Department of Health. PCB Chemical Action Plan (Feb. 2015), p. 12,
 6   available at https://fortress.wa.gov/ecy/publications/SummaryPages/1507010.html, (last
 7   accessed November 14, 2017).
 8          142.   These departments of the State have also been aware that toxic PCBs
 9   persist in school buildings built before 1979, and are aware that this represents a danger
10   to the occupants of the buildings: “We are especially concerned about exposure to
11   children in school buildings with old lamp ballasts and other PCB-containing building
12   materials.” Id. at 12.
13          143.   The departments of the State know that old ballasts “are at a high risk for
14   failing (dripping, smoking, and catching fire).” Id. at 15 (parenthetical explanation in
15   original). The State recognized that the old ballasts release PCBs into the air breathed by
16   children and other people in school buildings:
17          Ballast failures can expose children to concentrated PCB oils and elevated
            PCBs in air. Low concentrations of lower chlorinated PCB congeners are
18
            continually released from lamp ballasts. When ballasts fail, high
19          concentrations of a broader spectrum of congeners are released, so it is
            important to find and remove the lamp ballasts before they fail.
20   Id.
21          144.   Despite recognizing this danger, the State did not require and supervise the
22   removal of PCBs from these school buildings. The State’s inaction created or increased
23   the risk of harm to the Plaintiffs, causing them damages. This was negligent and a
24   proximate cause of Plaintiffs’ damages.
25          145.   Stated differently, a reasonably careful governmental entity establishes and
26   enforces policies to remove toxic chemicals such as PCBs from school buildings to
27   prevent toxic exposure and to protect children, teachers, and parents from sickness,
28   disease, and death.


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 1            146.   A reasonably careful provider of school buildings removes toxic chemicals
 2   such as PCBs to prevent toxic exposure and to protect children, teachers, and parents
 3   from sickness, disease, and death.
 4            147.   Broadly speaking, a reasonably careful school building inspector requires a
 5   building owner or operator to comply with the minimum environmental safety
 6   requirements to prevent injury and to protect the building’s occupants from harm.
 7            148.   Specifically, a reasonably careful school building inspector requires a
 8   school building owner or operator to remove toxic chemicals such as PCBs to prevent
 9   toxic exposure and to protect children, teachers, and parents from sickness, disease, and
10   death.
11            149.   The public entity Defendants’ failures to protect the Sky Valley children
12   and adults from reasonably foreseeable harms were negligent.
13            150.   The public entity Defendants’ negligence in these and other ways was
14   reasonably foreseeable to Monsanto and does not serve to cut off the chain of causation
15   of Plaintiffs’ damages.
16            151.   Specifically, the State, the Monroe School District, and Union High used
17   Monsanto’s PCBs in a reasonably foreseeable manner, i.e. as components of caulking and
18   light fixtures integral to the structures of the school buildings. The use of PCBs by the
19   public entity Defendants was not so highly extraordinary as to be unforeseeable. In fact,
20   the use of PCBs by these Defendants was consistent with Monsanto’s intended promotion
21   of its PCBs, i.e., as components of caulking and light fixtures. In addition, the continued
22   use of PCBs in school buildings is also reasonably foreseeable, as thousands of school
23   buildings across the United States continue to use and contain PCBs.
24            152.   Due to the negligence of the public entity Defendants, however, the
25   Plaintiffs were exposed to PCBs and other toxic contamination. Their negligence was a
26   proximate cause of Plaintiffs’ damages.
27            153.   Although the public entity Defendants and the Plaintiffs “used” Monsanto’s
28   PCBs as components of the structures and fixtures of the school buildings, the Plaintiffs


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 1   themselves did not “misuse” Monsanto’s PCBs.
 2              154.   The public entity Defendants’ failures to require and supervise the removal
 3   of PCBs from the school buildings was caused in part by Monsanto’s wrongful conduct.
 4   This is because Monsanto intentionally misrepresented facts about its PCB products, or
 5   intentionally concealed information about PCBs, and this wrongful conduct was a
 6   proximate cause of Plaintiffs’ damages.
 7              155.   Specifically, Monsanto provided no warnings, notices, or bulletins to the
 8   State, the Snohomish Health District, the Monroe School District, Union High, or the
 9   Plaintiffs, which would have alerted them to the full extent of the dangers of toxic PCB
10   exposure in school buildings. The reason is this: Monsanto profited for decades by
11   producing and promoting PCBs, and Monsanto continues to have a strong financial
12   interest in denying the environmental dangers and health hazards associated with toxic
13   contamination caused by Monsanto’s PCBs.
14              156.   Due to the Defendants’ wrongful conduct, the Plaintiffs have suffered past
15   damages and will suffer future damages. Damages includes reasonable fears of present
16   and future adverse medical consequences. Wilson v. Key Tronic Corp., 40 Wn. App. 802,
17   701 P.2d 518 (1985) (where defendant operated a toxic landfill that poisoned local well
18   water, plaintiffs’ fears of present and future health problems stemming from actual
19   ingestion of the toxic chemicals are reasonable and therefore compensable).
20   VI.        LEGAL CONTEXT AND CAUSES OF ACTION
21         A.          State law protects individual rights. Plaintiffs bring claims for damages
22   against the named Defendants under state law only for strict products liability, negligence,
23   and exemplary damages, as outlined below, and under other applicable state law remedies
24   as discovery may reveal.
25              The Plaintiffs respectfully request that the guarantees of the Washington State
26   Constitution weigh in the consideration of legal rulings in this case. “All political power
27   is inherent in the people, and governments derive their just powers from the consent of
28   the governed, and are established to protect and maintain individual rights.” Wash.


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 1   Const., Art. I, § 1. The Washington Supreme Court recognizes “that the judiciary has
 2   ample power to protect constitutional provisions that look to protection of personal
 3   ‘guarantees,’” including “judicially enforceable affirmative duties of the State.” Seattle
 4   School Dist. No. 1 v. State of Washington, 90 Wn.2d 476, 502, 585 P.2d 71 (1978). This
 5   includes the “paramount duty on the State to make ample provision for the education” of
 6   children. Id. Courts have “ample power” to protect such constitutional guarantees and
 7   personal rights:
 8           When it comes to considering individual rights such as are protected by the
             guaranties, that the right to trial by jury shall remain inviolate; that no
 9
             person shall be deprived of life, liberty or property without due process of
10           law; that no law shall grant to any citizen or class of citizens privileges or
             immunities which upon the same terms shall not equally belong to all
11           citizens; and many other constitutional guaranties that look to protection of
12           personal rights, the courts have ample power, and will go to any length
             within the limits of judicial procedure, to protect such constitutional
13           guaranties.
14
15   Seattle School Dist. No. 1 v. State of Washington, 90 Wn.2d 476, 501, 585 P.2d 71 (1978)
16   (holding in part that the school district, parents, and school children who were faced with
17   deteriorating buildings and other shortfalls, had standing to sue the State for its violations
18   of its paramount duty to make ample provision for the education of children), quoting
19   Gottstein v. Lister, 88 Wash. 462, 493, 153 P. 595 (1915).
20      B.          Plaintiffs are fault-free. Defendants cannot allege or show facts that would
21   support a claim that the Plaintiffs, who spent time in these school buildings, are somehow
22   at-fault for the toxic contamination and poisoning. The Plaintiffs are fault-free.
23      C.          Negligence claims are covered claims. The claims against the public entities
24   are for negligent provision, establishment, maintenance, inspection, and supervision of the
25   school buildings, which were a legal cause of Plaintiffs’ damages. Stated differently, the
26   public entities negligently managed the safety of the school buildings, which caused the
27   Plaintiffs’ to suffer damages. No “pollution exclusion” would apply to deny coverage, even
28   if such an exclusion exists in any policy of insurance in this case. Xia v. ProBuilders


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 1   Specialty Insur. Co., 188 Wn.2d 171, 393 P.3d 748 (2017).
 2      D.         Defendants’ joint and several liabilities. These claims relate to negligence
 3   and product liability for “hazardous substances” that contaminated the school buildings and
 4   poisoned the Plaintiffs. As a result, all Defendants are jointly and severally liable for all of
 5   Plaintiffs’ damages. RCW 4.22.070(3); Coulter v. Asten Group, Inc., 135 Wn. App. 613,
 6   146 P.3d 444 (2006), reconsideration denied, review denied, 161 Wn.2d 1011, 166 P.3d
 7   1217.
 8      E.         Monsanto Defendants’ product liabilities to the Plaintiffs.
 9           1.    PCBs are a product. Monsanto’s PCBs are a “product” under Washington
10   law. RCW 7.72.010(3).
11           2.    Strict product liability, not reasonably safe in construction (WPI
12   110.01). A manufacturer of a product is liable if its product was not reasonably safe in
13   construction and this was a proximate cause of plaintiff’s damages. 6 Wash. Prac., Wash.
14   Pattern Jury Instr. Civ. WPI 110.01 (6th ed.). A product is not reasonably safe in
15   construction when it is “unsafe to an extent beyond that which would be contemplated by
16   the ordinary consumer.” Id., citing RCW 7.72.030(3). Monsanto’s PCBs are extremely
17   toxic, and their toxicity was a proximate cause of Plaintiffs’ damages. The existence of
18   Monsanto’s PCBs in the construction materials, caulking, and light ballasts of the school
19   building was unsafe to an extent beyond that which was contemplated by the other
20   Defendants, their employees, and the Plaintiffs who “used” the PCB-containing materials
21   in the school buildings, which contaminated the buildings and caused PCB-poisoning in
22   the Plaintiffs and others. Monsanto is strictly liable for Plaintiffs’ damages.
23           3.    Strict product liability, not reasonably safe as designed (WPI 110.02).
24   A manufacturer of a product is liable if its product was not reasonably safe as designed at
25   the time it left the manufacturer’s control and this was a proximate cause of plaintiff’s
26   damages. A product may be not reasonably safe as designed under either a balancing test
27   or a consumer expectations test. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI
28   110.02 (6th ed.).


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 1          At the time Monsanto manufactured PCBs, there was a high likelihood that the
 2   PCBs would cause injuries similar to that claimed by the Plaintiffs, and the seriousness of
 3   the injuries is significant. This outweighed any “burden” on Monsanto to design a
 4   product that would have prevented the injuries (i.e., alternative chemicals or mechanisms
 5   used in caulking, light ballasts, and other applications, that are not “extremely toxic”),
 6   and any adverse effect that a practical and feasible alternative design would have on the
 7   usefulness of the product. Id. Monsanto is also liable under the consumer expectations
 8   test, considering the following factors: the relative cost to the School District of replacing
 9   the caulking, light ballast fixtures, and other materials later discovered to be
10   contaminated with Monsanto’s PCBs; the seriousness of harm caused by exposure to
11   PCBs is high; the cost to Monsanto of eliminating PCB production would have
12   eliminated PCB profits, while the feasibility of eliminating or minimizing the risk was
13   readily available to Monsanto; and other factors as may be revealed in discovery. Id.
14          Monsanto’s PCBs were not reasonably safe as designed and this was a proximate
15   cause of Plaintiffs’ injuries following exposure to Monsanto’s PCBs. This was reasonably
16   foreseeable by Monsanto. In addition, any claimed “misuse” of toxic PCB-containing
17   products by other Defendants, third parties, or even the Plaintiffs, was also reasonably
18   foreseeable. Regardless, a product can be “not reasonably safe” even though the risk that
19   it would cause the plaintiff’s harm or similar harms was not foreseeable by the
20   manufacturer at the time the product left the manufacturer’s control. Id. (bracketed
21   material). As designed, PCBs were not reasonably safe, and Monsanto is strictly liable for
22   Plaintiffs’ damages.
23          4.     Liability for negligence, “Comment K” unavoidably unsafe products
24   (WPI 110.02.01). A chemical manufacturer has a duty to use reasonable care to design
25   chemicals that are reasonably safe. “Reasonable care” means the care that a reasonably
26   prudent chemical manufacturer would exercise in the same or similar circumstances. A
27   failure to use reasonable care is negligence. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ.
28   WPI 110.02.01 (6th ed.).


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 1          The question of whether a manufacturer exercised reasonable care is to be
 2   determined by what the manufacturer knew or reasonably should have known at the time
 3   of the plaintiff’s injury. In determining what a manufacturer reasonably should have
 4   known in regard to designing its product, a jury should consider the following: a
 5   chemical manufacturer has a duty to use reasonable care to test, analyze, and inspect the
 6   product it sells, and is presumed to know what tests would have revealed; and a chemical
 7   manufacturer has a duty to use reasonable care to keep abreast of scientific knowledge,
 8   discoveries, advances, and research in the field, and is presumed to know what is
 9   imparted thereby. Id.
10          From the first decade of manufacture, Monsanto knew that its PCBs were toxic.
11   The scientific research regarding the toxicity of PCBs increased over time. Despite the
12   actual and imparted knowledge of PCB toxicity, Monsanto continued producing PCBs so
13   Monsanto profited from their sales. Monsanto only stopped producing PCBs due to
14   federal action banning their production. PCBs were never reasonably safe. They are
15   toxic, durable, persistent, bioaccumulate, and are known to migrate from their source
16   material to contaminate the surrounding environment. By their very nature as synthetic
17   chemicals, PCBs were and are unavoidably unsafe products. Monsanto was negligent and
18   is liable for Plaintiffs’ damages.
19          5.     Liability for failure to provide warnings when manufactured (WPI
20   110.03). A manufacturer has a duty to supply products that are reasonably safe. A
21   product may be not reasonably safe because adequate warnings or instructions were not
22   provided with the product. This can be proven either through a balancing test or a
23   consumer expectations test. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 110.03
24   (6th ed.).
25          The balancing test establishes that Monsanto is liable: at the time of manufacture,
26   there was a likelihood that PCBs would cause injury or damage similar to that claimed by
27   the Plaintiffs, and given the seriousness of the injuries or damages, the lack of warnings
28   by Monsanto were inadequate; and Monsanto could have provided adequate warnings or


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 1   instructions. Monsanto could have provided warnings—but chose not to provide any
 2   warnings—such as “CAUTION: CONTAINS PCBS (Polychlorinated Biphenyls), A
 3   TOXIC       ENVIRONMENTAL              CONTAMINANT            REQUIRING               SPECIAL
 4   HANDLING AND DISPOSAL.” Monsanto presumably chose not to provide such PCB
 5   warnings because the warnings would have reduced PCB sales and profits.
 6          The consumer expectations test also proves that Monsanto is liable: the
 7   construction materials and fixtures containing PCBs are not cheap, and their replacement
 8   by the School District and the State would likely be a factor considered; the seriousness
 9   of potential disorders and diseases (including reproductive toxicity and cancers) caused
10   by PCB exposure is extremely high, especially considering the vulnerability of children;
11   the cost and feasibility of eliminating or minimizing the risk are substantial; and other
12   factors as discovery may reveal. Id.
13          Monsanto’s PCBs were not reasonably safe because adequate warnings or
14   instructions were not provided, and this was a proximate cause of Plaintiffs’ injuries. As a
15   result, Monsanto is liable for Plaintiffs’ damages.
16          6.     Liability for failure to provide warnings after manufacture (WPI
17   110.03.01). A manufacturer has a duty to supply products that are reasonably safe. A
18   product may be not reasonably safe because adequate warnings or instructions were not
19   provided after the product was manufactured. 6 Wash. Prac., Wash. Pattern Jury Instr.
20   Civ. WPI 110.03.01 (6th ed.). PCBs are not reasonably safe because adequate warnings
21   or instructions were not provided after they were manufactured: (1) Monsanto learned, or
22   a reasonably prudent manufacturer should have learned, about the dangers connected
23   with PCBs (while and) after they were manufactured; (2) without adequate warnings or
24   instructions, PCBs are unsafe to an extent beyond that which would be contemplated by
25   an ordinary user such as the School District, the State, or the Plaintiffs; and (3) Monsanto
26   failed to provide warnings or instructions concerning the dangers of PCBs in the manner
27   that a reasonably prudent manufacturer would act in the same or similar circumstances.
28   Because Monsanto did not provide adequate warnings or instructions after its PCBs were


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 1   manufactured and this was a proximate cause of Plaintiffs’ injuries, Monsanto is liable
 2   for Plaintiffs’ damages.
 3          7.     No “useful safe life” defense, statute does not apply. A statute of repose
 4   enacted in 1981 provides a defense to some product manufacturers. It provides that “a
 5   product seller shall not be subject to liability to a claimant for harm under this chapter if
 6   the product seller proves by a preponderance of the evidence that the harm was caused
 7   after the product’s ‘useful safe life’ had expired.” RCW 7.72.060(1). The statute also
 8   provides that “‘Useful safe life’ beings at the time of delivery of the product and extends
 9   for the time during which the product would normally be likely to perform or be stored in
10   a safe manner.” RCW 7.72.060(1). The statute creates a presumption: “If the harm was
11   caused more than twelve years after the time of delivery [of the product], a presumption
12   arises that the harm was caused after the useful safe life had expired. This presumption
13   may only be rebutted by a preponderance of the evidence.” RCW 7.72.060(2).
14          Monsanto’s PCBs were installed in the school buildings from the 1950s through
15   the 1970s. Although the PCB-caulking and PCB-light ballasts continued to have useful
16   product lives up to the time of remediation in 2016, the PCBs themselves never had safe
17   lives due to their extreme toxicity. Monsanto knew that PCBs were toxic, but it provided
18   no adequate warnings. As a result, the public entity Defendants were left uninformed by
19   the manufacturer about the extent of the true dangers of PCBs. Up to the present day,
20   PCBs remained as toxic as they were when Monsanto produced and promoted them. By
21   the 1980s, the EPA termed PCBs “extremely toxic.” The statute of repose requires a
22   product to have had a useful safe life when manufactured; the plain meaning of “safe,”
23   however, does not include “extremely toxic.” Due to their extreme toxicity, Monsanto’s
24   PCBs never had a safe life. PCBs are not and were not reasonably safe products. PCBs
25   were and still are unavoidably unsafe products. A defense that applies to products having
26   a “useful safe life” cannot and does not apply to PCBs.
27          8.     No “useful safe life” defense, the indefinite persistence of PCBs means
28   an indefinite “useful” life. In the alternative, the chemical stability and persistence of


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 1   PCBs means they have an indefinitely long “useful” life. In the school buildings, the
 2   PCB-light ballasts continued to perform their functions for decades, in fact, until 2016
 3   when they were uninstalled. Likewise, the PCB-containing caulking continued to perform
 4   its function of sealing gaps between walls, window frames, and masonry joints, until the
 5   caulking was removed in 2016. The utility of the PCBs continued uninterrupted from the
 6   time of their installation in the school buildings until 2016, and the PCBs performed their
 7   functions throughout that time. RCW 7.72.060(1) (“‘Useful safe life’ begins at the time
 8   of delivery of the product and extends for the time during which the product would
 9   normally be likely to perform…”). The product seller statute of repose provides
10   Monsanto no defense in this case.
11          9.     No “useful safe life” defense, statutory exception applies. In the
12   alternative, if the Court finds that PCBs had a safe life, then a statutory exception applies
13   to deprive Monsanto of the defense. “A product seller may be subject to liability for harm
14   caused by a product beyond its useful safe life if… The product seller intentionally
15   misrepresents facts about its product, or intentionally conceals information about it, and
16   that conduct was a proximate cause of the claimant’s harm.” RCW 7.72.060(1)(b).
17   Monsanto has intentionally misrepresented facts about PCBs, or has intentionally
18   concealed information about them, and that conduct was a proximate cause of Plaintiffs’
19   harms. No “useful safe life” defense applies under this statutory exception.
20          10.    Statute of limitations. For the Plaintiffs, the product liability claims did
21   not accrue until spring of 2016, when the School District’s environmental hygienists
22   reported that Monsanto’s PCBs contaminated the school buildings. RCW 7.72.060(3);
23   North Coast Air Services, Ltd. v. Grumman Corp., 111 Wn.2d 315, 759 P.2d 405 (1988);
24   16 Wash. Prac., Tort Law and Practice § 10:16 (4th ed.) (Oct. 2017 update) (“A three year
25   discovery rule applies, with the provision that the statute begins to run when ‘the
26   claimant discovered or in the exercise of due diligence should have discovered the harm
27   and its cause.’”). “The Washington Supreme Court has held that this statute extends the
28   limitations period beyond the time when the harm occurred in circumstances when the


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 1   claimant would have no reason to know about the causal connection to a defective
 2   product.” Id., citing North Coast Air Services, Ltd., 111 Wn.2d 315. Before spring of
 3   2016, the Plaintiffs had no reason to know that any harm that occurred was caused by
 4   PCBs and that they were manufactured by Monsanto.
 5          11.    Foreseeability. For decades, Monsanto produced and promoted PCBs for a
 6   wide variety of applications, including building materials and fixtures such as caulking
 7   and light ballasts. Monsanto’s PCBs were installed in these school buildings between the
 8   1950s and the 1970s. These building applications—and Monsanto’s PCBs—are stable
 9   and durable. It was foreseeable that Monsanto’s PCBs would be installed in such
10   buildings, would persist up to the present day, and would harm people such as the
11   Plaintiffs. This is due to several factors. The first is the stability and durability of PCBs,
12   known to Monsanto. PCBs do not readily breakdown or decompose. This is one of their
13   utilities and a reason that Monsanto produced and promoted them.
14          The second is the known propensity of PCBs to migrate from their sources and
15   contaminate the surrounding environment. Monsanto has known for several decades that
16   PCBs migrate from their sources into their surrounding environments and harm the
17   organisms that live in those environments. Over the years, the PCBs migrated from their
18   sources in caulking and light ballasts into the surrounding building materials such as
19   bricks, carpets, and library books, all of which are absorptive and act as a toxic “sink.” As
20   shown by the EPA, the toxic sink then acts as a secondary source of toxic exposure to
21   occupants of the school buildings, in addition to the ongoing primary sources of PCB
22   exposure. In recent years, spikes in indoor air toxicity occurred due to PCB-light ballast
23   failures in which PCB liquid dripped onto carpets and desks in classrooms, and in which
24   failing PCB-light ballasts vented vapors and pyrolyzed byproducts such as dioxins and
25   furans—which are highly toxic as well as foreseeable byproducts—into classroom air.
26   The overall toxicity of the school buildings gradually increased every year until 2016,
27   when inspectors discovered the PCB contamination and the Health District ordered the
28   School District to remediate the buildings.


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 1          The third factor making the persistence of PCBs foreseeable in these school
 2   buildings is that Monsanto provided no warnings regarding their toxicity. Monsanto’s
 3   knowing inaction made it more likely that the other Defendants would not act, causing
 4   more people, including school children, to become poisoned by Monsanto’s PCBs. In
 5   short, it was foreseeable that Monsanto’s PCBs would be left in place for decades in the
 6   school buildings while contaminating those buildings and slowly poisoning the people
 7   who use the buildings.
 8          It was also foreseeable that other people and entities may be negligent in their
 9   provision, maintenance, inspection, or supervision of the school buildings, especially due
10   to Monsanto’s failures to warn. Any allegation by Monsanto of “misuse” of toxic PCB-
11   containing products by other Defendants, third parties, or even the Plaintiffs, was a
12   foreseeable “misuse” in part for this reason. Regardless, a product can be “not reasonably
13   safe” even though the risk that it would cause the plaintiff’s harm or similar harms was
14   not foreseeable by the manufacturer at the time the product left the manufacturer’s
15   control. See WPI 111.02, -.03 (bracketed material). PCBs were not and still are not
16   reasonably safe. Monsanto is strictly liable for Plaintiffs’ damages.
17          12.    Missouri exemplary damages apply. “Washington courts will apply the
18   punitive damages law of other jurisdictions in product liability cases, if warranted under
19   choice of law principles. In such a situation, the jury instructions on punitive damages
20   should conform to the laws of the other state.” 6 Wash. Prac., Wash. Pattern Jury Instr.
21   Civ. WPI 110.00 (6th ed.), citing Singh v. Edwards Lifesciences Corp., 151 Wn. App.
22   137, 143-44, 210 P.3d 337 (2009). Under a choice of law analysis, the Missouri law of
23   punitive damages applies because Monsanto’s reckless decisions and reprehensible
24   conduct took place at Monsanto’s headquarters in Missouri. In products liability cases
25   under Missouri law, exemplary or punitive damages are available “if the defendant had
26   actual knowledge of the defect and the danger and showed complete indifference or
27   conscious disregard for the safety of others by selling the product anyway.” 34 Mo. Prac.,
28   Personal Injury and Torts Handbook § 5.4 (2017 ed.), ¶ 17(e). Monsanto produced and


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 1   promoted PCBs, an unreasonably dangerous product, with actual knowledge of their
 2   dangers. Id. at ¶ 11. Monsanto knowingly concealed the hazards of its PCBs and
 3   marketed them as safe for open and closed applications in order to maximize Monsanto’s
 4   profits from PCB sales. See, e.g., City of San Jose v. Monsanto Co., 231 F. Supp. 3d 357,
 5   366 (N.D. Cal. 2017) (denying Monsanto’s motion to dismiss the claim for punitive
 6   damages on these facts while holding that the Cities stated a claim for public nuisance
 7   based on PCB contamination).
 8      F.         Public entity negligence.
 9           1.    Standing of the State to be sued. The State may be sued for its
10   wrongdoing that damages its residents: “The state of Washington, whether acting in its
11   governmental or proprietary capacity, shall be liable for damages arising out of its
12   tortious conduct to the same extent as if it were a private person or corporation.” RCW
13   4.92.090. The State’s “waiver [of immunity] is very broad.” State of Washington JLARC
14   Report 11-8 (2011): State Risk Management Practices in Washington at 5.
15           2.    State’s direct liability for negligence. “A person conducting an activity
16   through servants or other agents is subject to liability for harm resulting from his conduct
17   if he is negligent or reckless (a) in giving improper or ambiguous orders or in failing to
18   make proper regulations.” Restatement (Second) of Agency, § 213(a); see also Comment
19   g (“Inadequate regulations. A master is negligent if he fails to use care to provide such
20   regulations as are reasonably necessary to prevent undue risk of harm to third persons or
21   to other servants from the conduct of those working under him. See § 508 and the
22   Restatement of Torts, § 317. One who engages in an enterprise is under a duty to
23   anticipate and to guard against the human traits of his employees which unless regulated
24   are likely to harm others. He is likewise required to make such reasonable regulations as
25   the size or complexity of his business may require.”). The State gave improper or
26   ambiguous orders or failed to make proper regulations reasonably necessary to prevent
27   undue risk of harm to children and adults at Sky Valley Education Center. The State
28   negligently provided, maintained, and supervised education in these school buildings.


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 1   The State’s negligence exposed the Plaintiffs to toxic chemicals and caused harm. The
 2   State is directly liable to the Plaintiffs for its own negligence.
 3          3.     State’s vicarious liability through negligence of its agents. Any
 4   negligence of a State agent within the scope of his or her authority is the negligence of
 5   the State. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 50.03 (6th ed.) (modified).
 6   Constitutional and statutory provisions “impose on the state an obligation to provide an
 7   integrated system of agencies for the acquisition, construction, financing, administration,
 8   supervision, maintenance, and operation of public schools.” Robert F. Utter and Hugh D.
 9   Spitzer, The Washington State Constitution 154 (2002); State ex. Rel. DuPont-Fort Lewis
10   School Dist. No. 7 v. Bruno, 62 Wn.2d 790, 384 P.2d 608 (1963). “The state exercises its
11   sovereign powers and fulfills its duties of providing education largely by means of a
12   public school system under the direction and administration of the State Superintendent
13   of Public Instruction, State Board of Education, school districts, and county school
14   boards.” Edmonds School Dist. No. 15 v. City of Mountlake Terrace, 77 Wn.2d 609, 611,
15   465 P.2d 177 (1970); see also Restatement (Second) of Agency, § 214 (1958). State
16   employees negligently provided, inspected, maintained, operated, and supervised the
17   education in these school buildings, causing Plaintiffs to become exposed to toxic
18   chemicals and suffer damages. The State is vicariously liable for this negligent conduct.
19          4.     State’s vicarious liability through acting in concert. The State, Monroe
20   School District, and Union High are bound together in a joint obligation: “a school
21   district is a corporate arm of the state established as a means of carrying out the state’s
22   constitutional duties and exercising the sovereign’s powers in providing education.”
23   Edmonds School Dist. No. 15 v. City of Mountlake Terrace, 77 Wn.2d 609, 611-12, 465
24   P.2d 177 (1970). Specifically, “in the matter of education, a school district is deemed to
25   be an arm of the state for the administration of the school system.” Edmonds School Dist.,
26   77 Wn.2d at 614, citing Howard v. Tacoma School Dist. No. 10, 88 Wash. 167, 152 P.
27   1004 (1915). “It follows that the school district exercises the paramount power of the
28   state in providing education and carries out the will of the sovereign state as to all matters


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 1   involved in the educational processes and in the conduct, operation, and management of
 2   the schools.” Id. at 614-615; see also State ex rel. DuPont-Fort Lewis School Dist. No. 7,
 3   Pierce County v. Bruno, 62 Wn.2d 790, 384 P.2d 608 (1963). As a legal consequence, the
 4   State is vicariously liable for the negligence of its “arms,” the Monroe School District
 5   and Union High, that caused damage to the Plaintiffs in this case.
 6          5.     State’s paramount, nondelegable duty. “It is the paramount duty of the
 7   state to make ample provision for the education of all children residing within its
 8   borders…” Wash. Const., Art. IX, § 1; McCleary v. State, 173 Wn.2d 477, 520, 269 P.3d
 9   227 (2012) (“paramount” means “having the highest rank that is superior to all others…
10   the State’s first and highest priority before any other State programs or operations”);
11   Seattle School Dist. v. State, 90 Wn.2d 476, 511, 514, 585 P.2d 71 (1978). This is the
12   only declaration in the State Constitution “that a specified state function is the state’s
13   ‘paramount duty.’” Robert F. Utter and Hugh D. Spitzer, The Washington State
14   Constitution 154 (2002); Seattle School Dist., 90 Wn.2d at 523. This paramount duty is
15   “mandatory” on the State, and “the State may discharge its duty only by performance.”
16   Seattle School Dist., 90 Wn.2d at 500, 513; Wash. Const., Art. I, § 29. The paramount
17   duty of the State “creates a correlative right on behalf of all children residing within the
18   borders of the state.” Seattle School Dist. v. State, 90 Wn.2d 476, 510-13, 585 P.2d 71
19   (1978). This is a “true right” created by a “positive constitutional grant.” “Positive
20   constitutional rights do not restrain government action; they require it.” McCleary v.
21   State, 173 Wn.2d 477, 518-19, 269 P.3d 227 (2012).
22          6.     State’s duty to provide, establish, maintain, and supervise reasonably
23   safe school buildings. “Provision shall be made for the establishment and maintenance
24   of systems of public schools free from sectarian control which shall be open to all the
25   children of the said state.” Wash. Const., Art. XXVI, § 4. The State “shall provide for a
26   general and uniform system of public schools.” Wash. Const., Art. IX, § 2. “The
27   establishment and maintenance of the public schools throughout the state are essential
28   and are primarily a state purpose.” Robert F. Utter and Hugh D. Spitzer, The Washington


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 1   State Constitution 156 (2002). “The superintendent of public instruction shall have
 2   supervision over all matters pertaining to public schools, and shall perform such specific
 3   duties as may be prescribed by law.” Wash. Const., Art. III, § 22. These constitutional
 4   provisions impose duties on the State to provide, establish, maintain, and supervise “all
 5   matters pertaining to public schools.”
 6          In addition, the State has the “fundamental responsibility” to protect the public’s
 7   health. RCW 43.70.512(1) (“Protecting the public’s health across the state is a
 8   fundamental responsibility of the state”); RCW 43.70.005 (“The legislature finds and
 9   declares that it is of importance to the people of Washington state to live in a healthy
10   environment”). This includes the safe management of hazardous waste. The State knows
11   that the “[s]afe and responsible management of hazardous waste is necessary to prevent
12   adverse effects on the environment and to protect public health and safety.” RCW
13   70.105.005(2). “The health and welfare of the people of the state depend on clean and
14   pure environmental resources unaffected by hazardous waste contamination.” RCW
15   70.105.005(1). Specifically, to protect health in school buildings, the State must “adopt
16   rules controlling public health related to environmental conditions including but not
17   limited to heating, lighting, ventilation, sanitary facilities, and cleanliness in public
18   facilities including… schools.” RCW 43.20.050(2)(d). To protect children and adults in
19   school buildings, the State must exercise its duties in part through the State Department
20   of Health, the Board of Health, and in conjunction with local boards of health that “shall
21   enforce all rules adopted by the state board of health.” RCW 43.20.050(5).
22          It was foreseeable—and the State actually knew—that these school buildings were
23   or have been contaminated with hazardous waste or toxic substances such as PCBs, and
24   that mismanagement can harm the occupants of those buildings, including the school
25   buildings in this case. The State’s neglect and negligent inaction regarding toxic
26   chemicals in these school buildings caused foreseeable harm to the Plaintiffs.
27          7.     State’s standard of reasonable care for provision, establishment,
28   maintenance, and supervision of these school buildings. Together with local


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 1   governmental entities, the State must provide, establish, maintain, and supervise
 2   reasonably safe school buildings for the Sky Valley Education community to prevent
 3   injury and to protect the children and adults who use those buildings. Reasonably safe
 4   school buildings do not expose their occupants to toxic or hazardous chemicals that cause
 5   injury or disease. Stated differently, school buildings that expose their occupants to toxic
 6   or hazardous chemicals that cause injury or disease are not reasonably safe. Through its
 7   agencies and employees, the State must also provide reasonably careful supervision of
 8   school districts in their provision and maintenance of school buildings. Although this
 9   paramount duty to provide and maintain reasonably safe school buildings primarily
10   benefits children, the duty extends to reasonably foreseeable third parties such as
11   teachers, parents, and other members of the community.
12          8.     State violated its duty. The existence of inadequate or unhealthful school
13   buildings can constitute violations of the State’s constitutional duty to children. Seattle
14   School Dist. v. State, 90 Wn.2d 476, 524-526, 585 P.2d 71 (1978) (State violated its
15   constitutional duty to school district, parents, and children who were “faced with a
16   deteriorating physical plant” and lacked other educational necessities); Ramsdell v. North
17   River School Dist., 104 Wn.2d 264, 704 P.2d 606 (1985) (citing Seattle School Dist. and
18   noting that inadequacy of facilities may be a constitutional violation). The State violated
19   its duty of reasonable care by allowing PCBs and other toxic contamination to remain in
20   these school buildings. The toxic poisoning of the Plaintiffs was a foreseeable and
21   avoidable consequence of the State’s negligence.
22          During the several years of the negligent acts and omissions that caused the school
23   buildings to poison the Plaintiffs by toxic contamination, the State was meanwhile
24   violating its duty to make ample provision for education. McCleary v. State, 173 Wn.2d
25   477, 532-537, 269 P.3d 227 (2012) (finding education to be “woefully underfunded”).
26   “The State has failed to meet its duty under Art. IX, sec. 1 by consistently providing
27   school districts with a level of resources that falls short of the actual costs of the basic
28   education program.” McCleary, 173 Wn.2d at 547. “School districts” include Monroe


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 1   School District and Union High. This may be relevant to the extent Monroe School
 2   District or Union High allege that any negligence on their part was a consequence of
 3   underfunding by the State, although the School District was clearly able to remediate the
 4   buildings in 2016, regardless of budgetary constraints, when ordered to do so by the
 5   Health District.
 6          Through its agencies, departments, and employees, the State breached its duties of
 7   reasonable care to the Plaintiffs by not providing reasonably safe school buildings; by not
 8   maintaining the school buildings free of toxic and hazardous substances that cause injury
 9   and disease; and by not providing reasonably careful supervision of Snohomish Health
10   District, Monroe School District, and Union High, as they inspected, maintained, and
11   administered educational services at the school buildings now known as Sky Valley
12   Educational Center. Based on the known facts, the State breached its duties in these and
13   other ways as discovery and legal research may reveal.
14          9.     The State remains in contempt of the Supreme Court of Washington.
15   The State has been in contempt of the Supreme Court’s McCleary decision while the
16   negligence regarding the school buildings caused the Plaintiffs to be exposed to toxic
17   contamination. McCleary v. State, No. 84362-7 (Wash. Sept. 11, 2014) (order of
18   contempt); (Wash. August 13, 2015) (order imposing sanction of $100,000 per day
19   penalty on the State for each day it fails to adopt a complete plan to comply with its
20   constitutional duty); (Wash. Oct. 6, 2016) (“monetary sanction of $100,000 per day shall
21   remain in place and continue to accrue until the State purges its contempt by adopting a
22   complete legislative plan demonstrating how it will fully comply with article IX, section
23   1 of the Washington Constitution by September 1, 2018); (Wash. Nov. 15, 2017) (same).
24          10.    State’s violations caused Plaintiffs’ damages. The State’s breaches of its
25   duties exposed the Plaintiffs to toxic and hazardous substances that caused injury and
26   disease. The State’s negligence is a legal cause of Plaintiffs’ damages.
27          11.    No Title 51 immunity. The State is not an employer of any Plaintiff and
28   therefore is not entitled to claim immunity under Title 51. RCW 51.08.070; Afoa v. Port


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 1   of Seattle, 176 Wn.2d 460, 482, 296 P.3d 800 (2013) (Port of Seattle liable in tort to
 2   injured worker employed by third-party employer). There are no express contracts or acts
 3   that show any of the Plaintiffs or the State recognized one as the employee and the other
 4   as the employer. Hubbard v. Dept. of Labor and Indus., 198 Wash. 354, 88 P.2d 423
 5   (1939); Fisher v. City of Seattle, 62 Wn.2d 800, 384 P.2d 852 (1963) (relationship of
 6   employer and employee cannot exist without consent of employee for purposes of
 7   workers compensation laws).
 8          12.    State and public entity claims against Monsanto. In 2016, the State sued
 9   Monsanto Company, Solutia, Inc., and Pharmacia Corporation for PCB contamination in
10   Washington, alleging public nuisance, products liability (defective design), products
11   liability (failure to warn), negligence, equitable indemnity, and statutory trespass. King
12   County Superior Court, Case No. 16-2-29591-6-SEA. Against the Monsanto Defendants,
13   “the State seeks damages, including on behalf of itself and on behalf of its residents in its
14   parens patriae capacity,” for Monsanto’s PCB contamination in the State of Washington.
15   Complaint for Damages at 5. Under the nullum tempus doctrine, no statute of limitations
16   defense shall apply to the State’s claims or to the claims of other public entity Defendants
17   bringing claims for the benefit of the State. RCW 4.16.160 (“except as provided in RCW
18   4.16.310, there shall be no limitation to actions brought in the name or for the benefit of
19   the state, and no claim of right predicated upon the lapse of time shall ever be asserted
20   against the state”); State v. LG Electronics, Inc., 186 Wn.2d 1, 8, 12, 375 P.3d 636 (2016)
21   (noting that “the legislature has expressly instructed that the State shall not be subject to
22   policies of preventing stale claims inherent in statute of limitations because of competing
23   policy considerations regarding the public welfare and the State’s purse.”) (antitrust
24   parens patriae case). While the public entity Defendants may have claims against
25   Monsanto arising out of the damages in this case, Monsanto does not have viable
26   counterclaims against non-Monsanto parties in this case. See, e.g., City of Spokane v.
27   Monsanto Co., No. 2:15-CV-00201-SMJ, 2017 WL 2945729 (E.D. Wash. July, 10, 2017)
28   (dismissing Monsanto’s counterclaims against plaintiff City of Spokane).


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 1          13.     Standing of Monroe School District No. 103. The School District shall be
 2   liable for damages arising out of its tortious conduct. RCW 4.96.010; RCW 4.08.120
 3   (“An action may be maintained… for an injury to the rights of the plaintiff arising from
 4   some act or omission of such county or other public corporation.”); RCW 39.50.010(c).
 5          14.     Monroe School District’s direct liability for negligence. The School
 6   District shall be liable for its own failures to hire, train, or supervise its employees in the
 7   performance of the duties of provision, inspection, and maintenance of the environmental
 8   safety requirements for the school buildings. Id.; Restatement (Second) of Agency, §
 9   213(a).
10          15.     Monroe School District’s vicarious liability for negligence. Any
11   negligence of a school district board member, administrator, or employee within the
12   scope of his or her authority is the negligence of the school district. 6 Wash. Prac., Wash.
13   Pattern Jury Instr. Civ. WPI 50.03 (6th ed.) (modified). The law “guarantee[s] that each
14   common school district board of directors, whether or not acting through its respective
15   administrative staff, be held accountable for the proper operation of their district to the
16   local community and its electorate.” RCW 28A.150.230.
17          16.     Statutory duties. Monroe School District “shall: (a) Cause all school
18   buildings to be properly heated, lighted, and ventilated and maintained in a clean and
19   sanitary condition; and (b) Maintain and repair, furnish, and insure such school
20   buildings.” RCW 28A.335.010(1). It is “the responsibility of the certificated teaching and
21   administrative staff in each common school to: …(e) Give careful attention to the
22   maintenance of a healthful atmosphere in the classroom. [And] (f) Give careful attention
23   to the safety of the student in the classroom and report any doubtful or unsafe conditions
24   to the building administrator.” RCW 28A.150.240(2); 6 Wash. Prac., Wash. Pattern Jury
25   Instr. Civ. WPI 60.01 (6th ed.); Swank v. Valley Christian School, 188 Wn.2d 663, 398
26   P.3d 1108 (2017) (holding that a statute enacted to protect student safety created an
27   implied remedy for violations of the statute).
28          17.     Common law duty to students. School districts “have a special


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 1   relationship with the students in their custody,” and “[b]ased on this relationship, school
 2   districts have a duty to anticipate dangers which may reasonably be anticipated, and then
 3   to take precautions to protect the pupils in [their] custody from such dangers.”
 4   Henrickson v. Moses Lake School Dist., 199 Wn. App. 244, 249, 398 P.3d 1199 (2017),
 5   citing McLeod v. Grant County School Dist., 42 Wn.2d 316, 320, 255 P.2d 360 (1953).
 6   The duty is based on “the well-established law in Washington that a school district has an
 7   enhanced and solemn duty to protect minor students in its care.” Quynn v. Bellevue
 8   School District., 195 Wn. App. 627, 634, 383 P.3d 1053 (2016), citing Christensen v.
 9   Royal School Dist. No. 160, 156 Wn.2d 62, 67, 124 P.3d 283 (2005).
10          18.    Monroe School District’s duty. The School District must provide and
11   maintain reasonably safe school buildings to prevent injury and to protect the children
12   and adults who use those school buildings. The School District must provide and
13   maintain school buildings free of PCBs and other toxic chemicals to prevent injury and to
14   protect the children and adults who use those school buildings.
15          19.    Monroe School District violated its statutory duty. Monroe School
16   District violated its statutory duty to cause the school buildings to be properly lighted,
17   ventilated, and maintained in a clean and sanitary condition. Monroe School District also
18   violated its statutory duty to give careful attention to the maintenance of a healthful
19   atmosphere and the safety of the students. The School District’s violations of the statutes
20   were negligent and legal causes of harm to students and their parents, including the
21   Plaintiffs. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 60.03 (6th ed.). The
22   violations occurred over many years and were multiple and separate negligent acts and
23   omissions during those years. Discovery and legal research may reveal more violations.
24          20.    Monroe School District violated its common law duty. Monroe School
25   District violated its common law duties, based on its special relationship with the students
26   in its custody, to anticipate the dangers of toxic contamination within the old school
27   buildings, and then to take precautions to protect the students from exposure to the toxic
28   contamination. The School District’s violations of its common law duties were negligent


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 1   and legal causes of harm to students and their parents, including the Plaintiffs. Discovery
 2   and legal research may reveal more violations.
 3          21.    Monroe School District’s duty to public invitees. Monroe School District
 4   owes to its public invitees a duty to exercise ordinary care. This includes the exercise of
 5   ordinary care to maintain in a reasonably safe condition those portions of the premises
 6   that the invitee is expressly or impliedly invited to use or might reasonably be expected to
 7   use. 6A Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 120.06 (6th ed.).
 8          22.    Monroe School District is liable for violating its duty to public invitees.
 9   Monroe School District is liable for any injuries to its public invitees caused by a
10   condition on the premises if the School District (a) knows of the condition or fails to
11   exercise ordinary care to discover the condition, and should realize that it involves an
12   unreasonable risk of harm to public invitees; (b) should expect that they will not discover
13   or realize the danger, or will fail to protect themselves against it; and (c) fails to exercise
14   ordinary care to protect them against the danger. 6A Wash. Prac., Wash. Pattern Jury
15   Instr. Civ. WPI 120.07 (6th ed.). See also Restatement (Second) of Torts § 343
16   “Dangerous Conditions Known to or Discoverable by Possessor,” (1965), which
17   Washington courts have cited for the duties owners or occupiers of land owed to invitees.
18   See, e.g., Tincani v. Inland Empire Zoological Soc., 124 Wn.2d 121, 875 P.2d 621
19   (1994); Ford v. Red Lion Inns, 67 Wn. App. 766, 840 P.2d 198 (1992). Landowners owe
20   to invitees a duty of reasonable care requiring them to inspect for dangerous conditions
21   and to make such repair, safeguards, or warnings as may be reasonably necessary for the
22   protection of invitees under the circumstances. Tincani v. Inland Empire Zoological Soc.,
23   124 Wn.2d at 139. This duty of reasonable care includes an “affirmative duty to discover
24   dangerous conditions.” Egede-Nissen v. Crystal Mountain, Inc., 93 Wn.2d 127, 132, 606
25   P.2d 1214 (1980) (citing Restatement (Second) of Torts § 343, comment b); Jarr v. Seeco
26   Const. Co., 35 Wn. App. 324, 326, 666 P.2d 392 (1983).
27          23.    Monroe School District violated its duty to public invitees. For years,
28   Monroe School District invited members of the public to use the school buildings,


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 1   including parents, staff members, and community members, including the Plaintiffs. The
 2   Monroe School District: knew or should have known that the school buildings contained
 3   toxic contamination; knew or should have known that the toxic contamination involved
 4   an unreasonable risk of harm to the Plaintiffs; and knew or should have known that the
 5   Plaintiffs would not discover or realize the danger of the toxic contamination. Despite
 6   this knowledge, Monroe School District failed to exercise ordinary care to protect
 7   Plaintiffs from exposure to the toxic contamination in the school buildings. Due to its
 8   negligent acts and omissions, the Monroe School District caused the Plaintiffs to suffer
 9   injuries. The negligent acts and omissions occurred over many years and were multiple
10   and separate negligent acts and omissions during those years. Discovery and legal
11   research may reveal more violations.
12         24.    Monroe School District’s duty to staff members. “In Washington, an
13   employer has an affirmative and continuing duty to provide all employees a reasonably
14   safe place to work.” McCarthy v. Dept. of Social and Health Services, 110 Wn.2d 812,
15   818, 759 P.2d 351 (1988).
16         25.    Monroe School District violated its duty and may be liable to Plaintiffs
17   who were staff members. Due to the toxic contamination at the school buildings,
18   Monroe School District failed to provide its employees with a reasonably safe place to
19   work. Monroe School District is liable to staff member Plaintiffs to the extent their
20   damages fall outside the scope of Title 51. McCarthy v. Dept. of Social and Health
21   Services, 110 Wn.2d 812, 818, 759 P.2d 351 (1988); Birklid v. Boeing Co., 127 Wn.2d
22   853, 904 P.2d 278 (2003); WPI 32.04 (Measure of Damages—Loss of Consortium—
23   Spouse); WPI 32.05 (Measure of Damages—Loss of Consortium—Parent).
24         26.    Union High as landowner and school district. According to Snohomish
25   County tax assessor records, Union High School District No. 402 is the owner of the land
26   occupied by the old Monroe Middle School, currently known as Sky Valley Education
27   Center, and used by the Monroe School District. Union High is also a school district and
28   is liable to Plaintiffs in the same ways as Monroe School District, although Union High is


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 1   not an employer of any Plaintiff and cannot allege Title 51 immunity. Union High
 2   violated its statutory and common law duties to the Plaintiffs in the same manner as did
 3   Monroe School District, outlined above. The violations were a legal cause of damages to
 4   Plaintiffs. Union High failed to maintain safe premises, violated common law and
 5   statutory duties to maintain a safe workplace, and is jointly and severally liable with the
 6   State and other Defendants to all Plaintiffs. Afoa v. Port of Seattle, 176 Wn.2d 460, 482,
 7   296 P.3d 800 (2013); Afoa v. Port of Seattle, 198 Wn. App. 206, 393 P.3d 802 (2017).
 8   Discovery and legal research may reveal more violations.
 9          27.     Joint liability. Each school district “is a corporate arm of the state
10   established as a means of carrying out the state’s constitutional duties and exercising the
11   sovereign’s powers in providing education.” Edmonds School Dist. No. 15 v. City of
12   Mountlake Terrace, 77 Wn.2d 609, 611, 465 P.2d 177 (1970). The State, Monroe School
13   District, and Union High are bound together in this joint duty. Id.; RCW 28.A.150.070;
14   Wash. Const., Art. IX, § 2. Two or more governmental entities act in concert if they
15   consciously act together in an unlawful manner, although it is not necessary that they
16   intend to harm the plaintiff. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 50.20 (6th
17   ed.). One governmental entity is liability for the fault of another if both were acting in
18   concert with respect to a particular act or omission and that act or omission was a
19   proximate cause of the plaintiff’s injuries. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ.
20   WPI 50.21 (6th ed.). Monroe School District, Union High, and the State acted in concert
21   to provide to Plaintiffs the school buildings contaminated with toxic chemicals, which
22   was a proximate cause of exposing Plaintiffs to the toxins and injuring them. Each of
23   these three entities is liable for the fault of the other two.
24          28.     Monroe School District and Union High, causes of action. Monroe
25   School District and Union High may have causes of action against the State and the
26   product manufacturer Defendants in this case. RCW 4.08.110; Seattle School Dist. No. 1
27   v. State, 90 Wn.2d 476, 490, 585 P.2d 71 (1978) (holding in part that the school district
28   faced with deteriorating buildings and other shortfalls had standing to sue the State for its


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 1   violations of its paramount duty to make ample provision for the education of children).
 2   No statute of limitations applies as a defense against school district claims brought to
 3   benefit the State against a corporate defendant such as Monsanto. Bellevue School Dist.
 4   No. 405 v. Brazier Constr. Co., 103 Wn.2d 111, 114, 691 P.2d 178 (1984); cf. Wash.
 5   State Major League Baseball Stadium Public Dist. v. Huber, Hunt & Nichols-Kiewit
 6   Constr. Co., 176 Wn.2d 502, 514, 296 P.3d 821 (2013) (noting statutory amendment after
 7   Brazier Constr. to RCW 4.16.160 and -.310, providing that “the State is subject to the
 8   construction statute of repose”); RCW 4.16.160 (“except as provided in RCW 4.16.310,
 9   there shall be no limitation to actions brought in the name or for the benefit of the state,
10   and no claim of right predicated upon the lapse of time shall ever be asserted against the
11   state”).
12          29.      Standing of the Snohomish Health District. The Health District shall be
13   liable for damages arising out of its tortious conduct. RCW 4.96.010; RCW 4.08.120
14   (“An action may be maintained… for an injury to the rights of the plaintiff arising from
15   some act or omission of such county or other public corporation.”); RCW 39.50.010(c).
16          30.      Health District’s direct liability for negligence. The Health District shall
17   be liable for its own failures to hire, train, or supervise its employees in the performance
18   of the duties of inspection and enforcement of minimal environmental safety
19   requirements for the school buildings. Id.; Restatement (Second) of Agency, § 213(a).
20          31.      Health District’s vicarious liability for negligence. Any negligence of a
21   Health District board member, administrator, or employee within the scope of his or her
22   authority is the negligence of the Health District. 6 Wash. Prac., Wash. Pattern Jury Instr.
23   Civ. WPI 50.03 (6th ed.) (modified).
24          32.      Health District’s joint obligation with the State to enforce safety
25   requirements in the school buildings. The State Board of Health and the Snohomish
26   Health District have a joint obligation to protect public health in school buildings in
27   Snohomish County. To protect public health, the State Board of Health shall establish
28   safety requirements for water quality, air quality, and environmental conditions in school


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 1   buildings, “including but not limited to heating, lighting, ventilation, sanitary facilities,
 2   and cleanliness.” RCW 43.20.050(2)(d). The Snohomish Health District shall enforce
 3   these requirements. RCW 43.20.050(5). The requirements are designed for the benefit
 4   and protection of the children and adults who use public school buildings. Bailey v. Town
 5   of Forks, 108 Wn.2d 262, 268, 737 P.2d 1257 (1987) (noting one exception to the public
 6   duty doctrine is “when the terms of a legislative enactment evidence an intent to identify
 7   and protect a particular and circumscribed class of persons (legislative intent)”).
 8          33.    Healthy District’s duty to inspect school buildings. The Health District
 9   must inspect school buildings and enforce safety requirements to prevent injury and to
10   protect the children and adults who use the school buildings.
11          34.    Health District’s duty to take corrective action and enforce safety
12   requirements. The Health District must take corrective action and enforce safety
13   requirements in school buildings to prevent injury and to protect the children and adults
14   who use the school buildings.
15          35.    Health District breached its duties to the Plaintiffs, causing them harm.
16   For years, the Health District knew that the school buildings were violating
17   environmental safety requirements. For those same years, the Health District had a duty
18   to inspect, verify compliance, and order compliance with environmental safety
19   requirements at the school buildings. But the Health District failed to enforce compliance
20   until the spring of 2016, by which time many people, including the Plaintiffs, had
21   suffered toxic poisoning. In addition, the Health District knowingly and negligently
22   delayed enforcement and waited while dozens of people reported illnesses and diseases
23   attributed to the school buildings. The Health District specifically told Plaintiffs and
24   others harmed by the hazardous conditions in the school buildings that the Health District
25   would take no enforcement action until many people became sickened by the
26   contamination at the school buildings. The Health District chose not to act until 2016,
27   when it finally ordered environmental testing and remediation of the hazardous
28   substances in the school buildings. The Health District violations of its duties were legal


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 1   causes of harm to the Plaintiffs.
 2           The Health District is liable to the Plaintiffs and other reasonably foreseeable
 3   occupants of the school buildings for the toxic exposures that caused them harm.
 4   Campbell v. City of Bellevue, 85 Wn.2d 1, 530 P.2d 234 (1975) (duty imposed on
 5   electrical inspector who knew of nonconforming electrical system but failed to enforce
 6   electrical code compliance, causing injury and death); Halvorson v. Dahl, 89 Wn.2d 673,
 7   574 P.2d 1190 (1978) (claim may be made against city for its long-term knowledge of,
 8   and inadequate response to, hotel’s noncompliance with safety codes); Bailey v. Town of
 9   Forks, 108 Wn.2d 262, 737 P.2d 1257 (1987) (liability against police officer who
10   allowed drunk driver to drive his truck, hitting motorcyclist). When the Health District
11   finally acted in 2016 on the school buildings, it found “[t]he existence of unsafe
12   conditions which present a potential hazard to occupants of the school [which] are in
13   violation of these regulations.” WAC 246-366-140(1); RCW 43.20.050 (health district
14   shall enforce minimum safety requirements in school buildings); Swank v. Valley
15   Christian School, 188 Wn.2d 663, 398 P.3d 1108 (2017) (holding that a statute enacted to
16   protect student safety created an implied remedy for violations of the statute). The same
17   “unsafe conditions” had been present for months, years, and decades beforehand, had
18   harmed the children and adults in the school buildings, and had been known to the Health
19   District. The Health District’s failure to enforce the safety requirements at the school
20   buildings was a proximate cause of Plaintiffs’ damages.
21      G.         Roes. Roes 1 through 10 are public entities or public or private corporations
22   who may be liable for causing injuries to the Plaintiffs. Currently, it is not known if named
23   Defendants will allege fault against these entities or corporations. Plaintiffs request leave to
24   amend this Complaint if Defendants allege fault against third parties, or if facts become
25   known showing liability against third parties. Third parties Snohomish County, Northwest
26   Education Service District #189, City of Monroe, EHS-International, and McKinstry Corp.
27   are being given notice of this lawsuit. If they or another third party are added as Defendants,
28   the new claims in the amended pleadings relate back to the original complaint. CR 15(c).


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 1      H.          Admonition of the Environmental Defense Fund decision. Years before
 2   many of the Plaintiffs in this case were born, the federal district court for the District of
 3   Columbia advised that action must be taken to prevent toxic environmental poisoning and to
 4   protect future generations:
 5           We feel constrained to add one final note to emphasize our concern in this
             case. Human beings have finally come to recognize that they must eliminate
 6
             or control life threatening chemicals, such as PCBs, if the miracle of life is
 7           to continue and if earth is to remain a living planet. This is precisely what
             Congress sought to do when it enacted section 6(e) of the Toxic Substances
 8           Control Act. Yet, we find that forty-six months *1287 after the effective
 9           date of an act designed to either totally ban or closely control the use of
             PCBs, 99% of the PCBs that were in use when the Act was passed are still in
10           use in the United States. With information such as this in hand, timid souls
11           have good reason to question the prospects for our continued survival, and
             cynics have just cause to sneer at the effectiveness of governmental
12           regulation.
13
14   Environmental Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1286-
15   87 (D.C. Cir. 1980) (internal citation omitted).
16      I.          Accountability. The Plaintiffs respectfully request that each of the
17   Defendants be held accountable for their roles in causing the toxic poisonings in this case.
18   VII.    PRAYERS FOR RELIEF
19      A.          Request for preservation of evidence. Plaintiffs request that all Defendants
20   and third parties given notice of this lawsuit preserve all evidence that may potentially be
21   relevant.
22      B.          Ex parte contact is prohibited. Many Plaintiffs are individuals who attend,
23   visit, or work at locations within the School District. Plaintiffs request that defense attorneys
24   instruct their agents, employees, defendant employees, and defendants’ agents to please
25   refrain from any ex parte contact with Plaintiffs regarding the subject matter of this lawsuit,
26   whether in school buildings, hospitals, or other locations. This request includes the non-
27   physician State or University of Washington Medical Center employee(s) who have
28   observed or attempted to observe clinical evaluations of injured Sky Valley teachers,


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 1   parents, and children.
 2      C.         Limited waiver of physician-patient privilege. Under RCW 5.60.060(4)(b),
 3   Plaintiffs hereby waive the physician-patient privilege only insofar as necessary to place
 4   damages at issue at the time of trial. Plaintiffs’ actions do not constitute a waiver of any
 5   of their constitutional or statutory rights. Defendants, defense attorneys, and their agents
 6   are not to contact any treating physicians without first notifying plaintiff counsel, so the
 7   matter may be negotiated or brought to the attention of the Court. Loudon v. Mhyre, 110
 8   Wn.2d 675 (1988); Smith v. Orthopedics International, Ltd., P.S., 170 Wn.2d 659 (2010).
 9      D.         Motion practice.
10           1.    Plaintiffs’ attorneys will move for the appointment of appropriate guardians
11   ad litem to represent the interests of Plaintiffs who are minors.
12           2.    Plaintiffs will request relief during litigation through stipulation or motion
13   practice for a limited protective order to provide appropriate psychological, privacy, and
14   personal identification information protections for Plaintiffs.
15           3.    Plaintiffs may request leave to amend the complaint, as discovery or
16   Defendants’ answers may require.
17           4.    Plaintiffs may request leave to reform the caption to reflect the addition or
18   deletion of parties.
19           5.    Plaintiffs may request other relief as may be appropriate during litigation.
20      E.         Judgment for damages. Plaintiffs demand judgment against Defendants, and
21   each of them, individually, jointly, and severally, for monetary damages to make Plaintiffs
22   whole, together with interest, expenses, costs of suit, attorney fees, as appropriate, and all
23   such other relief as the Court deems just and proper, including:
24           1.    Full compensatory damages to the Plaintiffs for past, present, and future
25   general damages as allowed by law;
26           2.    Full compensatory damages to the Plaintiffs for past, present, and future
27   special damages as allowed by law;
28           3.    Exemplary or punitive damages against Monsanto, Solutia, and/or


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 1   Pharmacia, under the applicable law of foreign jurisdiction(s); and
 2         4.     All other damages allowed by law, rule, or equity.
 3
 4         DATED this 9th day of May, 2018.
 5                                            FRIEDMAN│RUBIN PLLP
 6                                            By:
 7                                                  Sean J. Gamble, WSBA No. 41733
                                                    James A. Hertz, WSBA No. 35222
 8                                                  Richard H. Friedman, WSBA No. 30626
 9                                                  Henry G. Jones, WSBA No. 45684
10                                            Attorneys for Plaintiffs
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2015 STUDY & SURVEY					                                                                                                                                                       SKY VALLEY EDUCATION CENTER


PROGRAM USE                                                                                                                                    PORTABLE 1

                                                                                                                                                   DISTRICT
       PCB Light Fixture Cleaning                                                                                                                  STORAGE
                                                                                                                                                                               SKY VALLEY EDUCATION CENTER
                                                                                                                                                                                   Core Instruction
                                                                                                                                                   DISTRICT
                                                                                                                                                   STORAGE                         Special Education
                                                                                                                                               PORTABLE 2                          Special Education Support
                                                                                                                                                                                   Elective / Specialist / PE
                                                                                                                                                                                   Support
                                                                                                                                                                                                     Restrooms
                                                                                                                                                                                                     Hallways / Foyers
                                                                                                                     BUILDING 5
                                                                                                                   PODS / LIBRARY
                                                                                                                                                                                                     Administration/ Staff Rooms
           BUILDING 4                                                                                                       11                                                                       Conference Rooms
         TECHNOLOGY ED
                                                                                                                   RM 11 RM 1010                                                                     Storage / Mech Spaces
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              RM 21                                                                                   13
                                                                                                                       STUDY
             WOOD SHOP                                                                                  RM 13                           RM 8
                K-12                                                                                        K-12                           K-12

                                                                                     15                                                        8                7
                              21
                                                             RM 15 RM 1414                                                                               RM 7           RM 6 6
                                                                         K-12                  K-12                                                       K-6            K-6
                                                    16                                                             LIBRARY /
         B                                       RM 16                                                            GROUP STUDY                                                  RM 5
         G           RM 22                          K-12
                                                                                     COMP                                        Library                   INSTR/                K-6
                    ART ROOM                                                                                                                                                              5
                      K-12                     17                                     LAB/                                                 1               STUDY
      RM 23                22                    RM 17                               STUDY            RM 20                                    RM 1                            RM 4
     COMP LAB
       3-12                                         K-12                                                K-12                                       K-6                           K-6
            23                                                                                                                                                                    4
                                                         18RM 18                          RM 19
                                                                                                        20
                                                                                                                                                     2   RM 2       RM 3
                                                            K-12                               K-12                                                      K-6            K-6
                                             G                                            19                                                                        3                         G
                                                 B                                                                                                                                    B
                                                                                                      BUILDING 1
                                                                                                       OFFICE




                 SMALL GYM                                                                             ADMIN
                 COURT C & D
                    K-12


                            Small Gym
                                                          GATHERING AREA / COMMONS




         STORAGE              STORAGE                                                                                       A
                                                                                                                 RM A               RM B
      Locker Room                                                                                           ADOL MONT               CTE /
                               Locker Room                                                                                        COMP LAB
                                                                                                               7-12
                                                                                                                                    4-12
                                                                                                                                                     B

                                                                                                                        C
                                                                                                                 RM C
                                                                                                             SCIENCE
                  LARGE GYM                                                                                 ADOL MONT                                D
                    COURT A & B                                                                                7-12
                       K-12                                                                                                         RM D
                                                                                                                                   ENV. SCI
                                                                                                                                    7-12
                                                                                                                                                                                              Legand
                                                                                                                                                                                              Fixture cleaning needed
                                   Large Gym

                                                                                                                 RM F
                    MUSIC                                                                                        ENV. SCI
                     K-12                      CTE                                                                7-12
                                               K-12                                                     F                        BUILDING 2
                                                                                                                                   ANNEX
                                        BUILDING 3
                                        GYMNASIUM




Monroe Public Schools                                                                                                                                                                                                        3

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                                                            SKY VALLEY EDUCATION CENTER




                                                           SKY VALLEY EDUCATION CENTER
                                                               Core Instruction
                                                                   Special Education
                                                                   Special Education Support
                                                                   Elect ive I Specialist I PE
                                                           G       Support
                                                                          Restrooms
                                                                          Hallways I Foyers
                                                                          Administration/ Staff Rooms
                                                                          Conference Rooms
                                                                          Storage I Mech Spaces




                                                         - 3/ztt

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Monroe Public Schools



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                     EXHIBIT B




                     EXHIBIT B


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 2                                     2018 DEC 03 02:11 PM
                                           KING COUNTY
 3                                    SUPERIOR COURT CLERK
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 4                                    CASE #: 18-2-11915-4 SEA
 5
 6
 7                 SUPERIOR COURT OF THE STATE OF WASHINGTON
                             IN AND FOR KING COUNTY
 8
 9
     KERRY L. ERICKSON; MARC D. ERICKSON;                   No. 18-2-11915-4
10   MICHELLE M. LEAHY; RICHARD A. LEAHY;
     JOYCE E. MARQUARDT; and DOES 1-237;
11                                                          FIRST AMENDED
                               Plaintiffs,
12                                                          COMPLAINT FOR DAMAGES
           v.
13
     MONSANTO COMPANY, a Delaware corporation;
14   SOLUTIA, INC., a Delaware corporation; PHARMACIA
15   LLC, a Delaware limited liability corporation, f/k/a
     Pharmacia Corporation; UNION HIGH SCHOOL
16   DISTRICT NO. 402; SNOHOMISH HEALTH
     DISTRICT; and ROES 1-10;
17
18                             Defendants.

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 1   I.     INTRODUCTION TO THE SKY VALLEY EDUCATION CENTER CASE
 2          1.1    Monsanto intentionally produced and promoted in the U.S. more than 1.25
 3   billion pounds of synthetic chemicals called Polychlorinated Biphenyls (PCBs). According
 4   to U.S. government agencies, PCBs are “extremely toxic” and damage essentially every
 5   system of the human body. Since the 1930s, Monsanto has known that PCBs are toxic, yet
 6   promoted them without adequate warnings for electrical, construction, and other
 7   applications—until they were banned. Internal memoranda, however, show that while
 8   Monsanto knew PCBs are toxic, Monsanto made decisions based on PCB profits. As a
 9   consequence, PCBs were produced and incorporated into public buildings, including
10   school buildings. Today up to 14 million school children—and their teachers—in U.S.
11   schools may be exposed to PCBs, as estimated by a Harvard School of Public Health study.
12   Monsanto still fails to adequately warn about the extreme toxicity of PCBs.
13          1.2    In this case, the contaminated school is called Sky Valley Education
14   Center. It contained PCBs and other toxic chemicals, exposing the children and adults
15   who used the buildings. As a result, these individuals have been coping with adverse
16   medical effects, including neurological damage, autoimmune and endocrine diseases, and
17   cancers. The School District building owner and the Health District negligently allowed
18   the toxic chemicals to exist in the school, due in part to Monsanto’s ongoing failure to
19   warn about PCBs’ extreme toxicity. Regardless, the public entities had duties of
20   reasonable care to provide, maintain, inspect, operate, and supervise the school for the
21   children and adults at Sky Valley. The public entities violated their duties by allowing the
22   toxic chemicals to remain in the school and poison the children and adults, including the
23   teachers.
24          1.3    This case is about school safety and the toxic chemicals in schools that
25   poisoned children and adults, and whether under state law the manufacturer will be held
26   accountable for its toxic products, and whether the public entities that are obligated to
27   provide safe schools will be held accountable for the toxic school.
28          1.4   The following EPA slide demonstrates the mechanism of the toxic poisoning:


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                            PCBs - A Complex Problem in Buildings
          Example Scenario                                      Over 100 PCB chemicals
                                                                Multiple
                                                                      p p primary
                                                                                y sources p
                                                                                          possible
                                                                Transport from sources to air, surfaces,
                                                                     dust, soil
                                                                Secondary sources created
                        Primary Sources
                             Caulk                              Exposures through multiple pathways
                             Light Ballast
                                                                Ventilation and temperature effects
                        Secondary Sources/Sinks
                            Surrounding Materials
                            Paint
                            Dust
HVAC
 Unit




 Office of Research and Development
 National Exposure Research Laboratory
                                                                           Primary PCB   Secondary PCB
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                                                                           Source        Sources and Sinks
                                                                                                       Page 333 of 447
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 1   II.        IDENTITY OF THE PARTIES
 2         A.         Identities of the Defendants.
 3              2.1   In 2015 and 2016, the Cities of Spokane and Seattle and the State of
 4   Washington each separately sued the Monsanto Defendants for their role in
 5   contaminating Washington public resources with Monsanto’s PCBs. Many of the
 6   following allegations have been made or admitted to by the State and Monsanto
 7   Company, Solutia, Inc., and Pharmacia LCC, through the State’s Complaint for
 8   Damages, and Monsanto, et al.’s Answer to the Complaint, or are sourced from other
 9   public documents. See State’s Complaint for Damages, State v. Monsanto, et al., King
10   County Case No. 16-2-29591-6-SEA (December 16, 2016), and Defendant Monsanto
11   Company et al.’s Answer to Complaint, State v. Monsanto Company, et al., No. 2:17-cv-
12   00053 (W.D. Wash. Jan. 12, 2017); see also City of Seattle v. Monsanto Co., 237 F.
13   Supp. 3d 1096, 1100, fn 2 (W.D. Wash. 2017) (“The original Monsanto Company
14   operated within three main industries: agricultural products, chemical products, and
15   pharmaceuticals. In the late 1990s, Monsanto Company spun off into three separate
16   corporations, each responsible for a different industry: Monsanto Company retained the
17   agricultural products business; Solutia, Inc. assumed the chemical products business; and
18   Pharmacia Corporation assumed the pharmaceutical business. Each assumed certain
19   assets and liabilities from the original Monsanto Company, and all are defendants in this
20   case”); City of Spokane v. Monsanto Co., Case No. 2:15-cv-00201-SMJ (E.D. Wash. July
21   31, 2015); see also Solutia, Inc. v. McWane, Inc., 726 F.Supp.2d 1316, 1318-19 (N.D.
22   Ala. 2010) (“Monsanto Company and its predecessors produced polychlorinated
23   biphenyls (‘PCBs’)… In 1997, Monsanto created Solutia in a spin-off transaction… In
24   2000, Pharmacia was formed by the merger of Monsanto and Pharmacia & Upjohn”).
25              2.2   Defendant Monsanto Company is a Delaware corporation with its principal
26   place of business in St. Louis County, Missouri.
27              2.3   Defendant Solutia, Inc. is a Delaware corporation with its principal place of
28   business in St. Louis County, Missouri.


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 1         2.4    Defendant Pharmacia LLC is formerly known as Pharmacia Corporation
 2   and is successor to the original Monsanto Company. Pharmacia is a Delaware limited
 3   liability corporation and is a citizen of the states of New York and Delaware. Pharmacia
 4   is now a wholly-owned subsidiary of Pfizer, Inc.
 5         2.5    The original Monsanto Company (“Old Monsanto”) operated agricultural,
 6   chemical, and pharmaceutical businesses.
 7         2.6    Old Monsanto began manufacturing PCBs around the 1930s and continued
 8   to manufacture commercial PCBs, including PCBs used in electrical equipment
 9   applications such as light ballasts, through the 1940s, 1950s, 1960s, and 1970s, until
10   approximately 1977.
11         2.7    Around 1997, Old Monsanto spun-off its chemical business to Solutia.
12   Since 2000, the present or current Monsanto Company has operated the agricultural
13   business, while Pharmacia retained the pharmaceutical business.
14         2.8    Old Monsanto is now known as Pharmacia LLC.
15         2.9    Old Monsanto organized Solutia to own and operate its chemical
16   manufacturing business. Solutia assumed the operations, assets, and liabilities of Old
17   Monsanto’s chemical business.
18         2.10   Although Solutia assumed and agreed to indemnify Pharmacia (then known
19   as Monsanto Company) for certain liabilities related to the chemicals business,
20   Monsanto, Solutia, and Pharmacia have also entered into agreements to share or
21   apportion liabilities, and/or to indemnify one or more entities, for claims arising from
22   Old Monsanto's chemical business, including the manufacture and sale of PCBs.
23         2.11   According to Monsanto, Solutia, and Pharmacia, the three entities have
24   entered into complex corporate transactions and agreements that determine their
25   respective legal or financial obligations for claims arising from Old Monsanto’s
26   manufacture and sale of PCBs.
27         2.12   In 2003, Solutia filed a voluntary petition for reorganization under Chapter
28   11 of the U.S. Bankruptcy Code. Solutia's reorganization was completed in 2008. In


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 1   connection with Solutia's Plan of Reorganization, Solutia, Pharmacia, and new
 2   Monsanto entered into several agreements under which Monsanto continues to manage
 3   and assume financial responsibility for certain tort litigation and environmental
 4   remediation related to the chemicals business.
 5          2.13   Monsanto represented in a recent Form 10-K (for the fiscal year ending
 6   August 31, 2016): “Monsanto is involved in environmental remediation and legal
 7   proceedings to which Monsanto is party in its own name and proceedings to which its
 8   former parent, Pharmacia LLC (‘Pharmacia’) or its former subsidiary, Solutia, Inc.
 9   (‘Solutia’) is a party but that Monsanto manages and for which Monsanto is responsible
10   pursuant to certain indemnification agreements. In addition, Monsanto has liabilities
11   established for various product claims. With respect to certain of these proceedings,
12   Monsanto has established a reserve for the estimated liabilities.” The document specifies
13   that the company holds $545,000,000.00 in that reserve.
14          2.14   For the Monsanto Defendants’ wrongdoing that lead to PCB contamination
15   and toxic poisonings at the school buildings in this case, Monsanto, Solutia, and
16   Pharmacia are liable to the Plaintiffs under state tort law. These Defendants may be
17   obligated to one another in contract for PCB tort liabilities as set out in their complex
18   corporate agreements, but that is not the subject of this lawsuit. For purposes of this
19   Complaint, these Defendants are referred to as “Monsanto.”
20          2.15   Monsanto’s conduct is a legal cause of damages to the Plaintiffs because
21   the Sky Valley Education Center school buildings never would have become
22   contaminated with “extremely toxic” PCBs if Monsanto had not intentionally produced
23   and promoted PCBs in building construction applications.
24          2.16   Union High School District No. 402 is a Washington school district
25   (“School District”).
26          2.17   According to tax accessor records, Union High appears as the owner of the
27   land and school buildings formerly known as Monroe High School (1950-1977), Monroe
28   Junior High (1977-1987), Monroe Middle School (1987-2011), and now known as the


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 1   Sky Valley Education Center (2011-present), located at 351 Short Columbia Street at Hill
 2   and Kelsey Streets, in Monroe. In this Complaint, this location may be referred to as Sky
 3   Valley Education Center, Sky Valley, or the school buildings.
 4               2.18   The Snohomish Health District (“Health District”) is a Washington
 5   independent special purpose district. It is the municipal corporation responsible for public
 6   health in Snohomish County, in part by inspecting and enforcing minimal environmental
 7   safety requirements in educational facilities, including the school buildings in this case.
 8          B. Identities of the Plaintiffs.
 9               2.19   The Plaintiffs are residents of the State of Washington.
10               2.20   Plaintiffs Kerry Erickson, Michelle Leahy, and Joyce Marquardt were
11   teachers at the Sky Valley school. They were employed by non-party Monroe School
12   District. Due to the Defendants’ wrongful conduct, the teachers were exposed to toxic
13   chemicals and have suffered adverse medical consequences.
14               2.21   Plaintiffs Marc Erickson and Richard Leahy are spouses of teachers who
15   were exposed to toxic chemicals at the school.
16               2.22   The Plaintiffs were harmed due to the corporate and governmental
17   wrongdoing of the Defendants. The Plaintiffs bring claims against the Defendants for
18   products liability and negligence. The Plaintiffs bring claims for personal injuries as well
19   as societal and consortium injuries to their spouses.
20   III.        VENUE AND JURISDICTION
21          A.          Venue is proper in King County.
22               3.1    King County venue is proper because one or more of the Monsanto
23   Defendants transacts business in King County, including Monsanto, Solutia, and/or
24   Pharmacia. RCW 4.12.025(1).
25               3.2    King County venue is also proper to the extent any Defendant alleges legal
26   fault to a third-party corporate resident of King County. Such corporation may be cross-
27   claimed against or added in an amended complaint by Plaintiffs.
28               3.3    King County venue is also proper to the extent any Defendant alleges legal


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 1   fault to third-party Snohomish County and if the County becomes a party.
 2     B.         King County Superior Court has jurisdiction.
 3              3.4     This Court has jurisdiction over this case. Wash. Const. Art. 4, §6; RCW
 4   2.08.010; RCW 4.12.020(3).
 5   IV.    COMPLIANCE WITH STATUTORY NOTICE REQUIREMENTS
 6    A.        Plaintiffs complied with the statutory claim notice requirements and waiting
 7              periods for the following public entity Defendants:
 8              4.1     Union High School No. 402; and
 9              4.2     Snohomish Health District.
10     B.       Plaintiffs are not required to give any statutory claim notice to the following
11              non-public entity Defendants:
12              4.3     Monsanto Company;
13              4.4     Solutia, Inc.; or
14              4.5     Pharmacia LLC, f/k/a Pharmacia Corporation.
15   V. FACTS REGARDING CONTAMINATION, EXPOSURE, AND POISONING
16         A.         Monsanto produced and promoted PCBs from the 1930s to the 1970s.
17              5.1     Polychlorinated biphenyls, or “PCBs,” are mixtures of synthetic organic
18   chemicals comprised of chlorine atoms attached to a double carbon-hydrogen ring (a
19   “biphenyl” ring). U.S. EPA. PCBS: CANCER DOSE-RESPONSE ASSESSMENT AND
20   APPLICATION TO ENVIRONMENTAL MIXTURES (1996) at 1. U.S. Environmental
21   Protection Agency, Office of Research and Development, National Center for
22   Environmental Assessment, Washington Office, Washington, DC, EPA/600/P-96/001F,
23   1996, available at https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=12486 (last
24   accessed November 6, 2017). “Different mixtures can take on forms ranging from oily
25   liquids to waxy solids.” Id.
26              5.2     PCBs are comprised of many similar semi-volatile chemicals called
27   congeners. A “PCB congener” is any single, unique chemical compound in the PCB
28   category. Two hundred nine congeners have been identified.


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 1         5.3    From approximately the 1930s to 1977, Monsanto was the only
 2   manufacturer in the United States that intentionally produced and promoted PCBs for
 3   commercial use. Environmental Defense Fund v. Environmental Protection Agency, 636
 4   F.2d 1267, 1281 fn 37 (1980) (“From the sparse legislative history of § 6(e), it also
 5   appears that Congress focused its attention on the deliberate use, manufacture, and
 6   distribution of PCBs. Throughout the congressional debate, members of Congress
 7   referred to Monsanto Company as the sole producer of PCBs. See 122 Cong.Rec. 8294
 8   (1976), reprinted in Legislative History, supra note 7, at 240 (Senator Tunney, speaking
 9   in support of the section, referred to Monsanto as the “sole domestic manufacturer of
10   PCB’s”); id. at 27187, reprinted in Legislative History, supra note 7, at 588
11   (Congressman Leggett, speaking in support of the corresponding section in the House
12   bill, referred to Monsanto as “the only American manufacturer of PCB’s”).”). See also
13   116 Cong. Record 11,695, 91st Congress, (April 14, 1970) (“Insofar as the Monsanto
14   Co., the sole manufacturer of PCB's is concerned....”) and 121 Cong. Record 33879, 94th
15   Congress, (October 23, 1975) (“The sole U.S. producer, Monsanto Co.....”); and see Sky
16   Valley Complaint, Exhibit A (from City of Spokane v. Monsanto Co., Case 2:15-cv-
17   00201-SMJ, ECF No. 1-1 (E.D. Wash. July 31, 2015), Bates Nos. MONS 058730-
18   058752, entitled “PCB Presentation to Corporate Development Committee”) at MONS
19   058733 (identifying other producers as “all ex-USA”).
20         5.4    The most common trade name for PCBs in the United States is “Aroclor.”
21   21 CFR § 500.45(a) (“Polychlorinated biphenyls (PCBs) represent a class of toxic
22   industrial chemicals manufactured and sold under a variety of trade names, including
23   Aroclor (United States)”).
24         5.5    Aroclor is a name that was trademarked by Monsanto.
25         5.6    “Between 1929 and 1977, more than 1.25 billion pounds of PCBs were
26   produced in the United States.” Agency for Toxic Substances and Disease Registry
27   (ATSDR). 2014. Case Studies in Environmental Medicine: Polychlorinated Biphenyls
28   (PCBs) Toxicity. Atlanta, GA: U.S. Department of Health and Human Services, at 21,


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 1   available at https://www.atsdr.cdc.gov/csem/csem.asp?csem=30&po=10, last visited on
 2   November 7, 2017.
 3      B. Monsanto’s PCBs are “extremely toxic” synthetic chemicals.
 4            5.7    “PCBs are extremely toxic to humans and wildlife.” Environmental
 5   Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1270 (D.C. Cir.
 6   1980).
 7            5.8    PCBs are a “keystone pollutant” and “a prime motivator for the enactment
 8   of TSCA,” the Toxic Substances Control Act. “By most accounts, PCBs are the
 9   archetypical chemical villains against which the contemporary pollution laws are
10   directed.” William H. Rodgers, Jr. and Elizabeth Burleson, Polychlorinated biphenyls
11   (PCBs), 3 Envtl. L. (West) §6:9 (July 2017) (internal citations omitted).
12            5.9    By the late 1970s, the United States banned the “manufacture, processing,
13   distribution in commerce, and use of polychlorinated biphenyls (PCBs).” 44 Fed. Reg.
14   31514 (May 31, 1979). The ban remains in effect. “The TSCA prohibits the manufacture,
15   processing, distribution, and use (other than in a ‘totally enclosed manner’) of
16   polychlorinated biphenyls (PCBs) unless the EPA determines that the activity will not
17   result in an ‘unreasonable risk of injury to health or the environment.’” General Electric
18   Co. v. EPA, 290 F.3d 377 (D.C. Cir. 2002) (holding that an EPA-issued guidance
19   document was a legislative rule requiring prior notice and opportunity for public
20   comment), citing 15 U.S.C. § 2605(e) (2) & (3).
21            5.10   PCBs are “among the most stable chemicals known and decompose very
22   slowly once they are in the environment... In the environment, PCBs are toxic at low
23   concentrations to a wide variety of species, marine mammals included. Once PCBs
24   reach the environment, they tend to stay there, or move slowly in damaging cycles…”
25   William H. Rodgers, Jr. and Elizabeth Burleson, Polychlorinated biphenyls (PCBs), 3
26   Envtl. L. (West) §6:9 (July 2017) (emphasis added), citing in part Response to Exemption
27   Petitions, 50 Fed. Reg. 35,184 (August 29, 1985) (“PCBs are also toxic to mammals at
28   very low exposure levels. The survival rate and reproductive success of fish can be


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 1   adversely affected in the presence of PCBs. Various sublethal physiological effects
 2   attributed to PCBs have been recorded in the literature”) (emphasis added); see also 21
 3   CFR § 500.45(a) (“Since PCBs are toxic chemicals, the PCB contamination of food as a
 4   result of these and other incidents represent a hazard to public health.”).
 5          5.10.1 “For humans, exposures cause acute effects such as skin rashes, vomiting,
 6   abdominal pain, and temporary blindness and are suspected of causing birth defects,
 7   miscarriages, and cancer.” William H. Rodgers, Jr. and Elizabeth Burleson,
 8   Polychlorinated biphenyls (PCBs), 3 Envtl. L. (West) §6:9 (July 2017) (internal citations
 9   omitted). See also Solutia, Inc. v. McWane, Inc., 726 F. Supp. 2d 1316, 1319 (N.D. Ala.
10   2010) (“PCBs have been found to cause cancer, decreased fertility, still births, and birth
11   defects in test animals.”) (Monsanto cleanup contribution case), citing Dickerson, Inc. v.
12   United States, 875 F.2d 1577, 1579, 1583 (11th Cir.1989) (“PCBs are highly toxic
13   chemicals frequently used in electrical transformers… Scientists have found PCB
14   concentrations far below those involved in this case to cause cancer, decreased fertility,
15   still births, and birth defects in test animals.”) (affirming judgment against the United
16   States for PCB liability). Both Solutia, Inc. and Dickerson cited Environmental Defense
17   Fund v. Environmental Protection Agency, 636 F.2d 1267 (D.C. Cir. 1980), infra.
18          5.11   The Environmental Defense Fund decision summarized research available
19   to the scientific community by the late 1970s:
20          Polychlorinated biphenyls (PCBs) have been manufactured and used
            commercially for fifty years for their chemical stability, fire resistance, and
21
            electrical resistance properties. They are frequently used in electrical
22          transformers and capacitors. However, PCBs are extremely toxic to humans
            and wildlife. The extent of their toxicity is made clear in the EPA Support
23          Document accompanying the final regulations, in which the EPA Office of
24          Toxic Substances identified several adverse effects resulting from human
            and wildlife exposure to PCBs.
25
26          Epidemiological data and experiments on laboratory animals indicate that
            exposure to PCBs pose carcinogenic and other risks to humans.
27          Experimental animals developed tumors after eating diets that included
28          concentrations of PCBs as low as 100 parts per million (ppm). Experiments
            on monkeys indicate that diets with PCB concentrations of less than ten

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 1         ppm reduce fertility and cause still births and birth defects. Other data show
           that PCBs may adversely affect enzyme production, thereby interfering
 2
           with the treatment of diseases in humans. Support Document, supra note 4,
 3         at 9-18.
 4         EPA has found that PCBs will adversely affect wildlife as well as humans.
 5         Concentrations below one ppb (part per billion) are believed to impair
           reproductivity of aquatic invertebrates and fish. Some birds suffered
 6         “severe reproductive failure” when fed diets containing concentrations of
 7         only ten ppm of PCBs. Id. at 19. Because PCBs collect in waterways and
           bioaccumulate in fish, fish-eating mammals run a special risk of adverse
 8         effects. Such mammals may have “significantly higher concentrations of
 9         PCBs in their tissues than the aquatic forms they feed on.” Id. at 36.
10         EPA estimates that by 1975 up to 400 million pounds of PCBs had entered
11         the environment. Approximately twenty-five to thirty percent of this
           amount is considered “free,” meaning that it is a direct source of
12         contamination for wildlife and humans. The rest, “mostly in the form of
13         industrial waste and discarded end use products, is believed to be in landfill
           sites and thus constitutes a potential source of new free PCBs.” Id. at 33-34.
14         Other significant sources of PCBs include atmospheric fallout and spills
15         associated with the use or transportation of PCBs. Id. at 29.

16         EPA concluded in the Support Document that “the additional release of
17         PCBs” into the environment would result in widespread distribution of the
           PCBs and “will eventually expose large populations of wildlife and man to
18         PCBs.” Id. at 36-37. EPA concluded further that:
19                As a practical matter, it is not possible to determine a “safe”
20                level of exposure to these chemicals. Because PCBs are
                  already widely distributed throughout the *1271 biosphere,
21                they currently pose a significant risk to the health of man as
22                well as that of numerous other living things. As a
                  consequence, any further increase in levels of PCBs in the
23                biosphere is deemed undesirable by EPA.
24
           Id. at 38. Because “PCBs released anywhere into the environment will
25         eventually enter the biosphere ... EPA has determined that any such release
26         of PCBs must be considered ‘significant.’” Id.

27         In 1972, Monsanto, the major American manufacturer of PCBs, limited its
28         sales of PCBs to manufacturers of transformers and capacitors. It ceased all
           manufacture of PCBs in 1977 and shipped the last of its inventory before

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 1         the end of that year. Today, PCBs are produced in this country only as
           incidental byproducts of industrial chemical processes. There are no known
 2
           natural sources of PCBs. Id. at 2.
 3
 4   Environmental Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1270-
 5   71 (D.C. Cir. 1980) (holding, in part, that there was no substantial evidence to support
 6   EPA’s decision to establish a regulatory cutoff below 50 ppm).
 7         5.12   The decision made other findings: “Most importantly, EPA expressly found
 8   that any exposure of PCBs to the environment or humans could cause adverse effects.”
 9   Environmental Defense Fund, 636 F.2d at 1283-84.
10         5.13   Closed PCB systems develop leaks. Another issue in the decision related
11   to the regulation of non-enclosed uses of PCBs, such as “carbonless paper, paints,
12   coatings, soaps, and copying ink toners,” versus so-called “totally enclosed uses” of
13   PCBs such as “transformers, capacitors, and electromagnets.” Environmental Defense
14   Fund, 636 F.2d at 1285. The court ruled against the EPA on this artificial distinction
15   because of something that is also true in this case: “put simply, closed systems develop
16   leaks.” Id. at 1285; see also 1286 (witness “recognized that environmental losses can
17   occur through accidental rupture or leakage.”).
18         5.14   In the years following the ban, the EPA confirmed that PCBs are toxic, may
19   cause reproductive and developmental effects, and may cause tumors (“oncogenic
20   potential”) in people exposed:
21         Health effects. EPA has determined that PCBs are toxic and persistent.
           PCBs can enter the body through the lungs, gastrointestinal tract, and skin,
22         circulate throughout the body, and be stored in the fatty tissue.
23
           Available animal studies indicate an oncogenic potential, the degree            to
24         which would depend on exposure… Further epidemiological research                is
25         needed to correlate human and animal data, but EPA finds no evidence            to
           suggest that the animal data would not predict an oncogenic potential           in
26         humans.
27
           In addition, EPA finds that PCBs may cause reproductive effects,
28         developmental toxicity, and oncogenicity in humans exposed to PCBs.
           Available data show that some PCBs have the ability to alter reproductive
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 1          processes in mammalian species, sometimes even at doses that do not cause
            other signs of toxicity. Animal data and limited available human data
 2
            indicate that prenatal exposure to PCBs can result in various degrees of
 3          developmental toxic effects. Postnatal effects have been demonstrated in
            immature animals following exposure to PCBs prenatally and via breast
 4          milk.
 5
            In some cases chloracne may occur in humans exposed to PCBs. Severe
 6          cases of chloracne are painful and disfiguring, and symptoms may persist
 7          for an extended time…
 8   50 Fed. Reg. 35182, 35183-84 (August 29, 1985).
 9          5.15   The EPA also determined that Monsanto’s PCBs are probable human
10   carcinogens. In 1996, the EPA reassessed PCB carcinogenicity based on data related to
11   Aroclors 1016, 1242, 1254, and 1260. The EPA’s cancer reassessment was peer reviewed
12   by experts on PCBs, including scientists from government, academia, and industry. U.S.
13   EPA. PCBs: Cancer Does-Response Assessment and Application to Environmental
14   Mixtures (1996). U.S. EPA, Office of Research and Development, National Center for
15   Environmental Assessment, Washington Office, Washington, DC, EPA/600/P-96/001F,
16   1996, available at https://cfpub.epa.gov/ncea/risk/recordisplay.cfm?deid=12486 (last
17   accessed November 6, 2017).
18          5.16   This EPA report found that “[j]oint consideration of cancer studies and
19   environmental processes leads to a conclusion that environmental PCB mixtures are
20   highly likely to pose a risk of cancer to humans.” Id. at 57. In addition, “PCBs persist in
21   the body, providing a continuing source of internal exposure after external exposure
22   stops. There may be greater-than-proportional effects from less-than-lifetime exposure,
23   especially for persistent mixtures and for early-life exposure.” Id. at 58-59.
24          5.17   The 1996 EPA report also noted that “PCBs also have significant
25   ecological and human health effects other than cancer, including neurotoxicity,
26   reproductive and developmental toxicity, immune system suppression, liver damage, skin
27   irritation, and endocrine disruption. Toxic effects have been observed from acute and
28   chronic exposures to PCB mixtures with varying chlorine content.” Id. at vi.


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 1           5.18   In 2000, the Agency for Toxic Substances and Disease Registry (ATSDR),
 2   issued a public health statement regarding PCB exposure. It noted that “[s]kin conditions,
 3   such as acne and rashes, may occur in people exposed to high levels of PCBs… Some
 4   studies in workers suggest that exposure to PCBs may also cause irritation of the nose
 5   and lungs, gastrointestinal discomfort, changes in the blood and liver, and depression and
 6   fatigue.” Agency for Toxic Substances and Disease Registry (ATSDR). 2000.
 7   Toxicological profile for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S.
 8   Department of Health and Human Services, Public Health Service, at 4. The public health
 9   statement summarized experimental animal studies finding liver damage, anemia, acne-
10   like skin conditions, stomach injuries, thyroid injuries, kidney damage, impaired immune
11   system function, behavioral alterations, endocrine disruption, and impaired reproduction.
12   Id. at 5.
13           5.19   Children are more vulnerable to PCB exposure. The 2000 ATSDR
14   statement also summarized studies tending to show effects in PCB-exposed children: low
15   birthweight; problems with motor skills; decreases in short-term memory; and effects on
16   the immune system. Id. at 6. The report noted that children are more vulnerable to PCB
17   exposure than adults, although the routes of exposure are the same:
18           Children are exposed to PCBs in the same way as are adults: by eating
             contaminated food, breathing indoor air in buildings that have electrical
19
             devices containing PCBs, and drinking contaminated water. Because of
20           their smaller weight, children’s intake of PCBs per kilogram of body
             weight may be greater than that of adults.
21           …
22           It is possible that children could be exposed to PCBs following transport of
             the chemical on clothing from the parent’s workplace to the home. House
23           dust in homes of workers exposed to PCBs contained higher than average
24           levels of PCBs. PCBs have also been found on the clothing of firefighters
             following transformer fires. The most likely way infants will be exposed is
25           from breast milk that contains PCBs. Fetuses in the womb are also exposed
26           from the exposed mother.
             .…
27           Because the brain, nervous system, immune system, thyroid, and
28           reproductive organs are still developing in the fetus and child, the effects of
             PCBs on these target systems may be more profound after exposure during

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 1          the prenatal and neonatal periods, making fetuses and children more
            susceptible to PCBs than adults.
 2
 3   Id. at 5-6. In addition, “Younger children may be particularly vulnerable to PCBs
 4   because, compared to adults, they are growing more rapidly and generally have lower and
 5   distinct profiles of biotransformation enzymes, as well as much smaller fat deposits for
 6   sequestering the lipophilic PCBs.” Id. at 381.
 7          5.20   Children are not small adults. The ATSDR toxicological profile for PCBs
 8   reiterated these developmental concerns while cautioning against the fallacy that children
 9   possess the same level of resilience to toxic exposure as adults: “Children are not small
10   adults… Children also have a longer remaining lifetime in which to express damage from
11   chemicals; this potential is particularly relevant to cancer.” Id. at 380-81.
12          5.21   Workplace PCB exposure can contaminate homes. The ATSDR
13   statement reiterated that workplace exposure to PCBs can result in the worker’s home
14   becoming contaminated with PCBs: “If you are exposed to PCBs in the workplace, it
15   may be possible to carry them home from work… If this is the case, you should shower
16   and changing clothing before leaving work, and your work clothes should be kept
17   separate from other clothes and laundered separately.” Id. at 7.
18          5.22   PCB exposure and cardiovascular damage. A 2011 ATSDR addendum
19   to the toxicological profile for PCBs reported on more recent research, including animal
20   studies showing cardiovascular damage following PCB exposure. Agency for Toxic
21   Substances and Disease Registry (ATSDR). 2011. Addendum to the toxicological profile
22   for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S. ATSDR, Division of
23   Toxicology and Environmental Medicine, at 1.
24          5.23   PCB exposure and type 2 diabetes. The 2011 addendum reported research
25   that “PCB exposure was strongly related to prevalence of type 2 diabetes mellitus.” Id. at
26   2-3.
27          5.24   PCB exposure and deficient immune function. The 2011 addendum
28   reported research “suggesting possible impaired immunologic development” in children,


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 1   and the results of another study that “implied that exposure to PCBs is a possible cause of
 2   deficient immune function in children.” Id. at 4.
 3          5.25   PCB exposure and neurodegenerative diseases. The 2011 addendum
 4   reported other research “that exposure to PCBs likely has an effect on neurodegenerative
 5   diseases for women but not men,” including amyotrophic lateral sclerosis (ALS, also
 6   known as motor neuron disease), Parkinson’s disease, and dementia. Id. at 4.
 7          5.26   PCB exposure and neurobehavioral effects, anxiety. The 2011
 8   addendum reported animal studies research “that exposure to PCBs may exert anxiogenic
 9   behavior.” Id. at 5. An anxiogenic substance is one that causes anxiety.
10          5.27   PCB exposure and central nervous system effects. The 2011 addendum
11   reported animal studies research showing inhibited and depressed central nervous system
12   effects following PCB exposure. Id. at 5-6.
13          5.28   PCB exposure and children’s permanent teeth. The 2011 addendum
14   reported human studies showing “a dose-response relationship between PCB exposure
15   and development enamel defects of permanent teeth in children.” Id. at 7.
16          5.29   PCB exposure and sexual development. The 2011 addendum reported
17   human studies research showing impaired sexual development, including a positive
18   association between high total PCB concentrations and cryptorchidism (undescended
19   testicles) in boys. Another study “suggested that even low levels of PCBs had a robust
20   negative impact on gonadal hormones in newborns.” Id. at 7-8. Another study of girls
21   exposed to PCBs “suggested that even at low levels of estrogenic PCBs, the time to
22   menarche attainment was decreased,” and the “median age at menarche for this cohort
23   (138 girls) was 12.2 years.” Id. at 9. Another study found “that exposure to certain PCB
24   congeners may interfere with human reproductive development” in both boys and girls.
25   Id. at 9. Animal studies also found “dose-related prolongation of the estrous cycle in
26   female offspring,” and “changes in body weight, body length, tail length, and weights of
27   kidneys, testes, ovaries, and uterus.” Id. at 9.
28          5.30   Broad spectrum of effects. A 2014 ATSDR publication stated that


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 1   occupational exposure to PCBs can result in a “broad spectrum of effects that includes
 2   increased levels of some liver enzymes, with possible hepatic damage, chloracne and
 3   related dermal lesions, and respiratory problems.” Agency for Toxic Substances and
 4   Disease Registry (ATSDR). 2014. Case Studies in Environmental Medicine:
 5   Polychlorinated Biphenyls (PCBs) Toxicity. Atlanta, GA: U.S. Depart. of Health and
 6   Human Services, at 39, available at https://www.atsdr.cdc.gov/csem/csem.asp?csem=30&po=10,
 7   last visited on November 7, 2017. The following information references this 2014
 8   ATSDR publication.
 9          5.31     Acute exposure to PCBs. Signs and symptoms of acute exposure to PCBs
10   can include chloracne, eye irritation, nausea, vomiting, and elevated liver enzymes and
11   altered liver function. Id.at 55-56.
12          5.32     Chronic exposure to PCBs. Signs and symptoms of chronic exposure to
13   PCBs can include abdominal pain, anorexia, jaundice, nausea, vomiting, weight loss,
14   uroporphyria, headache, dizziness, and edema. Id. at 56-57.
15          5.33     Toxic responses to PCBs. Animal studies have shown that “commercial
16   PCBs elicit a broad range of toxic responses including:
17                      Acute lethality,
18                      Body weight loss,
                        Carcinogenesis,
19                      Dermal toxicity,
20                      Fatty liver,
                        Genotoxicity,
21                      Hepatomegaly,
22                      Immunosuppressive effects,
                        Neurotoxicity,
23
                        Porphyria,
24                      Reproductive and developmental toxicity,
25                      Thymic atrophy, and
                        Thyroid hormone-level alterations.”
26   Id. at 39-40.
27          5.34     Dermatological effects. “Conclusive evidence that exposure to PCBs
28   induces adverse dermal effects in humans exists”:


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 1          Chloracne and related dermal lesions have been reported in workers
            occupationally exposed to PCBs.
 2
            …
 3          The chin, periorbital, and malar areas are most often involved, although
            lesions might also appear in areas not usually affected by acne vulgaris
 4          (e.g., the chest, arms, thighs, genitalia, and buttocks). The most distinctive
 5          lesions are cystic and measure 1-10 mm, although comedonal lesions can
            also be present.
 6          …
 7          Chloracne generally indicates systemic toxicity and can be caused by not
            only dermal contact but also ingestion of PCBs… Chloracne typically
 8          develops weeks or months after exposure. The lesions are often refractory
 9          to treatment and can last for years or decades.
10          In addition to chloracne, other dermal effects noted some PCB-exposed
11          workers include pigmentation disturbances of skin and nails, erythema and
            thickening of the skin, and burning sensations.
12
     Id. at 41-42 (internal citations omitted).
13
            5.35   Reproductive and developmental effects. “Reproductive function may be
14
     disrupted by exposure to PCBs,” and “neurobehavioral and development deficits have
15
     been reported in newborns exposed to PCBs in utero.” Id. at 45. Children born to women
16
     exposed to PCBs exhibited statistically significant decreases in gestational age, birth
17
     weight, and head circumference. Id. at 43. Higher levels of PCB exposure correlated with
18
     weaker reflexes, greater motor immaturity, and more pronounced startle responses. Id. at
19
     43-44. Follow-up studies of the children of that cohort “demonstrated that the effects of
20
     perinatal exposure to PCBs are persistent.” Id. at 44. At four years of age, the children
21
     still had deficits in weight gain, depressed responsiveness, and reduced performance on
22
     the visual recognition memory test. Id. at 44. “At 11 years of age, the children of highly
23
     exposed mothers were three times more likely than controls to have low full-scale IQ
24
     scores; twice as likely to lag behind at least 2 years in reading comprehension; and more
25
     likely to have difficulty paying attention.” Id. at 44 (internal citation omitted).
26
            5.36   Endocrine effects. “The epidemiological studies suggest a link between
27
     exposure to PCBs and thyroid hormone toxicity in humans.” Id. at 46. “Thyroid
28
     hormones are essential for normal behavioral, intellectual, and neurologic development.

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 1   Thus, the deficits in learning, memory, and attention processes among the offspring of
 2   women exposed to PCBs are partially or predominantly mediated by alterations in
 3   hormonal binding to the thyroid hormone receptor.” Id. “Recent studies in populations
 4   exposed to PCBs and chlorinated pesticides found a dose-dependent elevated risk of
 5   diabetes.” Id.
 6          5.37      Hepatic effects. “Although liver damage is common in animals exposed to
 7   PCBs, overt hepatotoxicity is uncommon in humans. Exposure to PCBs can increase
 8   serum levels of hepatic enzymes and can induce microsomal enzyme function.” Id. at
 9   46-48.
10          5.38      Neurological effects. Adults exposed to PCBs have been shown to have
11   significantly greater motor retardation; poorer results on certain memory and attention
12   tests; and higher scores on standardized confusion scale than did control adults. Id. at 51.
13          5.39      Additional adverse effects. “Occupational and epidemiologic studies have
14   suggested or demonstrated other adverse health effects from exposure to PCBs,”
15   including cardiovascular, gastrointestinal, genetic, immune, musculoskeletal, and
16   neurological systems. Id. at 51-52.
17          5.40      Additional signs and symptoms. The ATSDR “advises patients to consult
18   their physicians if they develop signs or symptoms of PCB exposure such as: appetite
19   loss; joint pain; nausea; skin disorders, changes, or discoloration; breast changes or
20   lumps; and/or stomach distress and pain.” Id. at 68.
21          5.41      Highly toxic PCDDs and PCDFs. “Occupational exposure to PCBs may
22   be accompanied by exposure to chlorinated dibenzodioxin and dibenzofuran
23   contaminants, which are much more toxic than PCBs in comparative animal studies.
24   These substances can cause chronic fatigue and elevated liver enzymes.” Id. at 57.
25          5.42      PCBs are a “probable human carcinogen.” The Department of Health
26   and Human Services and the Environmental Protection Agency “consider PCBs a
27   probable human carcinogen.” Id. at 51. In addition, and “on the basis of sufficient
28   evidence of carcinogenicity in humans and experimental animals, the IARC


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 1   [International Agency for Research on Cancer] classified PCBs as carcinogenic to
 2   humans.” Id. PCB exposure has been linked to cancers of the liver, gallbladder, biliary
 3   tract, brain, stomach, intestinal, thyroid, myeloma (cancer of plasma cells, which can
 4   damage the bones, immune system, kidneys, and red blood cell count), non-Hodgkin
 5   lymphoma (a cancer that starts in the lymphatic system), and the skin, such as malignant
 6   melanomas. Id. at 48-50. In addition, “data from animal studies have shown that PCBs
 7   cause gastrointestinal tract tumors, hepatocarcinomas, leukemia, lymphomas, and
 8   pituitary tumors.” Id. at 50.
 9           5.43   IARC: “PCBs are carcinogenic to humans.” In 2016, the International
10   Agency for Research on Cancer published an assessment on the carcinogenicity of PCBs.
11   International Agency for Research on Cancer. IARC monographs on the evaluation of
12   carcinogenic risks to humans, volume 107. Polychlorinated and Polybrominated
13   Biphenyls (2016), available at http://monographs.iarc.fr/ENG/Monographs/vol107/index.php (last
14   accessed November 6, 2017. The IARC report concluded, “There is sufficient evidence in
15   humans for the carcinogenicity of polychlorinated biphenyls (PCBs). PCBs cause
16   malignant melanoma. Positive associations have been observed for non-Hodgkin
17   lymphoma and cancer of the breast... PCBs are carcinogenic to humans.” Id. at 439
18   (emphasis in original).
19           5.44   Wide range of cancers and lesions. Animal and human studies show
20   associations between PCB exposure and other cancers and lesions not specifically
21   enumerated above. These can include prostate cancer, testicular cancer, pancreatic
22   cancer, lung cancer, mouth cancer, uterine cancer, and non-neoplastic lesions of the liver,
23   thyroid gland, ovary, oviduct, uterus, lung, adrenal cortex, pancreas, kidney, heart,
24   thymus, spleen, clitoral gland, mesenteric artery, oral mucosa, bone marrow, and bladder.
25   See, e.g., Agency for Toxic Substances and Disease Registry (ATSDR). 2011. Addendum
26   to the toxicological profile for polychlorinated biphenyls (PCBs). Atlanta, GA: U.S.
27   ATSDR, Division of Toxicology and Environmental Medicine, at 10-14.
28      C.     Monsanto knew PBCs were toxic, but promoted them without warnings.


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 1         5.45    “Monsanto was well aware of scientific literature published in the 1930s
 2   that established that inhalation of PCBs in industrial settings resulted in toxic systemic
 3   effects in humans.” State of Washington’s Complaint for Damages against Monsanto, p.
 4   12, ¶ 49, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
 5         5.46    A 1937 Monsanto memorandum advised that “Experimental work in
 6   animals shows that prolonged exposure to Aroclor vapors evolved at high temperatures or
 7   by repeated oral ingestion will lead to systemic toxic effects. Repeated bodily contact
 8   with the liquid Aroclors may lead to an acne-form skin eruption.” Id. at ¶ 50; see Sky
 9   Valley Complaint, Exhibit B (from City of Spokane v. Monsanto Co., Case 2:15-cv-
10   00201-SMJ, ECF No. 1-2 (E.D. Wash. July 31, 2015), MONS 061332).
11         5.47    A 1955 memorandum entitled “AROCLOR TOXICITY” by Monsanto
12   Medical Director Emmet Kelly summarized Monsanto’s position on PCB toxicity: “We
13   know Aroclors are toxic but the actual limit has not been precisely defined. It does not
14   make too much difference, it seems to me, because our main worry is what will happen if
15   an individual develops any type of liver disease and gives a history of Aroclor exposure. I
16   am sure the juries would not pay a great deal of attention to MACs [maximum allowable
17   concentrates].” State of Washington’s Complaint for Damages against Monsanto, p. 12, ¶
18   51, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky Valley
19   Complaint, Exhibit C (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
20   ECF No. 1-3 (E.D. Wash. July 31, 2015), MONS 095196-97) at 2.
21          5.48   A 1955 “CONFIDENTIAL” memorandum by Monsanto’s Medical
22   Department stated that workers should not be allowed to eat lunch in the Aroclor
23   department. Three reasons were provided, including the fact that “Aroclor vapors and
24   other process vapors could contaminate the lunches unless they were properly protected.”
25   See Sky Valley Complaint, Exhibit D (from City of Spokane v. Monsanto Co., Case 2:15-
26   cv-00201-SMJ, ECF No. 1-4 (E.D. Wash. July 31, 2015) at 2.
27         5.49    In addition, after noting that “the chance of contaminating hands and
28   subsequently contaminating the food is a definite possibility,” the Medical Department


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 1   stated that
 2            It has long been the opinion of the Medical Department that eating in
              process departments is a potentially hazardous procedure that could lead to
 3
              serious difficulties. While the Aroclors are not particularly hazardous from
 4            our own experience, this is a difficult problem to define because early
              literature work claimed that chlorinated biphenyls were quite toxic
 5            materials by ingestion or inhalation. In any case where a workman
 6            claimed physical harm from any contaminated food, it would be extremely
              difficult on the basis of past literature reports to counter such claims.
 7
 8   Id. (emphasis added); see also State of Washington’s Complaint for Damages against
 9   Monsanto, pp. 12-13, ¶ 52, Case No. 16-2-29591-6, King County Superior Court (Dec. 8,
10   2016).
11            5.50   A 1957 internal memorandum by Monsanto Medical Director Emmet Kelly
12   reported that, after it conducted its own tests, the U.S. Navy decided against using
13   Monsanto’s Aroclors: “No matter how we discussed the situation, it was impossible to
14   change their thinking that [Aroclor-containing] Pydraul 150 is just too toxic for use in a
15   submarine.” State of Washington’s Complaint for Damages against Monsanto, p. 13, ¶
16   53, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky Valley
17   Complaint, Exhibit E (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
18   ECF No. 1-5 [E.D. Wash. July 31, 2015]) at 2.
19            5.51   Therefore, by the 1950s, Monsanto knew that its PCBs a/k/a “Aroclors are
20   toxic but the actual limit has not been precisely defined.” Supra at ¶ V.C.3. Perhaps
21   reflecting on this, Monsanto’s Medical Director Kelly made the reasonable observation
22   that “juries would not pay a great deal of attention” to exposure limits set by the industry.
23   Id. This is reasonable because so-called exposure limits have not been based on human
24   subject testing, which would be unethical. Instead, the industry extrapolated so-called
25   human exposure limits from laboratory tests of small mammals like rats, guinea pigs,
26   rabbits, and dogs, who have a limited ability to report or demonstrate complaints
27   following PCB exposure before dying—or being killed—and then dissected for the
28   pathological examination of lesions. See, e.g., Exhibits L and R. Regardless, Monsanto


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 1   also knew that “early literature work claimed that chlorinated biphenyls were quite toxic
 2   materials by ingestion or inhalation.” Supra at ¶ V.C.5.
 3          5.52   In 1966 or 1967, Monsanto Medical Director Emmet Kelly reviewed a
 4   scientific presentation by University of Stockholm researcher Soren Jensen, who stated
 5   that PCBs “appear to be the most injurious chlorinated compounds of all tested.” See Sky
 6   Valley Complaint, Exhibit F (from City of Spokane v. Monsanto Co., Case 2:15-cv-
 7   00201-SMJ, ECF No. 1-6 [E.D. Wash. July 31, 2015]), at JDGFOX00000038 (at
 8   bottom). Researcher Jensen referred to a 1939 study associating PCBs with the deaths of
 9   three young workers and concluding that “pregnant women and persons who have at any
10   time had any liver disease are particularly susceptible.” Id. at JDGFOX00000039.
11   Monsanto Medical Director Kelly did not dispute the researcher’s remarks, noting in the
12   1967 letter to the Research Division of National Cash Register, that “As far as the section
13   on toxicology is concerned, it is true that chloracne and liver trouble can result from large
14   doses.” Id. at JDGFOX00000037; see also State of Washington’s Complaint for
15   Damages against Monsanto, p. 13, ¶ 54, Case No. 16-2-29591-6, King County Superior
16   Court (Dec. 8, 2016). Medical Director Kelly did not define the term “large doses.”
17          5.53   By the latter half of the 1960s, Monsanto became aware that PCBs were
18   causing widespread contamination of the environment. See Sky Valley Complaint,
19   Exhibits G, H, and L (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
20   ECF No. 1-7, 1-8, 1-13 [E.D. Wash. July 31, 2015]); see also State of Washington’s
21   Complaint for Damages against Monsanto, p. 14, Case No. 16-2-29591-6, King County
22   Superior Court (Dec. 8, 2016).
23          5.54   Despite the growing evidence of harm caused to living things by PCB
24   contamination, Monsanto remained steadfast in its production of PCBs. See State of
25   Washington’s Complaint for Damages against Monsanto, p. 19, ¶ 60, Case No. 16-2-
26   29591-6, King County Superior Court (Dec. 8, 2016).
27          5.55   In March of 1969, Monsanto employee W.M. Richard wrote a
28   memorandum entitled “AROCLOR WILDLIFE ACCUSATIONS” to Monsanto


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 1   employee Elmer Wheeler. See Sky Valley Complaint, Exhibit I (from City of Spokane v.
 2   Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-9 [E.D. Wash. July 31, 2015]),
 3   Bates No. MONS 096509-11. In the memorandum, Richard responded to a 1968 article
 4   in Nature criticizing PCBs as being (in Richard’s paraphrasing) “a pollutant… a toxic
 5   substance—with no permissible allowable levels… [and] a toxic substance endangering
 6   man himself, implying that the [extinction] of the peregrine falcon is a leading indicator
 7   of things to come.” Id. at MONS 096509. Richard also responded to a 1969 article in
 8   Science regarding the Environmental Defense Fund’s legal strategy, which Richard
 9   summarized in part by writing that
10         These people at EDF are saying we must not put stress on any living thing
           through a change in air or water environment. Eagles, plant life, anything
11
           which lives or breathes. This group is pushing hard on the extension of the
12         word harmful. They claim ‘enzyme inducer’ activity is the real threat of
           DDT and PCB’s and are using these arguments to prove that very small
13
           amounts of chlorinated hydrocarbons are ‘harmful.’
14
15   Id. (emphasis in original). Richards also explained that Monsanto could take steps to
16   reduce PCB releases from its own factories, but he cautioned that “It will be still more
17   difficult to control other end uses such as cutting oils, adhesives, plastics, and NCR
18   paper. In these applications, exposure to consumers is greater and the disposal problem
19   becomes complex.” Id. at MONS 096510; see also State of Washington’s Complaint for
20   Damages against Monsanto, pp. 14-15, Case No. 16-2-29591-6, King County Superior
21   Court (Dec. 8, 2016).
22         5.56   During this time period, “the coordination of the Division effort has been
23   principally the responsibility W.R. Richard and E.P. Wheeler with support from R.E.
24   Keller and Cumming Paton.” See Sky Valley Complaint, Exhibit M (from City of
25   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-13 [E.D. Wash. July 31,
26   2015]), Bates No. DSW 014623.
27         5.57   In September of 1969, Monsanto employee W.R. Richard wrote an
28   interoffice memorandum entitled “DEFENSE OF AROCLOR.” See Sky Valley


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 1   Complaint, Exhibit J (from City of Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ,
 2   ECF No. 1-10 [E.D. Wash. July 31, 2015]), Bates No. DSW 014256-63. The
 3   memorandum set out Monsanto’s general policy on defending litigation against the
 4   public: “Make the Govt., States and Universities prove their case.” The memorandum
 5   acknowledged, however, that Monsanto
 6         can’t defend vs. everything. Some animals or fish or insects will be
           harmed. Aroclor degradation rate will be slow. Tough to defend against.
 7
           Higher chlorination compounds will be worse [than] lower chlorine
 8         compounds. Therefore we will have to restrict uses and clean-up as much
           as we can, starting immediately.
 9
10   Id. at DSW 014256 (emphasis added). Based on this, Monsanto knew by the late 1960s
11   that “some animals or fish or insects will be harmed” in the general environment, where
12   PCB contamination is low and diffuse—as opposed to PCB contamination in a more
13   enclosed space such as a classroom, as shown below. The 1969 memorandum also
14   outlined Monsanto’s plans for challenging scientific studies of the toxicity of PCBs:
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24   Id. at DSW 014256. The memorandum also outlined Monsanto’s own plans for chronic
25   toxicity studies using animals. Id. at DSW 014262-63; see also State of Washington’s
26   Complaint for Damages against Monsanto, p. 15, ¶ 60, Case No. 16-2-29591-6, King
27   County Superior Court (Dec. 8, 2016).
28         5.58   In January of 1970, Elmer Wheeler of Monsanto’s Medical Department


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 1   circulated laboratory results of its animal studies. The memorandum was entitled “Status
 2   of Aroclor Toxicological Studies.” See Sky Valley Complaint, Exhibit K (from City of
 3   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-11 [E.D. Wash. July 31,
 4   2015]), Bates No. MONS 098480. Wheeler stated, “Our interpretation is that the PCBs
 5   are exhibiting a greater degree of toxicity in this chronic study than we had
 6   anticipated. Secondly, although there are variations depending on species of animals, the
 7   PCBs are about the same as DDT in mammals.” Id. (emphasis added).
 8         5.59   Monsanto expressed a desire to keep profiting from PCBs despite the
 9   research showing PCB toxicity. See Sky Valley Complaint, Exhibit A. In the “PCB
10   Presentation to Corporate Development Committee,” Monsanto stated that “Do[ing]
11   nothing was considered unacceptable from a legal, moral, customer, public relations &
12   company policy viewpoint.” Id. at MONS 058737. But the alternative of stopping PCB
13   production and promotion, and instead going out of the Aroclor business, “was
14   considered unacceptable from a Divisional viewpoint… there is too much
15   customer/market need and selfishly too much Monsanto profit to go out.” Id.
16         5.60   Monsanto formed an internal Aroclor Ad Hoc Committee whose objectives,
17   “agreed to by the Committee,” were to “submit recommendations for action which will:
18   1. Permit continued sales and profits of Aroclors and Terphenyls. 2. Permit continued
19   development of uses and sales. 3. Protect image of Organic Division and of the
20   Corporation.” State of Washington’s Complaint for Damages against Monsanto, pp. 15-
21   16, ¶ 62, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016); see Sky
22   Valley Complaint, Exhibit L (from City of Spokane v. Monsanto Co., Case 2:15-cv-
23   00201-SMJ, ECF No. 1-12 [E.D. Wash. July 31, 2015]), Bates No. MONS 030483-86
24   (“CONFIDENTIAL MINUTES OF AROCLOR ‘AD HOC’ COMMITTEE”). Monsanto
25   set these business objectives despite knowing that PCBs had been found in the
26   environment, wildlife, and the food chain, as PCBs “may be a global contaminant.” Id. In
27   these confidential minutes, Monsanto recognized the problem of PCB “environmental
28   contamination by customers.” Id. at MONS 030485 (“Our in-plant problems are very


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 1   small vs. problems of dealing with environmental contamination by customers.”).
 2          5.61   In October of 1969, Monsanto’s Aroclor “Ad Hoc” Committee issued its
 3   confidential report. See Sky Valley Complaint, Exhibit M (from City of Spokane v.
 4   Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-13 [E.D. Wash. July 31, 2015]),
 5   Bates No. DSW 014612-24. The committee reported environmental PCB contamination
 6   causing the killing of marine species and the possible extinction of several species of
 7   birds. Id. at DSW 014615. In addition, “the committee believes that there is no possible
 8   practical course of action that can so effectively police the uses of these products as to
 9   prevent completely some environmental contamination.” Id.                (underscore           and
10   strikethrough in original). The report outlined a plan to protect Monsanto’s corporate
11   interests: “There are, however a number of possible actions which must be undertaken in
12   order to prolong the manufacture, sale, and use of these particular Aroclors as well as to
13   protect the continued use of other members of the Aroclor series.” Id. (strikethrough and
14   underscore in original).
15          5.62   The committee offered recommendations, including notifying PCB
16   “customers of environmental contamination problems.” Id. at DSW 014616. The basis for
17   the recommendation, in part, concerned reports of PCB environmental contamination and
18   Monsanto’s knowledge of the mechanisms of PCB releases:
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 1   Id. at DSW 014618.
 2          5.63     Despite the environmental damage caused by its PCB products, Monsanto
 3   was clearly concerned about losing the production of PCBs and the associated “sales of
 4   this very profitable series of compounds”:
 5
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14   Id. at DSW 014624.
15          5.64     Therefore, by 1970, the escape of PCBs into surrounding environments and
16   the resulting contamination was not only reasonably foreseeable, but the problem was
17   known to Monsanto. In addition, the escape of Monsanto’s PCBs by PCB customers and
18   users into surrounding environments was not only reasonably foreseeable, but was known
19   to Monsanto. See also State of Washington’s Complaint for Damages against Monsanto,
20   pp. 23-24, ¶ 99, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
21          5.65     By 1970, Monsanto also knew that its PCBs exhibited a greater degree of
22   toxicity than Monsanto previously anticipated. Supra at ¶ V.C.14.
23          5.66     Despite this knowledge, Monsanto chose not to warn its customers and the
24   public regarding the human health dangers of Monsanto’s PCBs. Any statements made
25   by Monsanto in that regard have been insufficient to convey the actual dangers posed by
26   PCBs. Instead, Monsanto’s efforts were and continue to be focused on protecting its own
27   profits.
28          5.67     An interoffice memorandum circulated in February of 1970 that provided


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 1   talking points for discussions by Monsanto representatives with PCB customers.
 2   Monsanto informed its PCB representatives that Monsanto “can’t afford to lose one
 3   dollar of business.” To that end, Monsanto stated, “We want to avoid any situation where
 4   a customer wants to return fluid… We would prefer that the customer use up his current
 5   inventory and purchase [new products] when available. He will then top off with the new
 6   fluid and eventually all Aroclor 1254 and Aroclor 1260 will be out of his system. We
 7   don’t want to take fluid back.” See Sky Valley Complaint, Exhibit N (from City of
 8   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-14 [E.D. Wash. July 31,
 9   2015]), at 2 (emphasis in original); see also State of Washington’s Complaint for
10   Damages against Monsanto, p. 17, ¶ 67, Case No. 16-2-29591-6, King County Superior
11   Court (Dec. 8, 2016).
12         5.68   In roughly this same time period, Monsanto advised public officials that
13   Monsanto’s PCBs “are not particularly toxic by oral ingestion or skin absorption” and
14   “infrequent exposure to PCB vapor should not cause ill effects.” See Sky Valley
15   Complaint, Exhibits O and P (from City of Spokane v. Monsanto Co., Case 2:15-cv-
16   00201-SMJ, ECF No. 1-15, 1-16 [E.D. Wash. July 31, 2015]); see also State of
17   Washington’s Complaint for Damages against Monsanto, p. 20, ¶ 76, Case No. 16-2-
18   29591-6, King County Superior Court (Dec. 8, 2016) (“While the scientific community
19   and Monsanto knew that PCBs were toxic and becoming a global contaminant, Monsanto
20   repeatedly mispresented these facts, telling governmental entities the exact opposite—
21   that the compounds were not toxic and that the company would not expect to find PCBs
22   in the environment in a widespread manner.”).
23         5.69   Monsanto also offered the message to a member of Congress that Monsanto
24   “cannot conceive how the PCBs can be getting into the environment in a widespread
25   fashion.” See Sky Valley Complaint, Exhibits Q (from City of Spokane v. Monsanto Co.,
26   Case 2:15-cv-00201-SMJ, ECF No. 1-17 [E.D. Wash. July 31, 2015]); see also State of
27   Washington’s Complaint for Damages against Monsanto, p. 21, ¶ 79, Case No. 16-2-
28   29591-6, King County Superior Court (Dec. 8, 2016).


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 1          5.70   Monsanto also represented to another governmental official that “Based on
 2   available data, manufacturing and use experience, we do not believe the polychlorinated
 3   biphenyls to be seriously toxic.” See Sky Valley Complaint, Exhibit R (from City of
 4   Spokane v. Monsanto Co., Case 2:15-cv-00201-SMJ, ECF No. 1-18 [E.D. Wash. July 31,
 5   2015]) at 3; see also State of Washington’s Complaint for Damages against Monsanto, p.
 6   21, ¶ 80, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
 7          5.71   Clearly, Monsanto’s knowledge of PCB toxicity deepened between the
 8   1930s and the 1970s. Despite its knowledge of PCB toxicity, Monsanto intentionally
 9   produced and promoted PCBs “for use in a wide range of industrial and household goods,
10   including electrical equipment, paint, sealants, food cookers, furnaces, floor wax,
11   insecticides, lubricants, moisture-proof coatings, papers, asphalt, leather adhesive, and
12   stucco.” City of Seattle v. Monsanto Co., 237 F. Supp. 3d 1096, 1100 (W.D. Wash. 2017).
13          5.72   “Though Monsanto was aware of PCBs’ toxicity and propensity to leach, it
14   denied or misrepresented those facts to government investigators. Monsanto continued to
15   manufacture, promote, and profit from its PCBs.” Id. (internal citations omitted) (holding
16   that Seattle’s claims against Monsanto for public nuisance and equitable indemnity are
17   not preempted by Washington’s Product Liability Act (WPLA); Seattle’s common law
18   product liability claims are not preempted by WPLA to the extent they arose on or before
19   1981; Seattle’s claims are not time-barred; Seattle stated a claim for public nuisance,
20   the court rejecting Monsanto’s argument that any intervening acts of third parties
21   cut off proximate causation, because such acts were foreseeable; Seattle lacked
22   standing to bring product liability claims; Seattle stated a claim for negligence; and
23   Seattle failed to allege facts supporting its claim for equitable indemnity).
24          5.73   Monsanto intentionally failed to warn customers and the public regarding
25   the toxicity and hazards of its PCB products. See, e.g., Nevada Power Co. v. Monsanto
26   Co., 955 F.2d 1304, 1306-07 (9th Cir. 1992) (“Nevada Power discovered internal
27   documents of the Manufacturers which Nevada Power contends show that the
28   Manufacturer’s understanding of the dangers of PCBs in the 1960s and early 1970s was


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 1   much more advanced than the general state of knowledge in the scientific community”)
 2   (holding, in part, that it was a fact question as to whether Nevada Power’s fraud and
 3   failure to warn claims were barred by the Nevada statute of limitations).
 4            5.74   Monsanto’s PCBs were not reasonably safe in construction because they
 5   were unsafe—"extremely toxic”—to an extent beyond that which would be contemplated
 6   by an ordinary consumer. The extreme toxicity of Monsanto’s PCBs was a proximate
 7   cause of Plaintiffs’ damages.
 8            5.75   Monsanto’s PCBs were not reasonably safe as designed under a balancing
 9   test or under a consumer expectations test, which was a proximate cause of Plaintiffs’
10   damages.
11            5.76   Monsanto’s PCBs were an unavoidably unsafe product, which was a
12   proximate cause of Plaintiffs’ damages.
13            5.77   Monsanto’s PCBs were not reasonably safe due to inadequate warnings
14   when manufactured or after manufacture.
15            5.78   Any Monsanto warnings to the non-Monsanto parties in this case at the
16   time of manufacture regarding the extreme toxicity of PCBs, were inadequate and a
17   proximate cause of Plaintiffs’ damages.
18            5.79   Any Monsanto warnings to the non-Monsanto parties in this case after
19   manufacture—and up to the present day—regarding the extreme toxicity of Monsanto’s
20   PCBs, have been inadequate, which was a proximate cause of Plaintiffs’ damages.
21            5.80   Due to their extreme toxicity, Monsanto’s PCBs never had a “useful safe
22   life.”
23            5.81   Monsanto had actual knowledge of the defect and the danger of its PCBs,
24   but showed complete indifference or conscious disregard for the safety of others by
25   producing and promoting PCBs anyway.
26      D.    PCB-caulking and PCB-light ballasts cause PCB-contamination.
27            5.82   Monsanto manufactured PCBs that were incorporated by Monsanto’s
28   customers as plasticizers in caulking, paints, and sealants. In these forms, Monsanto’s


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 1   PCBs were used in interior and exterior windows, doors, and masonry joints.
 2          5.83   Even today, caulking with high PCB levels are usually still flexible and
 3   often largely intact.
 4          5.84   PCB-caulking emits PCBs, which migrate into the air and nearby materials,
 5   including adjoining wood, cement, and brick; air and dust inside schools; soil near school
 6   buildings, and other materials and furnishing.
 7          5.85   The following information comes from a publication of the United States
 8   Environmental Protection Agency (2014, pp. 7-9). Thomas, K. (2014). PCBs in school
 9   buildings: sensible steps to healthier school environments. Washington, DC: U.S. EPA
10   Office of Research and Development.
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                          PCB Sources – Caulk and Other Sealants

                                          U.S. Production of Aroclors as a plasticizer ingredient
                                               1958 - 4 million lbs.
                                               1969 - 19 million lbs.
                                               1971 – 0 lbs.


                                          PCBs were sometimes added to caulk during construction


                                          Used
                                           U d ffor
                                               Exterior and interior windows and doors
                                               Exterior and interior joints
                                               Window glazing
                                               Other locations/seams (plumbing, casework, etc.)


                                          Caulk with PCBs > 50 parts per million (ppm) is not an
                                           allowed use


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                          PCB Sources – Caulk and Other Sealants

                                          In several northeastern schools:

                                              18% of 427 interior caulk/sealant samples >50 ppm PCBs
                                              6% of interior samples >100,000 ppm (10% by weight)

                                              63% of 73 exterior caulk/sealant samples >50 ppm PCBs
                                              34% of exterior samples >100,000 ppm

                                              Highest level was 440,000 ppm PCBs (44% by weight)


                                          We e have
                                                 a e found
                                                      ou d that  caulk with high
                                                              a cau           g PCB
                                                                                 C levels
                                                                                    e e s iss usually
                                                                                              usua y sstill
                                           flexible and often largely intact


                                          Visual identification of caulk with PCBs is not reliable




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                          PCB Sources – Caulk and Other Sealants

                                          PCBs in caulk/sealants move over time into:
                                               Adjoining wood, cement, brick
                                               Air and dust inside schools
                                               Soil near school buildings
                                                                         g
                                               Other materials/furnishings

                                          Emissions of PCBs into the air can be quite substantial
                                               Emissions can create indoor air levels above
                                                recommended concentrations
                                               As the temperature increases, emissions increase
                                                                    p
                                               Ventilation is an important factor

                                          Although installed 40 – 60 years ago, high PCB levels
                                           remain and emissions will continue far into the future

                                          Other PCB sources, like coatings and paints, will act much
                                           like caulk in releasing PCBs into the environment

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 1          5.86   As stated by the EPA (supra, p. 9), PCB-caulking and other sealants in
 2   school buildings can create indoor air levels above recommended concentrations. In
 3   addition, “high PCB levels remain and emissions will continue far into the future.” Id.
 4          5.87   Monsanto’s PCBs were also produced and promoted as components of
 5   electrical equipment such as transformers, motor start capacitors, and lighting ballasts.
 6          5.88   “Commercial PCB mixtures vary from colorless to dark brown oils, and
 7   from viscous liquids to sticky resinous semisolids. Although PCBs evaporate slowly at
 8   room temperature, the volatility of PCBs increases dramatically with even a small rise in
 9   temperature. Equipment that contains PCBs can overheat and vaporize significant
10   quantities of these compounds, creating an inhalation hazard that can be magnified by
11   poor ventilation” (ATSDR, 2014, p. 25).
12          5.89   As stated by the State of Washington, “PCBs easily migrate or volatilize
13   out of their original source material or enclosure and contaminate environmental media
14   such as air, soil, stormwater, and sediment. For example, PCB compounds volatilize out
15   of building materials (such as caulk) and into the surrounding environment. PCBs
16   can also escape from totally enclosed materials (such as light ballasts) and similarly
17   contaminate and damage the environment.” State of Washington’s Complaint for
18   Damages against Monsanto, p. 9, ¶ 37, Case No. 16-2-29591-6, King County Superior
19   Court (Dec. 8, 2016) (emphasis added).
20          5.90   As stated by the State of Washington, “PCBs present serious risks to the
21   health of humans… Humans may be exposed to PCBs through ingestion, inhalation, and
22   dermal contact. Individuals may inhale PCBs that are emitted into the air. They may also
23   ingest PCBs that are emitted into air and settle onto surfaces that come into contact with
24   food or drinks. And they may absorb PCBs from physical contact with PCBs or PCB-
25   containing materials.” State of Washington’s Complaint for Damages against Monsanto,
26   p. 9, ¶ 38-39, Case No. 16-2-29591-6, King County Superior Court (Dec. 8, 2016).
27          5.91   PCB light ballasts release PCBs. The preceding information comes from
28   the same EPA publication regarding PCBs in school buildings (EPA, 2014, pp. 10-11).


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                         PCB Sources – Fluorescent Light Ballasts


                                          Fluorescent and high intensity light ballast capacitors
                                               Prior to 1977 - Many (most?) contained PCBs
                                               1977 – 1978 - Some new ballasts contained PCBs
                                               After
                                                Aft 1978        - No
                                                                  N new b
                                                                        ballasts
                                                                          ll t manufactured
                                                                                   f t d w PCB
                                                                                            PCBs


                                          Some PCB-containing ballasts remain in place
                                               In several northeastern schools, 24% - 95% of the light
                                                ballasts likely contained PCBs


                                          Most PCB-containing ballasts have exceeded their expected
                                           lifetimes


                                          Failure and release of PCBs will continue and may increase



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                         PCB Sources – Fluorescent Light Ballasts

                                          PCBs are continuously released into the air from intact,
                                           functioning
                                                     g light
                                                         g ballasts
                                               When lights are off, emissions are low
                                               When lights are on, the ballast heats up, and emissions
                                                increase several-fold
                                                         several fold


                                          PCB ballasts can fail, releasing PCB vapors into the air and
                                           liquid PCBs onto surfaces
                                               Air levels of PCBs can become quite large
                                               Surfaces can be contaminated
                                               Significant impact/costs to remediate


                                          Residues from previously failed ballasts can remain in light
                                           fixtures even if the ballast is replaced
                                               The impact on PCBs in the school environment has not
                                                been determined

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 1   As stated (p. 10), PCB-containing light ballasts were manufactured until the late 1970s.
 2   (“Light ballasts” are components of light fixtures in buildings.) The “failure and release
 3   of PCBs will continue and may increase” in school buildings containing PCB-light
 4   ballasts. Id. This is because “PCBs are continuously released into the air from intact,
 5   functioning light ballasts. When lights are off, emissions are low. When lights are on, the
 6   ballast heats up, and emissions increase several-fold.” Id. at 11.
 7          5.92   Failed PCB ballasts cause high levels of PCB contamination. In
 8   addition, “PCB ballasts can fail, releasing PCB vapors into the air and liquid PCBs onto
 9   surfaces.” Id. When that occurs, “Air levels of PCBs can become quite large. Surfaces
10   can be contaminated.” Id.
11          5.93   Toxic PCDDs and PCDFs. Also of concern are the extremely toxic
12   chemical byproducts of failing PCB-light ballasts, including dioxins and furans. Failing
13   PCB-ballasts that pyrolyze their PCB contents generate and emit additional toxic
14   chemicals called polychlorinated dibenzodioxins (PCDDs) and polychlorinated
15   dibenzofurans (PCDFs). 50 Fed. Reg. 29,171 (July 17, 1985); Ahrens v. Pacific Gas &
16   Electric Co., 197 Cal.App.3d 1134, 1139, fn 2, 243 Cal.Rptr. 420 (1988).
17          5.94   Over time, school building materials become secondary sources of PCB
18   contamination after absorbing PCBs emitting from the primary contamination sources, as
19   illustrated in this diagram and in the following EPA slides (2014, pp. 12, 2):
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                         PCB Sources – Secondary Sources/Sinks


                                          PCBs released from primary sources are absorbed into
                                           other materials in the school environment over time


                                          Following g removal of primary
                                                                        y sources, PCBs in secondary
                                                                                                   y
                                           sources may be released into the school environment and
                                           result in continuing exposures


                                          In some cases, secondary sources may need to be
                                           considered for additional remedial actions following
                                           removal/remediation of primary sources




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                            PCBs - A Complex Problem in Buildings
          Example Scenario                                      Over 100 PCB chemicals
                                                                Multiple
                                                                      p p primary
                                                                                y sources p
                                                                                          possible
                                                                Transport from sources to air, surfaces,
                                                                     dust, soil
                                                                Secondary sources created
                        Primary Sources
                             Caulk                              Exposures through multiple pathways
                             Light Ballast
                                                                Ventilation and temperature effects
                        Secondary Sources/Sinks
                            Surrounding Materials
                            Paint
                            Dust
HVAC
 Unit




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                                                                           Primary PCB   Secondary PCB
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                                                                           Source        Sources and Sinks
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 1         5.95   For these and other reasons, schools should not contain Monsanto’s PCBs.
 2         5.96   When a reasonably careful manufacturer learns that its product is toxic and
 3   poses public health hazards, the manufacturer stops manufacturing it, recalls its product,
 4   and warns the public about the product.
 5         5.97   But Monsanto never recalled PCBs, despite knowing their toxicity and
 6   danger to public health. Instead, Monsanto continued to promote PCBs, particularly in
 7   electrical applications, until PCBs were banned.
 8         5.98   Monsanto did not warn users of PCBs, such as the School District, the
 9   Health District, or the Plaintiffs, that Monsanto’s PCBs are extremely toxic and pose a
10   public health hazard.
11         5.99   Monsanto provided the public with no warnings, notices, bulletins, or
12   information that PCBs are extremely toxic and pose a public health hazard. Any
13   information provided by Monsanto during or after manufacture has been inadequate.
14         5.100 Monsanto’s PCBs have contaminated schools in Washington, including the
15   school in this case, causing harm to occupants of the school, including the Plaintiffs. As
16   shown above, this was not only reasonably foreseeable, it was actually known to
17   Monsanto that such harm would come to third parties such as the Plaintiffs. Accordingly,
18   the Plaintiffs seek damages against Monsanto.
19         5.101 It was also reasonably foreseeable, based on Monsanto’s history of
20   experience with PCB customers and users, that some inspectors, owners, operators,
21   providers, or maintainers of buildings would engage in negligent conduct that causes
22   harm to third parties by exposing them to Monsanto’s PCBs.
23         5.102 Unfortunately, Monsanto’s PCBs continue to contaminate schools built
24   before 1980, including the school in this case. As shown above, this is because Monsanto
25   intentionally produced and promoted PCBs in a variety of construction applications. As a
26   result of Monsanto’s conduct, it was reasonably foreseeable that Monsanto’s PCBs would
27   be incorporated in buildings, including the school in this case, and would contaminate
28   classrooms used by people, including the Plaintiffs, causing them damages. Monsanto’s


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 1   PCB contamination of Sky Valley Education Center was a legal cause of injury to the
 2   Plaintiffs.
 3          5.103 As shown in the following EPA slide (2014, p. 16), “Occupants in schools
 4   with interior PCB sources will be exposed to PCBs in the indoor air, dust, and on surfaces
 5   through their normal activities.” For the Plaintiffs and others in such school buildings,
 6   “Exposures will occur through inhalation, ingestion, and dermal contact.”
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28   The full EPA slide appears on the following page:


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                            Exposures to PCBs in the School Environment

                                                   Occupants in schools with interior PCB sources will be
                                                    exposed to PCBs in the indoor air, dust, and on surfaces
                                                    th
                                                    through
                                                          h th
                                                            their
                                                               i normall activities
                                                                           ti iti


                                                   In school buildings with exterior PCB sources, exposures
                                                    may occur through contact with contaminated soil


                                                   Exposures will occur through inhalation, ingestion, and
                                                    dermal contact




Figure from 2009 NIEHS L. Birnbaum presentation

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 1            5.104 As shown in the history below, the Sky Valley Education Center was
 2   contaminated with Monsanto’s PCBs. This fact was publicly revealed in 2016 following
 3   environmental testing done in response to severely sickened and diseased teachers and
 4   over one hundred Sky Valley individuals reporting to the Snohomish Health District
 5   illnesses related to the school. The Defendants’ wrongdoing led to the PCB
 6   contamination and caused chronic toxic exposure to the Plaintiffs, causing them damages.
 7            5.105 “Monsanto’s PCB contamination constitutes injury to the State’s public
 8   natural resources and to other property and waters of the State [of Washington], for
 9   which the State seeks damages, including on behalf of itself and on behalf of its residents
10   in its parens patriae capacity.” State of Washington’s Complaint for Damages against
11   Monsanto, p. 5, ¶ 16, Case No. 16-2-29591-6, King County Superior Court (Dec. 8,
12   2016).
13      E.     The school buildings became toxic, injuring children and adults.
14            5.106 History of the school buildings. Starting in the 1950s, the school campus
15   located in Monroe at 351 Short Columbia Street, near Hill, Kelsey, and Sams Streets, was
16   known as Monroe Union High School or Monroe High School.
17            5.107 Today, the tax accessor records identify the property as belonging to Union
18   High School District 402:
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27            5.108 The following page is a true and correct copy of a page of this government
28   record, which is also attached as Exhibit S:


                                                                        FRIEDMAN | RUBIN PLLP
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 1         5.109 Other pages in the tax accessor’s file for this property reference Union High
 2   School District 402 as well as “School District 103,” including this excerpt dated April
 3   13, 1990:
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26   A “SITE SKETCH” of the campus shows school buildings built in 1950, 1963, 1965, and
27   1968. The site sketch is shown on the following page. The configuration of the school
28   buildings at the campus appears the same today:


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 1         5.110 This school is located in Monroe, Washington, within the inspection
 2   jurisdiction of the Snohomish Health District.
 3         5.111 According to its own statements, “[t]he Snohomish Health District inspects
 4   all schools (public and private) in order to verify compliance with minimal environmental
 5   standards for education facilities, as per WAC 246-366-040.” Health District “inspectors
 6   may check lighting, ventilation, and safety equipment.” The enforcement requirements
 7   are stated in Health District letters and Washington law. RCW 43.20.050(5).
 8         5.112 The facts of the following inspections—and the lack of annual inspections
 9   in recent decades—is based on Snohomish Health District’s responses to Public Records
10   Act requests.
11         5.113 From the late 1950s through 1990, the Snohomish Health District
12   conducted inspections of these school buildings on a roughly annual basis. During this
13   time, inspectors regularly cited Monroe School District for violating requirements for
14   minimum lighting intensities for these school buildings. Despite these citations,
15   apparently no penalties or enforcement actions were taken.
16         5.114 For example, a Snohomish Health District school inspection report, dated
17   1973, recorded code violations for ventilation, lighting, and safety for these school
18   buildings. The inspector wrote, “Lighting is substandard in a number of places in this
19   building as has been reported every year since the school was built.” Oct. 15, 1973
20   School Inspection report by Snohomish Health District, to Monroe #103, Monroe High
21   School (Bates stamped 000054) (emphasis in original).
22         5.115 Lighting continued to be substandard in subsequent decades. This is
23   significant because, years later, the same substandard lighting fixtures in these school
24   buildings exposed the Plaintiffs to PCBs and other toxic chemicals.
25         5.116 Around 1977, the usage of the school buildings changed from the High
26   School program to the Monroe Junior High.
27         5.117 Although Monroe Public Schools corrected some safety standard violations
28   over the years, other safety standard violations in the school buildings persisted. For


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 1   example, a letter dated 1980 from the Health District to Monroe School District reported
 2   complaints related to ventilation, sanitation and environmental conditions, and noted that,
 3   “with little exception, these problems have been noted on our inspection reports for the
 4   past several years. Because of the possible health and safety impact upon your students
 5   and staff, we feel it is important that substantial changes be made.” June 13, 1980
 6   Snohomish Health District letter to Monroe School District (Bates stamped 000080-81).
 7          5.118 The 1981 Health District inspection report for these school buildings cited
 8   deficiencies in areas related to ventilation and lighting, stating “lighting is poor in
 9   classrooms and restrooms in the pods [classrooms].” 1981 Health District inspection
10   report to Monroe School District (Bates stamped 000105-08).
11          5.119 The 1982, 1984, and 1985 inspection reports noted similar deficiencies. For
12   example, the 1984 report stated, “As we have pointed out for several years now, pod
13   classroom lighting is poor.” 1984 Health District inspection report to Monroe School
14   District (Bates stamped 000118-24).
15          5.120 Around 1987, the usage of the school buildings changed from being the
16   Monroe Junior High to the Monroe Middle School.
17          5.121 In the 1990s, the Health District only conducted safety inspections in 1990
18   and 1996. (In 1999, there was a complaint investigation report—not an inspection
19   report—regarding poor kitchen ventilation.) There were no Health District inspections of
20   the school buildings in 1991, 1992, 1993, 1994, or 1995. In the 1996 inspection report,
21   the Health District again cited Monroe School District for ventilation and lighting code
22   violations in these school buildings.
23          5.122 The Health District did not conduct a regular inspection of these school
24   buildings in 1997, 1998, 1999, 2000, 2001, 2002, 2003, or 2004.
25          5.123 By the year 2000, the School District knew that its school buildings built
26   before 1980 may contain PCB-light ballasts. A “LIGHTING AND BALLAST
27   DISPOSAL PROCEDURES” policy was established. It required inspection of all light
28   ballasts during the summer of 2000. See ¶ 3. PCB-light ballasts must then be marked for


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 1   identification. Id. Then “All ballasts that are assumed to contain PCBs must be
 2   disposed of as hazardous waste.” Id. at ¶ 4 (emphasis added).
 3          5.124 The School District and the Health District should have ensured the
 4   removal and remediation of PCBs and other toxic chemicals from the school. The public
 5   entity Defendants were negligent in not doing so, which was a proximate cause of
 6   Plaintiffs’ damages.
 7          5.125 The Health District should have enforced the minimum environmental
 8   safety standards relating to lighting intensities. If the Health District had done so since
 9   1980, the new light fixtures would have been PCB-free. The Health District’s lack of
10   action, particularly in light of its actual knowledge of decades of safety code violations,
11   was negligent and a proximate cause of Plaintiffs’ damages.
12          5.126 The 2003 “Health and Safety Guide” by the State Department of Health and
13   Superintendent of Public Instruction specifically recognized the existence of PCBs in
14   school buildings:
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23   Office of Superintendent of Public Instruction and Department of Health. OSPI-DOH
24   School Health and Safety Guide, January 2003, p. 26.
25          5.127 The negligence of the public entity Defendants allowed PCBs to remain in
26   the school buildings, which was a proximate cause of PCBs remaining in the old Monroe
27   Middle School, later known as Sky Valley Education Center, which contaminated the
28   school and chronically poisoned children and adults, including the Plaintiffs.


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 1         5.128 It may be that the public entity Defendants were not fully aware of the
 2   dangers of PCBs due to a lack of warnings from Monsanto. Monsanto’s statements
 3   regarding PCBs have historically minimized the risk of PCBs to human health. Such
 4   statements may have deceived, misled, or lulled the public entity Defendants into inaction
 5   regarding the removal of PCBs from school buildings.
 6         5.129 The 2003 State policy also required minimum light intensities in school
 7   buildings. Here is excerpt from that policy requiring minimum lighting:
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21         5.130 If the minimum lighting requirements had been enforced by the School
22   District or the Health District at any time since 1980, they would have uninstalled the
23   PCB-light ballasts at the school and installed code compliant, non-PCB light ballasts.
24   This would have prevented or minimized much of the PCB contamination and subsequent
25   toxic poisoning of the Plaintiffs. Because the public entity Defendants did not do this,
26   however, the Plaintiffs were chronically exposed to toxic contamination. The public
27   entity Defendants’ negligence was a proximate cause of Plaintiffs’ damages.
28         5.131 In the 2000s, the Health District only conducted safety inspections of these


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 1   school buildings in 2005, 2007, and 2009.
 2          5.132 In the 2005 inspection letter and report, the Health District stated, as usual,
 3   that its “inspectors may check lighting, ventilation, and safety equipment” to “verify
 4   compliance with minimal environmental standards for educational facilities, as per WAC
 5   246-366-040.” The Health District cited Monroe School District for ventilation and
 6   lighting standard violations, but again failed to enforce compliance. 2005 Health District
 7   letter and inspection report to Monroe School District (Bates stamped 000146-51).
 8          5.133 For CO2 concentration limits, ASHRAE Standard 62-2001 recommends no
 9   more than 700 ppm above the outdoor concentration as the upper limit for occupied
10   classrooms, which is usually around 1,000 ppm. Carbon dioxide is an asphyxiate that,
11   when measured, serves as a proxy for the quality of ventilation in occupied classrooms.
12          5.134 The 2005 inspection report was the first Health District report to measure
13   and record carbon dioxide air quality violations at the school buildings. The report
14   recorded 25 readings in 25 separate classrooms at these school buildings that exceeded
15   1,000 ppm of carbon dioxide. Six readings were above 1,500 ppm. Four readings were
16   above 2,000 ppm. Two readings were above 3,000 ppm. Id. at 149.
17          5.135 As in past years, however, the Health District did not enforce compliance
18   with the minimal environmental standards for the school.
19          5.136 In 2005, the State compared sensitive or vulnerable individuals like
20   children to “canaries in the coal mine.” The introduction is reprinted on the next page:
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22   Wash. State Department of Health, Office of Environmental Health & Safety.
23   Responding to Indoor Air Quality Concerns in our Schools. June 2005, p. 5, available at
24   https://www.doh.wa.gov/CommunityandEnvironment/Schools/EnvironmentalHealth (last
25   visited November 15, 2017).
26         5.137 In 2006, the Health District did not conduct an inspection of the school.
27         5.138 In 2007, the Health District inspected the school and noted “there were
28   several items noted during this safety inspection that appear not to have been addressed


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 1   since the last inspection conducted in 2005.” 2007 Health District letter and inspection
 2   report to Monroe Public Schools (Bates stamped 000153-59) (emphasis added). This
 3   included ventilation violations as well as more than a dozen CO2 measurements in
 4   different classrooms that exceeded 1,000 ppm, with five measurements that exceeded
 5   1,500 ppm. Id. at 154, 156-57. The Health District also cited the School District for
 6   violating minimum light intensity standards in the Music rooms, the Library, and a half-
 7   dozen classrooms. Id. at 153, 155.
 8         5.139 In 2007, the Health District did not enforce compliance with the minimal
 9   environmental standards for the school buildings.
10         5.140 In 2007, the School District received its State Study and Survey by an
11   architecture firm, Hutteball & Oremus, regarding the District’s public educational
12   facilities. The study reported to the School District that the school buildings, then known
13   as the Monroe Middle School, have safety issues. The Monroe Middle School “is
14   deteriorating at a rate which exceeds that of normal maintenance efforts and funding.”
15   2007 Hutteball & Oremus State Study and Survey for Monroe School District, p. 219.
16   “The level of deterioration at this facility is the most severe of any school within the
17   District.” Id. at Executive Summary. The study recommended demolishing the existing
18   classrooms and library. Id. at 19. “None of the existing HVAC equipment is in
19   compliance with current codes.” Id. at 69. The study reported that the lighting was
20   deficient, and recommended that the lighting system be upgraded and replaced
21   throughout the facility. Id. at 70, 18. Hazardous material existed in the school buildings:
22   “The campus is reported to contain friable asbestos containing material such as pipe
23   insulation and non-friable vinyl asbestos floor tile. The Classroom/Library building
24   contains insulated asbestos panels at the window areas.” Id. at 11. The study did not
25   mention PCBs, but recommended a hazardous material survey by an independent
26   consultant in conjunction with planning of future modernization, additions, or
27   replacements. Id. The study stated that “the Monroe Middle School is in need of
28   immediate renovation and upgrades… Existing life safety issues, energy inefficiencies,


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 1   and code issues will continue to exist until significant action is taken to correct these
 2   deficiencies.” Id. at Summary, 25 (emphasis added).
 3          5.141 The School District did not follow these recommendations in 2007, but
 4   instead continued to use the school buildings in their condition for several more years.
 5          5.142 In 2008, the Health District did not conduct an inspection of these school
 6   buildings.
 7          5.143 In 2009, the Health District inspected the school buildings and noted “there
 8   were several items noted during this safety inspection that appear not to have been
 9   addressed since the last inspection conducted in 2007.” 2009 Health District letter and
10   inspection report to Monroe School District (Bates stamped 000254-62) (emphasis
11   added). The repeated violations included safety standards relating to ventilation, lighting,
12   and air quality, including roughly a dozen rooms where CO2 levels exceeded 1,000 ppm.
13   Id. at 254-61.
14          5.144 Again, the Health District did not enforce compliance with the minimal
15   environmental safety requirements for these school buildings.
16          5.145 In 2010, the Health District did not conduct an inspection of these school
17   buildings. The Health District also did not enforce compliance.
18          5.146 In May of 2011, the Health District inspected the school buildings and
19   noted “there were several items noted during this safety inspection that appear not to
20   have been addressed since the last inspection conducted in 2009.” 2011 Health District
21   letter and inspection report to Monroe School District (Bates stamped 000270) (emphasis
22   added). Repeated violations included safety standards relating to ventilation and lighting.
23   Id. at 266-70. This report did not measure and record CO2 levels.
24          5.147 But the Health District did not enforce compliance with the minimal
25   environmental safety requirements for these school buildings.
26          5.148 If the Health District or the State had enforced compliance with minimum
27   lighting safety requirements in 2011, then the School District would have uninstalled the
28   toxic PCB-light ballasts at the school buildings and installed code compliant, non-PCB


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 1   light ballasts. This would have reduced the PCB contamination and subsequent PCB
 2   poisoning of the Plaintiffs. But the Health District and the State did not enforce
 3   compliance. That was negligent and a proximate cause of Plaintiffs’ damages.
 4          5.149 Following the spring of 2011, the School District removed the middle
 5   school program from the school buildings.
 6          5.150 The School District chose to move an education program called Sky
 7   Valley Education Center into the school buildings.
 8          5.151 Sky Valley Education Center was and is an alternative kindergarten
 9   through twelfth grade education program. The School District’s parent partnership
10   program required parents to be in school with their children under the age of 12 as a
11   condition of being enrolled in the Sky Valley program. As a result, many parents spent
12   time with their children in the classrooms. Many mothers were also pregnant or had
13   infants with them at school.
14          5.152 In the summer of 2011, the School District did not conduct a hazardous
15   material survey of the old Monroe Middle School. The School District also failed to
16   conduct any hazardous material abatement or renovation work of the school buildings.
17          5.153 The Monroe School District administered the Sky Valley Education
18   program at this location, starting in September of 2011, while the Union High School
19   District owned the premises.
20          5.154 In the 2010s, the Health District only conducted safety inspections of these
21   school buildings in 2011, 2013, and 2016.
22          5.155 In December of 2011, the Health District inspected Sky Valley Education
23   Center, now occupying the site of the old Monroe Middle School buildings. As in past
24   years, the Health District cited the Monroe School District for violations of primary and
25   secondary school safety requirements, WAC 246-366. Jan. 2011 Health District letter and
26   report to the Monroe School District (Bates stamped 000273-79). The Health District
27   cited the School District for violations of ventilation and lighting intensity requirements.
28          5.156 In 2011, the Health District did not enforce compliance with minimal


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 1   environmental safety requirements for these school buildings.
 2         5.157 In 2012, the Health District did not conduct an inspection of these school
 3   buildings. The Health District also did not enforce compliance.
 4         5.158 In 2013, the Health District inspected Sky Valley Education Center. As in
 5   past years, the Health District cited the School District for violations of primary and
 6   secondary school safety requirements, WAC 246-366, including lighting intensity and
 7   ventilation requirements. 2013 Health District letter and report to the School District
 8   (Bates stamped 000283-87). The carbon dioxide levels in four classrooms was measured
 9   and exceeded 1,000 ppm. Id. at 283.
10         5.159 In 2013, the Health District did not enforce compliance with minimal
11   environmental requirements for these school buildings.
12         5.160 In 2014, the Health District did not conduct an inspection of these school
13   buildings. The Health District also did not enforce compliance.
14         5.161 From 2011 through 2016, the school buildings continued to have PCB-
15   caulking and PCB-light ballasts, some of which failed over time and leaked PCBs and
16   pyrolyzed PCB byproducts such as dioxins and furans within the school.
17         5.162 It is unknown exactly how many PCB-light ballasts failed, fumed, leaked,
18   or smoked PCBs or PCB byproducts (dioxins and furans) into Sky Valley classrooms
19   between 2011 and 2016. According to a 2014 Monroe School District memorandum,
20   however, by that time it appears that more than 100 light ballasts had failed, resulting in
21   “Fixtures requiring maintenance cleaning.” See MSDG_014266.
22         5.163 From 2011 through 2016, the School District does not appear to have
23   conducted any environmental testing regarding the various levels of PCBs, dioxins, or
24   furans in the school buildings during PCB-light ballast failure events or in their
25   immediate aftermath.
26         5.164 Students and teachers witnessed different PCB-light ballast failures in
27   different classrooms. The failing PCB-light ballasts burned, fumed, or smoked vapors
28   into the classrooms. Some failing PCB-light ballasts also dripped PCB fluids onto the


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 1   desks and carpets. The Monroe School District’s solution for one such PCB leak was to
 2   put a bucket under the leaking ballast, which collected a puddle of PCB fluid. This open
 3   collection of PCB fluids was done while children used the classroom. The bucket was left
 4   in place for several days. The PCB-stained carpet was left in place even longer.
 5          5.165 One Sky Valley teacher recorded some PCB-light ballast failures and
 6   probable failures during this time period. For example, in April 2014 a “ballast in Nona’s
 7   room caught fire and we could smell the smoke in rooms A, C and D and the hallways.”
 8   Another ballast failed and created “a bad smell” the following week. Some teachers
 9   began researching the issue, inspecting overhead lights in the rooms, and reporting their
10   concerns to the Monroe School District. Here is one photo (taken by a teacher during that
11   time) of stained light fixture housing, along with the teacher’s notes:
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 1          5.166 In response to other light ballast failures, the Monroe School District
 2   maintenance department staff often put the stained light fixture housing materials (along
 3   with cleaning rags) in hallways or leaning against classroom walls. Some such housing
 4   materials were left in common areas for weeks.
 5          5.167 In 2014, at least three Sky Valley teachers submitted indoor air quality
 6   reports for classrooms, reporting symptoms of acute headaches, sinus issues, burning
 7   eyes, “pressure” in the head,” sneezing, and neck pain. Nov. 14, 2014 SVEC Preliminary
 8   Indoor Air Quality Assessment, East Pod, by EHSI, p. 2.
 9          5.168 The Monroe School District knew that the Sky Valley Education Center
10   classrooms and common areas contained PCB-light ballasts. The Monroe School District
11   also knew that the PCB-ballasts would fail and make “a very nasty smell filling a
12   classroom.” The Sky Valley principal acknowledged this to the Sky Valley staff,
13   although the principal assured staff that the building is “safe.” Here is part of the Sky
14   Valley principal’s message to staff in April of 2014:
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 1          5.169 The Sky Valley principal told parents that they should not complain about
 2   the condition of the school buildings or else they could lose their program. Instead, the
 3   principal said that parents should be grateful to have the campus.
 4   5.170 In response to complaints in 2014 by some teachers, however, the Monroe School
 5   District maintenance department conducted some inspections and drew some maps of the
 6   school building ceilings and light fixtures. Some maps are attached to this complaint as
 7   Exhibit T. Different areas of the school buildings are depicted as showing PCB-light
 8   ballast leaks. Here is a portion of one of the maps (a later draft version of
 9   MSDG_014453), looking up at the ceiling of the south pod:
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 1          5.171 In October of 2014, the Monroe School District director of facilities and
 2   operations recorded carbon dioxide levels of 1,700 ppm in one classroom. EHSI 2014
 3   Report. In November of 2014, roughly ten measurements of classroom areas showed
 4   CO2 above 1,000 ppm. Id. at 7. An independent contractor, EHS-International, Inc.,
 5   concluded that “there is not a mold problem in the classrooms assessed,” and stated that
 6   “the reported symptoms which include headaches, sinus issues and sneezing are more
 7   likely related to under-ventilation of the spaces as indicated by indoor carbon dioxide
 8   concentrations that exceed 1,000 parts per million (ppm) during classroom sessions.” Id.
 9   at 1. Although “carbon dioxide is considered a surrogate for other airborne
10   contaminants,” neither the School District nor EHSI appear to have measured the
11   concentrations of PCBs or other toxins in the classrooms at this time. Id. at 12.
12          5.172 In response to one student’s complaints of headaches, the Health District
13   conducted a field investigation and found that classroom “airflow was low (CO2 high).”
14   Jan. 2015 Health District Field Investigation Report (Bates No. 000289).
15          5.173 Apart from that field investigation, the Health District conducted no
16   regular, comprehensive inspection of the school buildings in 2015.
17          5.174 Despite the Health District’s lack of inspections in the fall of 2015, the
18   Health District had actual knowledge that Sky Valley teachers reported being sickened by
19   the school.
20          5.175 In the fall of 2015, one Sky Valley teacher was taken away from the
21   school buildings by ambulance due to neurological symptoms. She later resigned due to
22   illnesses she attributed to the school buildings. The substitute teacher who took her place
23   began having neurological symptoms in the weeks that followed, including a seizure,
24   until he also resigned within three to four months of assuming the post. Many other
25   teachers developed diseases like thyroid disorders, Hashimoto’s Disease, and cancers.
26   Roughly a dozen, if not more, teachers resigned from working in these school buildings.
27   Later, roughly a dozen teachers also filed a union grievance against the Monroe School
28   District for the toxic contamination in the school buildings. Children and parents in these


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 1   classrooms also developed concerning symptoms and diseases, as outlined below.
 2           5.176 Because the cafeteria “gathering area” was too small to accommodate
 3   everyone for mealtimes, children and adults regularly ate lunches and snacks in their
 4   classrooms.
 5           5.177 By the end of 2015, if not earlier, the Health District had actual knowledge
 6   that the school buildings contained PCB spills and PCB-containing materials.
 7           5.178 Despite this knowledge, and upon request by the Monroe School District,
 8   in 2015 the Health District canceled the regular inspection of the school buildings. The
 9   Health District canceled the inspection scheduled for September of 2015, and instead
10   rescheduled it to December of 2015. Upon request by the School District, however, the
11   Health District also canceled the inspection scheduled for December of 2015. The Health
12   District delayed the inspection until January of 2016.
13           5.179 As in 2014 and previous years, the Health District did not enforce
14   compliance with the minimum environmental safety requirements for these buildings in
15   2015.
16           5.180 During 2015 and 2016, the Health District received and compiled
17   complaints about illnesses associated with the buildings.
18           5.181 But Health District staff told complaining Sky Valley families and teachers
19   that the Health District would not take any enforcement action against the School District
20   unless eventually many people became sick.
21           5.182 Between March of 2013 and January of 2016, the Health District
22   conducted no regular inspection and issued no regular inspection report to the Monroe
23   School District regarding these school buildings.
24           5.183 In December of 2015 and January of 2016, the Monroe School District
25   contracted with environmental engineers to conduct indoor air quality samples, which
26   were then analyzed in a laboratory for PCB content. Some air samples were taken while
27   classes were in session. Apparently unbeknownst to the environmental engineers, this air
28   quality sampling of indoor classroom air was done with exterior windows and doors wide


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 1   open, rendering the results invalid. During the testing, teachers and students wore their
 2   winter coats in the classrooms. Other air samples were apparently taken over the holiday
 3   break when classroom air temperatures were low. One State (Department of Health)
 4   official emailed other officials, questioning the validity of these results:
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 9   See Snohomish Health District Response to Public Record Requests, Bates No. 000379.
10          5.184 By December of 2015, the Health District and the State Department of
11   Health received reports that “multiple teachers have adverse health issues including
12   dizziness, nausea and headaches,” and that the school buildings contained both live and
13   failed PCB light ballasts, according to a timeline created by Health District investigator
14   Amanda Zych:
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24   See Snohomish Health District Response to Public Record Requests, Bates No. 000468.
25          5.185 By this time, if not earlier, the Health District was aware of reports of
26   sickened children (“endocrine or hormonal issues”) in addition to the “multiple teachers
27   with adverse health issues,” according to inspector Zych’s chronology:
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 5   See Snohomish Health District Response to Public Record Requests, Bates No. 000467.
 6          5.186    Meanwhile, the Health District received report of multiple teachers who
 7   were “out on medical leave”:
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11   Id.
12          5.187 Despite this knowledge, no public entity Defendant conducted a health
13   impact assessment on the Sky Valley population. Instead, the public entity Defendants
14   kept the school open and in use.
15          5.188 In January of 2016, the Health District conducted an inspection and issued
16   a report to the Monroe School District. As in previous years, the Health District cited the
17   School District for numerous violations of WAC 246-366, including roughly twenty
18   violations of minimum lighting intensity safety requirements as well as violations of
19   ventilation standards.
20          5.189 The Health District report to the School District did not mention PCBs,
21   PCB spills, or the sicknesses of Sky Valley teachers, parents, and children.
22          5.190 Meanwhile, the public entity Defendants learned that, in addition to the
23   PCB contamination, the school buildings were contaminated with metals (including lead)
24   in the school drinking water, radon in the indoor air, disturbed asbestos fibers, and molds,
25   including black mold.
26          5.191 By March, Health District inspector Zych noted a report that people had
27   been ill from the school buildings for years, back when the campus was the Monroe
28   Middle School. Separately, the Everett Herald newspaper published the fact that the


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 1   School District “received eight complaints about illnesses potentially linked to air quality
 2   from 2001 to 2015.” See Snohomish Health District Response to Public Record Requests
 3   at Bates No. 000465. The March complainant to the Health District reported that “70
 4   people are known to be ill from Sky Valley. More don’t want to be added to the list for
 5   fear of repercussions… People are very scared to report symptoms and join group.” Id. at
 6   Bates No. 000475. This number grew in the coming months.
 7          5.192 A Monroe School District administrator, John Mannix, dismissed these
 8   parental and teacher concerns at a community meeting, stating that “If only 10% of the
 9   population ever reacted to the environment, that would be normal.” See Snohomish
10   Health District Response to Public Record Requests, Bates No. 000474. Mannix also
11   reportedly stated that the reported illnesses could not be caused by the disturbed asbestos
12   fibers in the school buildings, because lung diseases caused by asbestos fiber exposure do
13   not appear until decades after exposure.
14          5.193 Meanwhile, Health District inspector Zych reported to her colleagues
15   regarding a dozen known cases of Sky Valley children experiencing “precocious
16   puberty,” which is a pathological early-onset of puberty caused by hormonal or endocrine
17   disruptions. Id. at Bates No. 000585.
18          5.194 By April, Health District inspector Zych updated her chronology to reflect
19   additional information, including notes on an environmental report on the buildings:
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24   Id. at 000592.
25          5.195 Health District inspector Zych created a spreadsheet of some symptoms
26   and diseases of 63 Sky Valley complainants who had come forward to report adverse
27   medical affects. The Health District spreadsheet is attached as Exhibit U (Bates No.
28   000593-96).


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 1         5.196 Despite this knowledge, the public entity Defendants kept the school open
 2   and in use.
 3         5.197 The Monroe School District’s environmental contractors created a map
 4   entitled “PCB Light Fixture Cleaning,” in which red dots showed the light fixtures
 5   throughout the school buildings. It is attached as Exhibit V along with a map showing
 6   School District remediation activities in the spring of 2016.
 7         5.198 The school building maps show the room names and the rooms’ PCB light
 8   fixtures—the red dots—that needed cleaning. Here was the Music Room and its red dots:
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13         5.199 Here was the Gathering Area, where children and adults ate and socialized:

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27         5.200 Here was Building 2, Annex, which housed classrooms A, B, C, D, and F,
28   marked with the red dots in the classrooms, along with Building 1, the Office:


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           5.201 Here were the numerous PCB light fixtures that needed cleaning in
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     Building 5, where the Plaintiff teachers taught and prepared lessons. Here is the map of
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     that building, the Library and the pod classrooms 1-20. Note the frequency of red dots:
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 1          5.202 By the end of April of 2016, 81 individuals had come forward to report to
 2   Health District inspector Zych regarding their diseases and symptoms they associated
 3   with Sky Valley Education Center:
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19   See Snohomish Health District Response to Public Record Requests, Bates No. 000633.
20          5.203 The Health District sent at least two letters in June to the School District
21   regarding elevated PCB levels, the closure of some classrooms, and required summertime
22   remediation of the buildings. See Exhibits W1 and W2. The Health District letters cited
23   WAC 246-366-140, stating “the existence of unsafe conditions which present a potential
24   hazard to occupants of the school are in violation of these regulations.” Id. By the end of
25   June, the Health District was aware of “over 100 parents, teachers and children [who]
26   have reported illness that they associate with the building.” Id. at W2.
27          5.204 Apart from a closed classroom or two, Sky Valley Education Center
28   remained open through June of 2016.


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 1         5.205 Another name for PCB-light ballasts is “T-12 lights.” Here is a map of
 2   affected classrooms at the Sky Valley school:
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21   See Monroe School District’s Response to Public Records Requests, Bates No.
22   MSDG_014499.
23         5.206 Before the 2016 school year was over, the Monroe School District had
24   disposed of at least 1,648 pounds of PCB-light ballasts:
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28   See MSDG_014240-41 (hazardous waste disposal manifest).


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 1             5.207 Around this same time, the Monroe School District appeared to have
 2   possessed a PowerPoint regarding the dangers of PCB-light ballasts. Here are two of the
 3   slides:
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22   See MSDG_014128, 014135. As shown earlier in this Complaint, the list of these adverse
23   health effects due to PCB exposure is not complete.
24             5.208 The Monroe School District’s environmental consultants conducted a litany
25   of air, wipe, and caulking sample tests for PCBs between January and June of 2016.
26   Results varied at different locations and different times within the school buildings, with
27   some results as “none detected,” other results characterized as being “low” or “safe” by
28   the public entity Defendants, and with other results recognized as being “high.” Many


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 1   wipe samples appear to have been taken after deep cleaning. Despite the cleaning efforts,
 2   PCB test results in May of 2016 were among the more elevated levels of PCBs detected.
 3          5.209 By the spring of 2016, some families had unenrolled from Sky Valley due
 4   to the adverse medical effects that they associated with the school buildings. Other
 5   families stayed enrolled until June of 2016, having been either unaware of the reports and
 6   tests of environmental contamination, or having been assured by the Monroe School
 7   District that the school buildings were safe.
 8          5.210 After some remediation in the summer of 2016, the Monroe School
 9   District resumed Sky Valley classes in September.
10          5.211 Some families attempted to return to Sky Valley in the fall, but unenrolled
11   after re-experiencing adverse medical symptoms that they previously experienced in the
12   school buildings. With the knowledge that the school buildings had been contaminated
13   with toxic chemicals, these families unenrolled. Their spots were then filled by other
14   families on the waitlist for the school program (Sky Valley is a popular program), while
15   the Monroe School District assured the public that the school buildings were safe.
16          5.212 The Health District and School District had knowledge that this was
17   happening, as shown in this fall 2016 email by inspector Zych to school administrators:
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 1   See Snohomish Health District Response to Public Record Requests, Bates No. 001398;
 2   see also Bates No. 001820 (Sky Valley parent emailing Zych that “Hope to hear
 3   something will change for our kids and families. We do love this program. As so many
 4   that cry that they still feel sick when they come near the building so cannot come [sic].”).
 5          5.213 Decades of PCB off-gassing, leaks, spills, and fume events, however,
 6   caused these school buildings to become secondarily contaminated as large toxic “sinks.”
 7   That is, porous materials like library books, papers, bricks, and carpets absorbed the
 8   PCBs over the years and now release PCBs back into the indoor air. People who have
 9   been sensitized to PCB contamination after suffering PCB/PCDD/PCDF poisoning still
10   cannot enter or use these school buildings without suffering uncomfortable, painful, or
11   debilitating reactions, despite the purported abatement or sealing of the primary sources
12   of PCBs (the PCB-caulking and the PCB-light ballasts) by the summer of 2016.
13          5.214 Environmental tests during the 2016-2017 school year continued to detect
14   levels of PCBs in the air and classrooms of these school buildings to varying degrees,
15   although many results showed “none detected” at the reporting limits. (There is a limit to
16   the sensitivity of the air sampling and laboratory testing.)
17          5.215 As before, at least some environmental tests were conducted with the
18   classroom windows “wide open,” as reported to Health District inspector Zych:
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26   See Snohomish Health District Response to Public Record Requests, Bates No. 001517.
27          5.216 According to the Health District, “Seven of the rooms that were tested
28   during the PCB air sampling indicated levels in excess of established exposure limits.”


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 1   Id. at 001524.
 2          5.217 The Monroe School District went to the press to claim that such year-2017
 3   PCB results were “false positives.” Superintendent Smith made this claim to reporters.
 4   She also claimed that any past symptoms reported by members of the Sky Valley
 5   Education community were minor and like “colds.” This was not true. She knew this
 6   statement was not true because parents and teachers had previously reported to her
 7   serious illnesses and diseases, including sexual developmental disorders in young
 8   children after they began attending classes in the school buildings.
 9          5.218 The services of the environmental consultant were terminated.
10          5.219 Subsequent PCB testing results appeared to be lower (or “none detected”)
11   than the pre-remediation testing results.
12          5.220 Until last year, when the PCB and other toxic contamination became
13   public, the School District kept the Sky Valley staff, parents, and children in the dark
14   about the actual toxic contamination in the school buildings.
15          5.221 Two out of three STEM teachers at the program have reportedly had
16   cancer since 2011. Three young parents of STEM students have died of cancer. Two
17   children have reportedly died of cancer. Other children and adults who spent time in the
18   school buildings have also suffered cancers, endocrine disorders, autoimmune disorders,
19   neurological disorders, and miscarriages.
20          5.222 Since the Monroe School District moved the Sky Valley Education
21   program into the old Monroe Middle School in 2011, many but perhaps not all children
22   and adults who spent time in the school buildings developed symptoms. The symptoms
23   varied in their type and intensity. They included eye irritation, vision difficulties, frequent
24   colds and infections, throat irritation, nose bleeds, allergies, asthma, persistent coughs,
25   difficulty breathing, heart palpitations, headaches, tremors, numbness, tingling,
26   confusion, memory loss, concentration difficulties, depression, anxiety, learning
27   problems, dizziness, nausea, vomiting, abdominal pain, gastrointestinal issues, joint pain,
28   thyroid issues, puberty abnormalities, weight issues, weakness, fatigue, chills, night


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 1   sweats, skin rashes or hives or blisters, skin cysts, peeling skin, and other complaints.
 2          5.223 The frequency and severity of the symptoms appeared to be positively
 3   correlated with the vulnerability of the individual and the amount of time spent in the
 4   school buildings. The symptoms and diseases worsened over time for these individuals.
 5          5.224 Symptom severity generally improved during holiday breaks, when the
 6   children and adults spent time away from the school buildings.
 7          5.225 At different times during the past few years, some Sky Valley parents and
 8   teachers raised serious health concerns associated with the school buildings to the
 9   Monroe School District and the Health District. Until early or mid-2016, the public entity
10   Defendants did not appear to take the concerns seriously.
11          5.226 For example, in 2014 the Monroe School District head of maintenance,
12   Ralph Yingling, told two teachers that they should not be concerned about the PCB-light
13   ballasts. He added that he was in Vietnam and exposed to Agent Orange, and PCB-light
14   ballasts are nothing to worry about in comparison.
15          5.227 Administrators for the School District promised some teachers that all
16   PCB-light ballasts would be removed and replaced with safe light fixtures during the
17   summer of 2014. This clearly was not done.
18          5.228 Another School District administrator ridiculed parents of “sick children”
19   as not being interested in going to school.
20          5.229 The Monroe School District, or its Sky Valley principal, actively
21   discouraged Sky Valley teachers from sharing environmental safety concerns with Sky
22   Valley families.
23          5.230 The Monroe School District, or its Sky Valley principal, also actively
24   discouraged parents from filing indoor air quality complaints with the School District.
25          5.231 The Sky Valley principal also admonished one teacher for cancelling
26   classes due to her concerns about safety in her classroom.
27          5.232 That same teacher developed Hashimoto’s Disease (a thyroid disorder)
28   after teaching in that classroom.


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 1          5.233 Some people who spent time in these school buildings cope with skin
 2   issues. Unlike headaches, gastro-intestinal pain, or other internal maladies, skin disorders
 3   can be photographed. Here are photographs of children, parents, and teachers showing
 4   skin sloughing, blisters, rashes, pigmentation changes, a neurological disorder, and a cyst:
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28   These photos (above) show blisters and sloughing skin in Sky Valley adults and children.


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28   Here are skin pigmentation changes in a Sky Valley adult and a child (above and below):


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 1   Here is chloracne on the back of a Sky Valley parent:
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14   Sky Valley children and adults also cope with hives, rashes, and acne. Here are photos of

15   full body hives (above) and acne and rashes (below) in Sky Valley children:
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28   This is the first cyst (of a cluster) removed from a Sky Valley girl’s scalp this past year.


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 1   The photographs above are of about a dozen different Sky Valley individuals who
 2   developed skin, neurological, and other disorders as part of the constellation of symptoms
 3   they attribute to time spent in the school buildings before the School District remediated
 4   the buildings. Other photographs of children and adults in the hospital, whether due to
 5   encephalitis, cardiac problems, breathing problems, and neurological disorders—all of
 6   which have happened to Sky Valley children and adults—are not included. Plaintiffs will
 7   request entry of a protective order regarding Plaintiffs’ medical records, identifiable
 8   photographs, and related personal information.
 9          5.234 The Health District’s history of citing Monroe Public Schools for code and
10   safety deficiencies at these school buildings establishes two basic facts: (1) the school has
11   had a history since the 1950s of poor maintenance and safety compliance up to present-
12   day; and (2) Snohomish Health District knew that these school buildings suffered from
13   poor maintenance and non-compliance with safety requirements, particularly in areas of
14   ventilation and lighting.
15          5.235 Despite this knowledge, the School District did not enforce compliance
16   with the minimum safety requirements at these school buildings. That was negligent and
17   a proximate cause of Plaintiffs’ damages.
18          5.236 Despite this knowledge, the Snohomish Health District did not enforce
19   “compliance with minimal environmental standards for education facilities, as per WAC
20   246-366-040,” which was the purpose of the Health District’s inspections, until late last
21   year. That was negligent and a proximate cause of Plaintiffs’ damages.
22          5.237 The State Departments of Ecology and Health both recognized that PCBs
23   “can cause adverse health effects in humans and wildlife including cancer and harm to
24   immune, nervous, and reproductive systems. PCBs disrupt thyroid hormone levels in
25   animals and humans, hindering growth and development.” State of Wash. Department of
26   Ecology and Department of Health. PCB Chemical Action Plan (Feb. 2015), p. 12,
27   available at https://fortress.wa.gov/ecy/publications/SummaryPages/1507010.html, (last
28   accessed November 14, 2017).


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 1          5.238 These departments of the State have also been aware that toxic PCBs
 2   persist in school buildings built before 1979, and are aware that this represents a danger
 3   to the occupants of the buildings: “We are especially concerned about exposure to
 4   children in school buildings with old lamp ballasts and other PCB-containing building
 5   materials.” Id. at 12.
 6          5.239 The departments of the State know that old ballasts “are at a high risk for
 7   failing (dripping, smoking, and catching fire).” Id. at 15 (parenthetical explanation in
 8   original). The State recognized that the old ballasts release PCBs into the air breathed by
 9   children and other people in school buildings:
10          Ballast failures can expose children to concentrated PCB oils and elevated
            PCBs in air. Low concentrations of lower chlorinated PCB congeners are
11
            continually released from lamp ballasts. When ballasts fail, high
12          concentrations of a broader spectrum of congeners are released, so it is
            important to find and remove the lamp ballasts before they fail.
13   Id.
14          5.240 A reasonably careful governmental entity establishes and enforces policies
15   to remove toxic chemicals such as PCBs from school buildings to prevent toxic exposure
16   and to protect children, teachers, and parents from sickness, disease, and death.
17          5.241 A reasonably careful school building owner removes toxic chemicals such
18   as PCBs to prevent toxic exposure and to protect children, teachers, and parents from
19   sickness, disease, and death.
20          5.242 A reasonably careful school inspector requires a building owner to comply
21   with the minimum environmental safety requirements to prevent injury and to protect
22   people from harm.
23          5.243 A reasonably careful school inspector requires a school building owner to
24   remove toxic chemicals such as PCBs to prevent toxic exposure and to protect children,
25   teachers, and parents from sickness, disease, and death.
26          5.244 The public entity Defendants’ failures to protect the Plaintiffs from
27   reasonably foreseeable harms were negligent.
28          5.245 The public entity Defendants’ negligence in these and other ways was


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 1   reasonably foreseeable to Monsanto and does not serve to cut off the chain of causation
 2   of Plaintiffs’ damages.
 3           5.246 Specifically, the School District used Monsanto’s PCBs in a reasonably
 4   foreseeable manner, i.e. as components of caulking and light fixtures integral to the
 5   structures of the school buildings. The use of PCBs by the public entity Defendants was
 6   not so highly extraordinary as to be unforeseeable. In fact, the use of PCBs by these
 7   Defendants was consistent with Monsanto’s intended promotion of its PCBs, i.e., as
 8   components of caulking and light fixtures. In addition, the continued use of PCBs in
 9   school buildings is also reasonably foreseeable, as thousands of school buildings across
10   the United States continue to use and contain PCBs.
11           5.247 Due to the negligence of the public entity Defendants, however, the
12   Plaintiffs were exposed to PCBs and other toxic contamination. Their negligence was a
13   proximate cause of Plaintiffs’ damages.
14           5.248 Although the School District and the Plaintiffs “used” Monsanto’s PCBs
15   as components of the structures and fixtures of the school buildings, the Plaintiffs
16   themselves did not “misuse” Monsanto’s PCBs.
17           5.249 The public entity Defendants’ failures to require and supervise the removal
18   of PCBs from the school buildings was caused in part by Monsanto’s wrongful conduct.
19   This is because Monsanto intentionally misrepresented facts about its PCB products, or
20   intentionally concealed information about PCBs, and this wrongful conduct was a
21   proximate cause of Plaintiffs’ damages.
22           5.250 Specifically, Monsanto provided no warnings, notices, or bulletins to the
23   Snohomish Health District, the School District, or the Plaintiffs, which would have
24   alerted them to the full extent of the dangers of toxic PCB exposure in school buildings.
25   The reason is this: Monsanto profited for decades by producing and promoting PCBs, and
26   Monsanto continues to have a strong financial interest in denying the environmental
27   dangers and health hazards associated with toxic contamination caused by Monsanto’s
28   PCBs.


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 1              5.251 Due to the Defendants’ wrongful conduct, the Plaintiffs have suffered past
 2   damages and will suffer future damages. Damages includes reasonable fears of present
 3   and future adverse medical consequences. Wilson v. Key Tronic Corp., 40 Wn. App. 802,
 4   701 P.2d 518 (1985) (where defendant operated a toxic landfill that poisoned local well
 5   water, plaintiffs’ fears of present and future health problems stemming from actual
 6   ingestion of the toxic chemicals are reasonable and therefore compensable).
 7   VI.        LEGAL CONTEXT AND CAUSES OF ACTION
 8         A.     State law protects individual rights.
 9              6.1    Plaintiffs bring claims for damages against the named Defendants under state
10   law only for strict products liability, negligence, and exemplary damages, as outlined below,
11   and under other applicable state law remedies as discovery may reveal.
12              6.2    The Plaintiffs respectfully request that the guarantees of the Washington
13   State Constitution weigh in the consideration of legal rulings in this case. “All political
14   power is inherent in the people, and governments derive their just powers from the
15   consent of the governed, and are established to protect and maintain individual rights.”
16   Wash. Const., Art. I, § 1. The Washington Supreme Court recognizes “that the judiciary
17   has ample power to protect constitutional provisions that look to protection of personal
18   ‘guarantees,’” including “judicially enforceable affirmative duties of the State.” Seattle
19   School Dist. No. 1 v. State of Washington, 90 Wn.2d 476, 502, 585 P.2d 71 (1978). This
20   includes the “paramount duty on the State to make ample provision for the education” of
21   children. Id. Courts have “ample power” to protect such constitutional guarantees and
22   personal rights:
23              When it comes to considering individual rights such as are protected by the
                guaranties, that the right to trial by jury shall remain inviolate; that no
24
                person shall be deprived of life, liberty or property without due process of
25              law; that no law shall grant to any citizen or class of citizens privileges or
                immunities which upon the same terms shall not equally belong to all
26              citizens; and many other constitutional guaranties that look to protection of
27              personal rights, the courts have ample power, and will go to any length
                within the limits of judicial procedure, to protect such constitutional
28              guaranties.

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 1   Seattle School Dist. No. 1 v. State of Washington, 90 Wn.2d 476, 501, 585 P.2d 71 (1978)
 2   (holding in part that the school district, parents, and school children who were faced with
 3   deteriorating buildings and other shortfalls, had standing to sue the State for its violations
 4   of its paramount duty to make ample provision for the education of children), quoting
 5   Gottstein v. Lister, 88 Wash. 462, 493, 153 P. 595 (1915).
 6       B.     Plaintiffs are fault-free.
 7            6.3      Defendants cannot show that the Plaintiffs, who taught in the school, are at-
 8   fault for the toxic contamination and chronic poisoning. The teachers are fault-free.
 9        C.        Negligence claims are covered claims.
10            6.4      The claims against the public entities are for negligent provision,
11   establishment, maintenance, inspection, and enforcement of safety standards in the school,
12   which were legal causes of Plaintiffs’ damages. Stated differently, the public entity
13   Defendants negligently managed the safety of the school, which caused the Plaintiffs to
14   suffer damages. No “pollution exclusion” would apply to deny coverage, even if such an
15   exclusion exists in any policy of insurance in this case. Xia v. ProBuilders Specialty Insur.
16   Co., 188 Wn.2d 171, 393 P.3d 748 (2017).
17      D.     Defendants’ joint and several liabilities.
18            6.5      These claims relate to negligence and product liability for “hazardous
19   substances” that contaminated the school buildings and poisoned the Plaintiffs. As a result,
20   all Defendants are jointly and severally liable for all of Plaintiffs’ damages. RCW
21   4.22.070(3); Coulter v. Asten Group, Inc., 135 Wn. App. 613, 146 P.3d 444 (2006),
22   reconsideration denied, review denied, 161 Wn.2d 1011, 166 P.3d 1217.
23      E. Monsanto Defendants’ product liabilities to the Plaintiffs.
24            6.6      PCBs are a product. Monsanto’s PCBs are a “product” under Washington
25   law. RCW 7.72.010(3).
26            6.7      Strict product liability, not reasonably safe in construction (WPI
27   110.01). A manufacturer of a product is liable if its product was not reasonably safe in
28   construction and this was a proximate cause of plaintiff’s damages. 6 Wash. Prac., Wash.


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 1   Pattern Jury Instr. Civ. WPI 110.01 (6th ed.). A product is not reasonably safe in
 2   construction when it is “unsafe to an extent beyond that which would be contemplated by
 3   the ordinary consumer.” Id., citing RCW 7.72.030(3). Monsanto’s PCBs are extremely
 4   toxic, and their toxicity was a proximate cause of Plaintiffs’ damages. The existence of
 5   Monsanto’s PCBs in the construction materials, caulking, and light ballasts of the school
 6   building was unsafe to an extent beyond that which was contemplated by the other
 7   Defendants, their employees, and the Plaintiffs who “used” the PCB-containing materials
 8   in the school buildings, which contaminated the buildings and caused PCB-poisoning in
 9   the Plaintiffs and others. Monsanto is strictly liable for Plaintiffs’ damages.
10          6.8    Strict product liability, not reasonably safe as designed (WPI 110.02).
11   A manufacturer of a product is liable if its product was not reasonably safe as designed at
12   the time it left the manufacturer’s control and this was a proximate cause of plaintiff’s
13   damages. A product may be not reasonably safe as designed under either a balancing test
14   or a consumer expectations test. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI
15   110.02 (6th ed.).
16          6.9    At the time Monsanto manufactured PCBs, there was a high likelihood that
17   the PCBs would cause injuries similar to that claimed by the Plaintiffs, and the
18   seriousness of the injuries is significant. This outweighed any “burden” on Monsanto to
19   design a product that would have prevented the injuries (i.e., alternative chemicals or
20   mechanisms used in caulking, light ballasts, and other applications, that are not
21   “extremely toxic”), and any adverse effect that a practical and feasible alternative design
22   would have on the usefulness of the product. Id. Monsanto is also liable under the
23   consumer expectations test, considering the following factors: the relative cost to the
24   School District of replacing the caulking, light ballast fixtures, and other materials later
25   discovered to be contaminated with Monsanto’s PCBs; the seriousness of harm caused by
26   exposure to PCBs is high; the cost to Monsanto of eliminating PCB production would
27   have eliminated PCB profits, while the feasibility of eliminating or minimizing the risk
28   was readily available to Monsanto; and other factors as may be revealed in discovery. Id.


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 1         6.10   Monsanto’s PCBs were not reasonably safe as designed and this was a
 2   proximate cause of Plaintiffs’ injuries following exposure to Monsanto’s PCBs. This was
 3   reasonably foreseeable by Monsanto. In addition, any claimed “misuse” of toxic PCB-
 4   containing products by other Defendants, third parties, or even the Plaintiffs, was also
 5   reasonably foreseeable. Regardless, a product can be “not reasonably safe” even though
 6   the risk that it would cause the plaintiff’s harm or similar harms was not foreseeable by
 7   the manufacturer at the time the product left the manufacturer’s control. Id. (bracketed
 8   material). As designed, PCBs were not reasonably safe, and Monsanto is strictly liable for
 9   Plaintiffs’ damages.
10         6.11   Liability for negligence, “Comment K” unavoidably unsafe products
11   (WPI 110.02.01). A chemical manufacturer has a duty to use reasonable care to design
12   chemicals that are reasonably safe. “Reasonable care” means the care that a reasonably
13   prudent chemical manufacturer would exercise in the same or similar circumstances. A
14   failure to use reasonable care is negligence. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ.
15   WPI 110.02.01 (6th ed.).
16         6.12   The question of whether a manufacturer exercised reasonable care is to be
17   determined by what the manufacturer knew or reasonably should have known at the time
18   of the plaintiff’s injury. In determining what a manufacturer reasonably should have
19   known in regard to designing its product, a jury should consider the following: a
20   chemical manufacturer has a duty to use reasonable care to test, analyze, and inspect the
21   product it sells, and is presumed to know what tests would have revealed; and a chemical
22   manufacturer has a duty to use reasonable care to keep abreast of scientific knowledge,
23   discoveries, advances, and research in the field, and is presumed to know what is
24   imparted thereby. Id.
25         6.13   From the first decade of manufacture, Monsanto knew that its PCBs were
26   toxic. The scientific research regarding the toxicity of PCBs increased over time. Despite
27   the actual and imparted knowledge of PCB toxicity, Monsanto continued producing
28   PCBs so Monsanto profited from their sales. Monsanto only stopped producing PCBs due


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 1   to federal action banning their production. PCBs were never reasonably safe. They are
 2   toxic, durable, persistent, bioaccumulate, and are known to migrate from their source
 3   material to contaminate the surrounding environment. By their very nature as synthetic
 4   chemicals, PCBs were and are unavoidably unsafe products. Monsanto was negligent and
 5   is liable for Plaintiffs’ damages.
 6          6.14    Liability for failure to provide warnings when manufactured (WPI
 7   110.03). A manufacturer has a duty to supply products that are reasonably safe. A
 8   product may be not reasonably safe because adequate warnings or instructions were not
 9   provided with the product. This can be proven either through a balancing test or a
10   consumer expectations test. 6 Wash. Prac., Wash. Pattern Jury Instr. Civ. WPI 110.03
11   (6th ed.).
12          6.15    The balancing test establishes that Monsanto is liable: at the time of
13   manufacture, there was a likelihood that PCBs would cause injury or damage similar to
14   that claimed by the Plaintiffs, and given the seriousness of the injuries or damages, the
15   lack of warnings by Monsanto were inadequate; and Monsanto could have provided
16   adequate warnings or instructions. Monsanto could have provided warnings—but chose
17   not   to     provide   any   warnings—such    as   “CAUTION:        CONTAINS                PCBS
18   (Polychlorinated Biphenyls), A TOXIC ENVIRONMENTAL CONTAMINANT
19   REQUIRING SPECIAL HANDLING AND DISPOSAL.” Monsanto presumably
20   chose not to provide such PCB warnings because the warnings would have reduced PCB
21   sales and profits.
22          6.16    The consumer expectations test also proves that Monsanto is liable: the
23   construction materials and fixtures containing PCBs are not cheap, and their replacement
24   by the School District would likely be a factor considered; the seriousness of potential
25   disorders and diseases (including reproductive toxicity and cancers) caused by PCB
26   exposure is extremely high, especially considering the vulnerability of children; the cost
27   and feasibility of eliminating or minimizing the risk are substantial; and other factors as
28   discovery may reveal. Id.


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 1          6.17   Monsanto’s PCBs were not reasonably safe because adequate warnings or
 2   instructions were not provided, and this was a proximate cause of Plaintiffs’ injuries. As a
 3   result, Monsanto is liable for Plaintiffs’ damages.
 4          6.18   Liability for failure to provide warnings after manufacture (WPI
 5   110.03.01). A manufacturer has a duty to supply products that are reasonably safe. A
 6   product may be not reasonably safe because adequate warnings or instructions were not
 7   provided after the product was manufactured. 6 Wash. Prac., Wash. Pattern Jury Instr.
 8   Civ. WPI 110.03.01 (6th ed.). PCBs are not reasonably safe because adequate warnings
 9   or instructions were not provided after they were manufactured: (1) Monsanto learned, or
10   a reasonably prudent manufacturer should have learned, about the dangers connected
11   with PCBs (while and) after they were manufactured; (2) without adequate warnings or
12   instructions, PCBs are unsafe to an extent beyond that which would be contemplated by
13   an ordinary user such as the School District or the Plaintiffs; and (3) Monsanto failed to
14   provide warnings or instructions concerning the dangers of PCBs in the manner that a
15   reasonably prudent manufacturer would act in the same or similar circumstances.
16   Because Monsanto did not provide adequate warnings or instructions after its PCBs were
17   manufactured and this was a proximate cause of Plaintiffs’ injuries, Monsanto is liable
18   for Plaintiffs’ damages.
19          6.19   No “useful safe life” defense, statute does not apply. A statute of repose
20   enacted in 1981 provides a defense to some product manufacturers. It provides that “a
21   product seller shall not be subject to liability to a claimant for harm under this chapter if
22   the product seller proves by a preponderance of the evidence that the harm was caused
23   after the product’s ‘useful safe life’ had expired.” RCW 7.72.060(1). The statute also
24   provides that “‘Useful safe life’ beings at the time of delivery of the product and extends
25   for the time during which the product would normally be likely to perform or be stored in
26   a safe manner.” RCW 7.72.060(1). The statute creates a presumption: “If the harm was
27   caused more than twelve years after the time of delivery [of the product], a presumption
28   arises that the harm was caused after the useful safe life had expired. This presumption


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 1   may only be rebutted by a preponderance of the evidence.” RCW 7.72.060(2).
 2          6.20     Monsanto’s PCBs were installed in the school from the 1950s through the
 3   1970s. Although the PCB-caulking and PCB-light ballasts continued to have useful
 4   product lives up to the time of remediation in 2016, the PCBs themselves never had safe
 5   lives due to their extreme toxicity. Monsanto knew that PCBs were toxic, but it provided
 6   no adequate warnings. As a result, the public entity Defendants were left uninformed by
 7   the manufacturer about the extent of the true dangers of PCBs. Up to the present day,
 8   PCBs remained as toxic as they were when Monsanto produced and promoted them. By
 9   the 1980s, the EPA termed PCBs “extremely toxic.” The statute of repose requires a
10   product to have had a useful safe life when manufactured; the plain meaning of “safe,”
11   however, does not include “extremely toxic.” Due to their extreme toxicity, Monsanto’s
12   PCBs never had a safe life. PCBs are not and were not reasonably safe products. PCBs
13   were and still are unavoidably unsafe products. A defense that applies to products having
14   a “useful safe life” cannot and does not apply to PCBs.
15          6.21     No “useful safe life” defense, the indefinite persistence of PCBs means
16   an indefinite “useful” life. In the alternative, the chemical stability and persistence of
17   PCBs means they have an indefinitely long “useful” life. In the school, the PCB-light
18   ballasts continued to perform their functions for decades, in fact, until 2016 when they
19   were uninstalled. Likewise, the PCB-containing caulking continued to perform its
20   function of sealing gaps between walls, window frames, and masonry joints, until the
21   caulking was removed in 2016. The utility of the PCBs continued uninterrupted from the
22   time of their installation in the school until 2016, and the PCBs performed their functions
23   throughout that time. RCW 7.72.060(1) (“‘Useful safe life’ begins at the time of delivery
24   of the product and extends for the time during which the product would normally be
25   likely to perform…”). The product seller statute of repose provides Monsanto no defense
26   in this case.
27          6.22     No “useful safe life” defense, statutory exception applies. In the
28   alternative, if the Court finds that PCBs had a safe life, then a statutory exception applies


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 1   to deprive Monsanto of the defense. “A product seller may be subject to liability for harm
 2   caused by a product beyond its useful safe life if… The product seller intentionally
 3   misrepresents facts about its product, or intentionally conceals information about it, and
 4   that conduct was a proximate cause of the claimant’s harm.” RCW 7.72.060(1)(b).
 5   Monsanto has intentionally misrepresented facts about PCBs, or has intentionally
 6   concealed information about them, and that conduct was a proximate cause of Plaintiffs’
 7   harms. No “useful safe life” defense applies under this statutory exception.
 8          6.23   Statute of limitations. For the Plaintiffs, the product liability claims did
 9   not accrue until spring of 2016, when environmental hygienists reported that Monsanto’s
10   PCBs contaminated the school buildings. RCW 7.72.060(3); North Coast Air Services,
11   Ltd. v. Grumman Corp., 111 Wn.2d 315, 759 P.2d 405 (1988); 16 Wash. Prac., Tort Law
12   and Practice § 10:16 (4th ed.) (Oct. 2017 update) (“A three year discovery rule applies,
13   with the provision that the statute begins to run when ‘the claimant discovered or in the
14   exercise of due diligence should have discovered the harm and its cause.’”). “The
15   Washington Supreme Court has held that this statute extends the limitations period
16   beyond the time when the harm occurred in circumstances when the claimant would have
17   no reason to know about the causal connection to a defective product.” Id., citing North
18   Coast Air Services, Ltd., 111 Wn.2d 315. Before spring of 2016, the Plaintiffs had no
19   reason to know that any harm that occurred was caused by PCBs and that they were
20   manufactured by Monsanto.
21          6.24   Foreseeability. For decades, Monsanto produced and promoted PCBs for a
22 wide variety of applications, including building materials and fixtures such as caulking
23 and light ballasts. Monsanto’s PCBs were installed in the school between the 1950s and
24 the 1970s. These building applications—and Monsanto’s PCBs—are stable and durable. It
25 was foreseeable that Monsanto’s PCBs would be installed in schools, would persist up to
26 the present day, and would harm people such as the Plaintiffs. This is due to several
27 factors. The first is the stability and durability of PCBs, known to Monsanto. PCBs do not
28 readily breakdown or decompose. This is one of their utilities and a reason that Monsanto


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 1 produced and promoted them.
 2          6.25   The second is the known propensity of PCBs to migrate from their sources
 3   and contaminate the surrounding environment. Monsanto has known for several decades
 4   that PCBs migrate from their sources into their surrounding environments and harm the
 5   organisms that live in those environments. Over the years, the PCBs migrated from their
 6   sources in caulking and light ballasts into the surrounding building materials such as
 7   bricks, carpets, and library books, all of which are absorptive and act as a toxic “sink.” As
 8   shown by the EPA, the toxic sink then acts as a secondary source of toxic exposure to
 9   occupants of the school, in addition to the ongoing primary sources of PCB exposure. In
10   recent years, spikes in indoor air toxicity occurred due to PCB-light ballast failures in
11   which PCB liquid dripped onto carpets and desks in classrooms, and in which failing
12   PCB-light ballasts vented vapors and pyrolyzed byproducts such as dioxins and furans—
13   which are highly toxic as well as foreseeable byproducts—into classroom air. The overall
14   toxicity of the school gradually increased every year until 2016, when inspectors
15   discovered the PCB contamination and the Health District ordered remediation.
16          6.26   The third factor making the persistence of PCBs foreseeable in the school is
17   that Monsanto provided no warnings regarding their toxicity. Monsanto’s knowing
18   inaction made it more likely that the other Defendants would not act, causing more
19   people, including school children, to become poisoned by Monsanto’s PCBs. In short, it
20   was foreseeable that Monsanto’s PCBs would be left in place for decades in the school
21   while contaminating it and slowly poisoning the people who use it.
22          6.27   It was also foreseeable that other people and entities may be negligent in
23   their provision, maintenance, inspection, or supervision of the school, especially due to
24   Monsanto’s failures to warn. Any allegation by Monsanto of “misuse” of toxic PCB-
25   containing products by other Defendants, third parties, or even the Plaintiffs, was a
26   foreseeable “misuse” in part for this reason. Regardless, a product can be “not reasonably
27   safe” even though the risk that it would cause the plaintiff’s harm or similar harms was
28   not foreseeable by the manufacturer at the time the product left the manufacturer’s


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 1   control. See WPI 111.02, -.03 (bracketed material). PCBs were not and still are not
 2   reasonably safe. Monsanto is strictly liable for Plaintiffs’ damages.
 3          6.28   Missouri exemplary damages apply. “Washington courts will apply the
 4   punitive damages law of other jurisdictions in product liability cases, if warranted under
 5   choice of law principles. In such a situation, the jury instructions on punitive damages
 6   should conform to the laws of the other state.” 6 Wash. Prac., Wash. Pattern Jury Instr.
 7   Civ. WPI 110.00 (6th ed.), citing Singh v. Edwards Lifesciences Corp., 151 Wn. App.
 8   137, 143-44, 210 P.3d 337 (2009). Under a choice of law analysis, the Missouri law of
 9   punitive damages applies because Monsanto’s reckless decisions and reprehensible
10   conduct took place at Monsanto’s headquarters in Missouri. In products liability cases
11   under Missouri law, exemplary or punitive damages are available “if the defendant had
12   actual knowledge of the defect and the danger and showed complete indifference or
13   conscious disregard for the safety of others by selling the product anyway.” 34 Mo.
14   Prac., Personal Injury and Torts Handbook § 5.4 (2017 ed.), ¶ 17(e). Monsanto produced
15   and promoted PCBs, an unreasonably dangerous product, with actual knowledge of their
16   dangers. Id. at ¶ 11. Monsanto knowingly concealed the hazards of its PCBs and
17   marketed them as safe for open and closed applications in order to maximize
18   Monsanto’s profits from PCB sales. See, e.g., City of San Jose v. Monsanto Co., 231 F.
19   Supp. 3d 357, 366 (N.D. Cal. 2017) (denying Monsanto’s motion to dismiss the claim
20   for punitive damages on these facts while holding that the Cities stated a claim for public
21   nuisance based on PCB contamination).
22      F. Public entity negligence.
23          6.29   No Title 51 immunity. Neither public entity Defendant is an employer of
24   the Plaintiff teachers and therefore is not entitled to claim immunity under Title 51. RCW
25   51.08.070; Afoa v. Port of Seattle, 176 Wn.2d 460, 482, 296 P.3d 800 (2013) (Port of
26   Seattle liable in tort to injured worker employed by third-party employer). There are no
27   express contracts or acts that show any of the Plaintiffs or the State recognized one as the
28   employee and the other as the employer. Hubbard v. Dept. of Labor and Indus., 198


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 1   Wash. 354, 88 P.2d 423 (1939); Fisher v. City of Seattle, 62 Wn.2d 800, 384 P.2d 852
 2   (1963) (relationship of employer and employee cannot exist without consent of employee
 3   for purposes of workers compensation laws).
 4          6.30   Union High as landowner and school district. According to Snohomish
 5   County tax assessor records, Union High School District No. 402 is the owner of the
 6   land occupied by the old Monroe Middle School, currently known as Sky Valley
 7   Education Center, and used by the Monroe School District. Union High is also a school
 8   district and is liable to Plaintiffs, although Union High is not an employer of any
 9   Plaintiff and cannot allege Title 51 immunity. Union High violated its statutory and
10   common law duties to the Plaintiffs. The violations were a legal cause of damages to
11   Plaintiffs. Union High failed to maintain safe premises, violated common law and
12   statutory duties to maintain a safe workplace, and is jointly and severally liable with the
13   other Defendants to the Plaintiffs. Afoa v. Port of Seattle, 176 Wn.2d 460, 482, 296 P.3d
14   800 (2013); Afoa v. Port of Seattle, 198 Wn. App. 206, 393 P.3d 802 (2017). Discovery
15   and legal research may reveal more violations.
16          6.31   Standing of the Snohomish Health District. The Health District shall be
17   liable for damages arising out of its tortious conduct. RCW 4.96.010; RCW 4.08.120
18   (“An action may be maintained… for an injury to the rights of the plaintiff arising from
19   some act or omission of such county or other public corporation.”); RCW 39.50.010(c).
20          6.32   Health District’s direct liability for negligence. The Health District shall
21   be liable for its own failures to hire, train, or supervise its employees in the performance
22   of the duties of inspection and enforcement of minimal environmental safety
23   requirements for the school buildings. Id.; Restatement (Second) of Agency, § 213(a).
24          6.33   Health District’s vicarious liability for negligence. Any negligence of a
25   Health District board member, administrator, or employee within the scope of his or her
26   authority is the negligence of the Health District. 6 Wash. Prac., Wash. Pattern Jury Instr.
27   Civ. WPI 50.03 (6th ed.) (modified).
28          6.34   Health District’s obligation to enforce safety requirements in the


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 1   school. The Defendant Snohomish Health District has an obligation to protect public
 2   health in school buildings in Snohomish County. To protect public health, the State
 3   Board of Health shall establish safety requirements for water quality, air quality, and
 4   environmental conditions in school buildings, “including but not limited to heating,
 5   lighting, ventilation, sanitary facilities, and cleanliness.” RCW 43.20.050(2)(d). The
 6   Snohomish Health District shall enforce these requirements. RCW 43.20.050(5). The
 7   requirements are designed for the benefit and protection of the children and adults who
 8   use public school buildings. Bailey v. Town of Forks, 108 Wn.2d 262, 268, 737 P.2d 1257
 9   (1987) (noting one exception to the public duty doctrine is “when the terms of a
10   legislative enactment evidence an intent to identify and protect a particular and
11   circumscribed class of persons (legislative intent)”).
12          6.35   Health District’s duty to inspect school buildings. The Health District
13   must inspect schools and enforce safety requirements to prevent injury and to protect the
14   children and adults, including the Plaintiff teachers, who use the school buildings.
15          6.36   Health District’s duty to take corrective action and enforce safety
16   requirements. The Health District must take corrective action and enforce safety
17   requirements in school buildings to prevent injury and to protect the children and adults
18   who use the school buildings.
19          6.37   Health District breached its duties to the Plaintiffs, causing them harm.
20   For years, the Health District knew that the school violated environmental safety
21   requirements. For those same years, the Health District had a duty to inspect, verify
22   compliance, and order compliance with environmental safety requirements at the school.
23   But the Health District failed to enforce compliance until the spring of 2016, by which
24   time many people, including the Plaintiffs, had suffered toxic poisoning. In addition, the
25   Health District knowingly and negligently delayed enforcement and waited while dozens
26   of people reported illnesses and diseases attributed to the toxic school. The Health
27   District chose not to act until 2016, when it finally ordered environmental testing and
28   remediation of the hazardous substances in the school. The Health District’s violations of


                                                                         FRIEDMAN | RUBIN PLLP
                                                                          51 U NIVERSITY S TREET , S UITE 201
                                                                                 S EATTLE WA 98101
     FIRST AMENDED COMPLAINT FOR DAMAGES - 100
                                                                                   (206) 501-4446
                                                                                           Page 431 of 447
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 1   its duties were legal causes of harm to the Plaintiffs.
 2           6.38   The Health District is liable to the Plaintiffs and other reasonably
 3   foreseeable occupants of the school buildings for the toxic exposures that caused them
 4   harm. Campbell v. City of Bellevue, 85 Wn.2d 1, 530 P.2d 234 (1975) (duty imposed on
 5   electrical inspector who knew of nonconforming electrical system but failed to enforce
 6   electrical code compliance, causing injury and death); Halvorson v. Dahl, 89 Wn.2d 673,
 7   574 P.2d 1190 (1978) (claim may be made against city for its long-term knowledge of,
 8   and inadequate response to, hotel’s noncompliance with safety codes); Bailey v. Town of
 9   Forks, 108 Wn.2d 262, 737 P.2d 1257 (1987) (liability against police officer who
10   allowed drunk driver to drive his truck, hitting motorcyclist). When the Health District
11   finally acted in 2016 on the school buildings, it found “[t]he existence of unsafe
12   conditions which present a potential hazard to occupants of the school [which] are in
13   violation of these regulations.” WAC 246-366-140(1); RCW 43.20.050 (health district
14   shall enforce minimum safety requirements in school buildings); Swank v. Valley
15   Christian School, 188 Wn.2d 663, 398 P.3d 1108 (2017) (holding that a statute enacted to
16   protect student safety created an implied remedy for violations of the statute). The same
17   “unsafe conditions” had been present for months, years, and decades beforehand, had
18   harmed the children and adults in the school, and had been known to the Health District.
19   The Health District’s failure to enforce the safety requirements at the school buildings
20   was a proximate cause of Plaintiffs’ damages.
21      G.    Roes.
22           6.39   Roes 1 through 10 are public entities or public or private corporations who
23   may be liable for causing injuries to the Plaintiffs. Currently, it is not known if named
24   Defendants will allege fault against these entities or corporations. Plaintiffs request leave to
25   amend this Complaint if Defendants allege fault against third parties, or if facts become
26   known showing liability against third parties. Third parties Snohomish County, Northwest
27   Education Service District #189, City of Monroe, EHS-International, and McKinstry Corp.
28   are being given notice of this lawsuit. If they or another third party are added as Defendants,


                                                                            FRIEDMAN | RUBIN PLLP
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 1   the new claims in the amended pleadings relate back to the original complaint. CR 15(c).
 2      H.    Admonition of the Environmental Defense Fund decision.
 3           6.40   The federal district court for the District of Columbia advised that action must
 4   be taken to prevent toxic environmental poisoning and to protect future generations:
 5           We feel constrained to add one final note to emphasize our concern in this
             case. Human beings have finally come to recognize that they must eliminate
 6
             or control life threatening chemicals, such as PCBs, if the miracle of life is to
 7           continue and if earth is to remain a living planet. This is precisely what
             Congress sought to do when it enacted section 6(e) of the Toxic Substances
 8           Control Act. Yet, we find that forty-six months *1287 after the effective date
 9           of an act designed to either totally ban or closely control the use of PCBs,
             99% of the PCBs that were in use when the Act was passed are still in use in
10           the United States. With information such as this in hand, timid souls have
11           good reason to question the prospects for our continued survival, and cynics
             have just cause to sneer at the effectiveness of governmental regulation.
12
13   Environmental Defense Fund v. Environmental Protection Agency, 636 F.2d 1267, 1286-
14   87 (D.C. Cir. 1980) (internal citation omitted).
15      I. Accountability.
16           6.41   The Plaintiffs respectfully request that each of the Defendants be held
17   accountable for their roles in causing the toxic poisonings in this case.
18   VII.    PRAYERS FOR RELIEF
19      A. Request for preservation of evidence.
20           7.1    Plaintiffs request that all Defendants and third parties given notice of this
21   lawsuit preserve all evidence that may potentially be relevant.
22      B. Ex parte contact is prohibited.
23           7.2    Plaintiffs request that defense attorneys instruct their agents, employees,
24   defendant employees, and defendants’ agents to please refrain from any ex parte contact
25   with Plaintiffs regarding the subject matter of this lawsuit, whether in school buildings,
26   hospitals, or other locations. This request includes the non-physician State or University
27   of Washington Medical Center employee(s) who have observed or attempted to observe
28   clinical evaluations of injured Sky Valley teachers.


                                                                            FRIEDMAN | RUBIN PLLP
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                                                                                    S EATTLE WA 98101
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 1      C. Limited waiver of physician-patient privilege.
 2           7.3   Under RCW 5.60.060(4)(b), Plaintiffs hereby waive the physician-patient
 3   privilege only insofar as necessary to place damages at issue at the time of trial.
 4   Plaintiffs’ actions do not constitute a waiver of any of their constitutional or statutory
 5   rights. Defendants, defense attorneys, and their agents are not to contact any treating
 6   physicians without first notifying plaintiff counsel, so the matter may be negotiated or
 7   brought to the attention of the Court. Loudon v. Mhyre, 110 Wn.2d 675 (1988); Smith v.
 8   Orthopedics International, Ltd., P.S., 170 Wn.2d 659 (2010).
 9      D.    Motion practice.
10           7.4   Plaintiffs will request relief during litigation through stipulation or motion
11   practice for a limited protective order to provide appropriate psychological, privacy, and
12   personal identification information protections for Plaintiffs.
13           7.5   Plaintiffs may request leave to amend the complaint, as discovery or
14   Defendants’ answers may require.
15           7.6   Plaintiffs may request leave to reform the caption to reflect the addition or
16   deletion of parties.
17           7.7   Plaintiffs may request other relief as may be appropriate during litigation.
18      E.    Judgment for damages.
19           7.8   Plaintiffs demand judgment against Defendants, and each of them,
20   individually, jointly, and severally, for monetary damages to make Plaintiffs whole,
21   together with interest, expenses, costs of suit, attorney fees, as appropriate, and all such
22   other relief as the Court deems just and proper, including:
23                 a.       Full compensatory damages to the Plaintiffs for past, present, and
24                          future general damages as allowed by law;
25                 b.       Full compensatory damages to the Plaintiffs for past, present, and
26                          future special damages as allowed by law;
27                 c.       Exemplary or punitive damages against Monsanto, Solutia, and/or
28                          Pharmacia, under the applicable law of foreign jurisdiction(s); and


                                                                            FRIEDMAN | RUBIN PLLP
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 1               d.   All other damages allowed by law, rule, or equity.
 2
 3         DATED this 3rd day of December, 2018.
 4                                             FRIEDMAN│RUBIN PLLP
 5                                          By:
 6                                                Sean J. Gamble, WSBA No. 41733
                                                  James A. Hertz, WSBA No. 35222
 7                                                Richard H. Friedman, WSBA No. 30626
 8                                                Henry G. Jones, WSBA No. 45684
 9                                          Attorneys for Plaintiffs
10
11
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                                                                       FRIEDMAN | RUBIN PLLP
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                                                                              S EATTLE WA 98101
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 1
                                           CERTIFICATE OF SERVICE
 2
            The undersigned certifies under the penalty of perjury according to the laws of the State of
 3   Washington that on this date I caused to be served the foregoing document via King County Superior
     Court Mandatory E-Service to the individuals listed below:
 4
          PARTY                                                    COUNSEL
 5                      Jennifer L. Campbell, WSBA #31703, jcampbell@schwabe.com, Direct Tel: 206-689-3052
                        Allison K. Krashan, WSBA #36977, akrashan@schwabe.com, Direct Tel: 206-689-1216
 6                      Schwabe, Williamson & Wyatt, P.C., 1420 Fifth Avenue, Suite 3400, Seattle WA 98101
                        Staff cc: Rebekah Davies: rdavies@schwabe.com
 7                                Kelly Hamilton: khamilton@schwabe.com
                                  Wendy Larson: wlarson@schwabe.com
        Monsanto
 8      Company
      Pharmacia LLC
                        Adam E. Miller, admitted pro hac vice, miller@capessokol.com, Direct Tel: 314-754-4810
                        Capes Sokol, 7701 Forsyth Boulevard, 12 th Floor, St. Louis MO 63105
       Solutia, Inc.    Staff cc: Carolyn Mulligan: mulligan@capessokol.com
 9                              Siobhan Murphy: smurphy@capessokol.com

10                      Thomas M. Goutman, admitted pro hac vice, goutmant@whiteandwilliams.com
                            Direct Tel: 215-864-7057
                        White and Williams, 1650 Market Street, Suite 1800, Philadelphia PA 19103
11                      Staff cc: Jennifer Matthey: mattheyj@whiteandwilliams.com

12                      Patricia K. Buchanan, WSBA #19892, pkb@pattersonbuchanan.com, Direct Tel: 206-462-6703
                        Michael T. Kitson, WSBA #41681, mtk@pattersonbuchanan.com, Direct Tel: 206-462-6774
13                      Haley E. Moore, WSBA #48076, hem@pattersonbuchanan.com
      Monroe School     Patterson Buchanan Fobes & Leitch, Inc., P.S., 2112 Third Avenue, Suite 500, Seattle WA 98121
14       District       Staff cc: Jennifer Friesen: jrf@pattersonbuchanan.com
      No. 103 d/b/a               Kristen Keller: ktk@pattersonbuchanan.com
      Monroe Public
15       Schools
                                  Rachel Nelson: ran@pattersonbuchanan.com

                        Patrick S. Schoenburg, admitted pro hac vice, pschoenburg@wshblaw.com, Direct Tel: 559-437-2860
16                      Wood Smith Henning & Berman, 7112 N. Fresno Street, Suite 160, Fresno CA 93720
                        Staff cc: Cathy Walker: cwalker@wshblaw.com
17                      Christopher J. Kerley, WSBA #16489, ckerley@ecl-law.com
       Snohomish        Evans, Craven & Lackie, P.S.
18    Health District   818 W. Riverside, Suite 250, Spokane WA 99201 T: 509-455-5200 F: 509-455-3632
                        Staff cc: Donna Devore: ddevore@ecl-law.com
19     Union High       No appearance.
      School District
20       No. 402


21           DATED this 3rd day of December, 2018, at Bremerton, Washington.

22
                                                         Mary Ann J. Blackledge
23
24
25
26
27
28


                                                                                          FRIEDMAN | RUBIN PLLP
                                                                                           51 U NIVERSITY S TREET , S UITE 201
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                    EXHIBIT C




                    EXHIBIT C


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                    EXHIBIT D




                    EXHIBIT D


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  Property Search > Search Results > Property Summary


                                             Property Account Summary
                                                                   12/13/2018

   Parcel Number         27060100102300            Property Address           HILL & KELSEY ST , MONROE, WA 98272


    General Information
                                                       SEC 01 TWP 27 RGE 06S1/2 SE1/4 SW1/4 NE1/4 LESS W 30FT FOR ST
    Property Description
                                                       PER AF 9001110281 V 2299 P 941
    Property Category                                  Land and Improvements
    Status                                             Active, Locally Assessed
    Tax Code Area                                      00530

    Property Characteristics
    Use Code                                           681 Nursery, Primary & Secondary School
    Unit of Measure                                    Acre(s)
    Size (gross)                                       4.29

    Related Properties
    No Related Properties Found

    Parties
    Role                                               Percent Name                        Address
                                                                MONROE SCHOOL DIST         200 E FREMONT ST, MONROE, WA
    Taxpayer                                                100
                                                                103                        98272 United States
                                                                MONROE SCHOOL              200 E FREMONT ST, MONROE, WA
    Owner                                                   100
                                                                DISTRICT #103              98272 United States

    Property Values
                                                            Tax Year           Tax Year    Tax Year     Tax Year        Tax Year
    Value Type
                                                                2018               2017        2016         2015            2014
    Taxable Value Regular
    Exemption Amount Regular                                $7,808,600        $7,808,600   $7,715,100   $7,715,100     $7,715,100
    Market Total                                            $7,808,600        $7,808,600   $7,715,100   $7,715,100     $7,715,100
    Assessed Value                                          $7,808,600        $7,808,600   $7,715,100   $7,715,100     $7,715,100
    Market Land                                             $1,214,700        $1,214,700   $1,121,200   $1,121,200     $1,121,200
    Market Improvement                                      $6,593,900        $6,593,900   $6,593,900   $6,593,900     $6,593,900
    Personal Property

    Active Exemptions
    Government Property

    Events
    Effective
                     Entry Date-Time Type                     Remarks
    Date

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    10/30/2018       11/14/2018           Owner                   Property Transfer Filing No.: 1181831 10/30/2018 by sasset
                     15:46:00             Terminated
                     11/14/2018
    10/30/2018                            Owner Added             Property Transfer Filing No.: 1181831 10/30/2018 by sasset
                     15:46:00
                     11/09/2018           Taxpayer
    10/30/2018                                                    Property Transfer Filing No.: 1181831 10/30/2018 by strbme
                     12:57:00             Changed
                     11/09/2018                                   Property Transfer Filing No.: 1181831, Quit Claim Deed 10/30/2018 by
    10/30/2018                            Excise Processed
                     12:57:00                                     strbme

    Tax Balance
    No Available Tax Charges Information for this Property at the Moment.

    Installments Payable/Paid for Tax Year(Enter 4-digit Year, then Click-Here): 2018

    Distribution of Current Taxes
                                                                                                                       Voted        Non-Voted
    District                                                                                       Rate Amount
                                                                                                                      Amount          Amount
    TOTAL

    Pending Property Values
                                                Market
    Pending Tax Market Land                             Market Total                        Current Use         Current Use        Current Use
                                           Improvement
           Year       Value                                   Value                          Land Value        Improvement         Total Value
                                                  Value
               2019 $1,308,100.00            $6,593,900.00 $7,902,000.00                              $0.00             $0.00               $0.00

    Levy Rate History
                                            Tax Year                                                                            Total Levy Rate
                                                    2017                                                                              11.450600
                                                    2016                                                                              12.442253
                                                    2015                                                                              13.224598

    Real Property Structures
    Description                         Type               Year Built                              More Information
    No Real Property Structures Found

    Receipts
    Date         Receipt No.                                                          Amount Applied to Parcel                    Receipt Total
    No Receipts Found

    Sales History
                 Entry        Recording Recording   Sale Excise Deed Transfer                                Other
    Sale Date                                                                 Grantor(Seller) Grantee(Buyer)
                 Date         Date      Number    Amount Number Type Type                                    Parcels
                                                                                                       MONROE
                                                                                                                   MONROE
                                                                                                       UNION HIGH
    10/30/2018 11/09/2018 10/30/2018                            $0.00 1181831 QC            S                      SCHOOL        No
                                                                                                       SCHOOL DIST
                                                                                                                   DISTRICT #103
                                                                                                       402

    Property Maps
    Neighborhood Code           Township       Range Section Quarter Parcel Map
    5105001                     27             06          01           NE             View parcel maps for this Township/Range/Section


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  Property Search > Property Summary


                                             Property Account Summary
                                                                      12/13/2018

   Parcel Number           27060100402600             Property Address             UNKNOWN UNKNOWN , UNKNOWN,


    Tax Balance
    No Available Tax Charges Information for this Property at the Moment.

    Installments Payable/Paid for Tax Year(Enter 4-digit Year, then Click-Here): 2018

    Distribution of Current Taxes
                                                                                                                 Voted        Non-Voted
    District                                                                                Rate Amount
                                                                                                                Amount          Amount
    TOTAL

    Pending Property Values
                                                Market
    Pending Tax Market Land                             Market Total                  Current Use         Current Use        Current Use
                                           Improvement
           Year       Value                                   Value                    Land Value        Improvement         Total Value
                                                  Value
               2019     $301,900.00             $43,500.00         $345,400.00                   $0.00            $0.00               $0.00

    Levy Rate History
                                            Tax Year                                                                      Total Levy Rate
                                                    2017                                                                        11.450600
                                                    2016                                                                        12.442253
                                                    2015                                                                        13.224598

    Real Property Structures
    Description                         Type               Year Built                      More Information
    No Real Property Structures Found

    Receipts
    Date              Receipt No.                                                     Amount Applied                         Amount Due
    No Receipts Found

    Sales History
                 Entry        Recording Recording   Sale Excise Deed Transfer                                Other
    Sale Date                                                                 Grantor(Seller) Grantee(Buyer)
                 Date         Date      Number    Amount Number Type Type                                    Parcels
                                                                                                  MONROE         MONROE
    10/30/2018 11/09/2018 10/30/2018                            $0.00 1181829 QC      S           UNION HIGH     SCHOOL        No
                                                                                                  SCHOOL #103    DISTRICT #103

    Property Maps
    Neighborhood Code            Township      Range Section Quarter Parcel Map
    5105001                      27            06          01        SE          View parcel maps for this Township/Range/Section
https://www.snoco.org/proptax/(S(oax5zz2vau0ywvadamnosdvb))/parcelinfopaytaxes.aspx                                                           1/3
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    General Information
                                                       SEC 01 TWP 27 RGE 06RT-92-99B) BEG 185.5FT W OF NE COR
                                                       NW1/4SE1/4 TH W 317.5FT TH S 153FT TH E 317.5FT TH N 153FT TO POB
                                                       LESS PTN TO CITY MONROE QCD 1942/2797 AF NO. 8601090056 DAF
    Property Description                               BEG 185.5FT W & 129FT SOF NE COR SD NW1/4 SE1/4 TH W TO WLY
                                                       MGNSAM ST EXT NLY AS DESC IN AF NO. 382915 TPB TH E TO W BDY
                                                       HAYSOM'S 1ST ADD TO MONROE TH S ALG SD BDY 24FT TH W TO
                                                       WLYMGN SAM ST AS ABV DESC TH NLY ALG SD WLY MGN TO TPB
    Property Category                                  Land and Improvements
    Status                                             Active, Locally Assessed
    Tax Code Area                                      00530

    Property Characteristics
    Use Code                                           461 Automobile Parking (Lot)
    Unit of Measure                                    Acre(s)
    Size (gross)                                       0.99

    Related Properties
    No Related Properties Found

    Parties
    Role                                               Percent Name                        Address
                                                                MONROE SCHOOL DIST         200 E FREMONT ST, MONROE, WA
    Taxpayer                                                100
                                                                103                        98272 United States
                                                                MONROE SCHOOL              200 E FREMONT ST, MONROE, WA
    Owner                                                   100
                                                                DISTRICT #103              98272 United States

    Property Values
                                                            Tax Year         Tax Year      Tax Year        Tax Year        Tax Year
    Value Type
                                                                2018             2017          2016            2015            2014
    Taxable Value Regular
    Exemption Amount Regular                                  $317,600         $315,900     $292,100        $294,300        $292,100
    Market Total                                              $317,600         $315,900     $292,100        $294,300        $292,100
    Assessed Value                                            $317,600         $315,900     $292,100        $294,300        $292,100
    Market Land                                               $280,300         $280,300     $258,700        $258,700        $258,700
    Market Improvement                                         $37,300          $35,600      $33,400         $35,600         $33,400
    Personal Property

    Active Exemptions
    Government Property

    Events
    Effective
                     Entry Date-Time Type                    Remarks
    Date
                     11/14/2018           Owner
    10/30/2018                                               Property Transfer Filing No.: 1181829 10/30/2018 by sasset
                     15:56:00             Terminated
                     11/14/2018
    10/30/2018                            Owner Added        Property Transfer Filing No.: 1181829 10/30/2018 by sasset
                     15:56:00
                     11/09/2018           Taxpayer
    10/30/2018                                               Property Transfer Filing No.: 1181829 10/30/2018 by strbme
                     12:53:00             Changed
                     11/09/2018                              Property Transfer Filing No.: 1181829, Quit Claim Deed 10/30/2018 by
    10/30/2018                            Excise Processed
                     12:53:00                                strbme


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12/13/2018                       https://www.snoco.org/proptax/(S(oax5zz2vau0ywvadamnosdvb))/parcelinfopaytaxes.aspx
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 1                                 CERTIFICATE OF SERVICE
 2
            The undersigned declares under penalty of perjury, under the laws of the State of
 3
     Washington, that the following is true and correct:
 4
            That on the 13th day of December, 2018, I arranged for service of the foregoing
 5
     NOTICE OF REMOVAL OF ENTIRE CASE TO FEDERAL COURT to the parties to this
 6
     action via the Court’s CM/ECF system as follows:
 7
     Sean J. Gamble, WSBA #41733                  Adam Edward Miller, Bar No. 40945
 8   sgamble@friedmanrubin.com                    miller@capessokol.com
     James A. Hertz, WSBA #35222                  mulligan@capessokol.com
 9   jhertz@friendmanrubin.com                    Capes Sokol
     Henry G. Jones, WSBA #45684                  7701 Forsyth Boulevard, 12th Floor
10   hjones@friendmanrubin.com                    St. Louis, MO 63105
     mblackledge@friedmanrubin.com
11
     nskretta@friedmanrubin.com                   Attorneys Admitted Pro Hac Vice for
12   FRIEDMAN RUBIN PLLP                          Defendants Monsanto Company, Pharmacia
     51 University Street, Suite 201              LLC and Solutia Inc.
13   Seattle, WA 98101
14   Attorneys for Plaintiffs
15   Thomas Marsh Goutman, Bar No. 30236            Christopher J. Kerley, WSBA #16489
     goutmant@whiteandwilliams.com                  ckerley@ecl-law.com
16   mattheyj@whiteandwilliams.com                  ddevore@ecl-law.com
     WHITE AND WILLIAMS, LLP                        EVANS, CRAVEN & LACKIE, P.S.
17   1650 Market Street                             818 W. Riverside, Suite 350
     One Liberty Place, Suite 1800                  Spokane, WA 99201
18   Philadelphia, PA 19103
19                                          Attorneys for Defendant
     Attorney Admitted Pro Hac Vice for     Snohomish Health District
20   Defendants Monsanto Company, Pharmacia
     LLC and Solutia Inc.
21

22

23

24

25

26

     CERTIFICATE OF SERVICE - 1
                                                                       SCHWABE, WILLIAMSON & WYATT, P.C.
                                                                                 Attorneys at Law
                                                                                 U.S. Bank Centre
                                                                           1420 5th Avenue, Suite 3400
                                                                             Seattle, WA 98101-4010
                                                                             Telephone 206-622-1711




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 1   by:
                  U.S. Postal Service, ordinary first class mail
 2                U.S. Postal Service, certified or registered mail,
                  return receipt requested
 3                hand delivery
                  facsimile
 4                electronic service
                  other (specify)
 5

 6                                               /s/ Rebekah A. Davies
 7                                               Rebekah A. Davies

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     CERTIFICATE OF SERVICE - 2
                                                                       SCHWABE, WILLIAMSON & WYATT, P.C.
                                                                                 Attorneys at Law
                                                                                 U.S. Bank Centre
                                                                           1420 5th Avenue, Suite 3400
                                                                             Seattle, WA 98101-4010
                                                                             Telephone 206-622-1711




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